                                   No. 23-1787

             IN THE UNITED STATES COURT OF APPEALS
                     FOR THE EIGHTH CIRCUIT

                       STATES OF MISSOURI, ARKANSAS, IOWA,
                                                   Petitioners,
                                        v.

   MICHAEL REGAN, IN HIS OFFICIAL CAPACITY AS ADMINISTRATOR OF THE U.S.
   ENVIRONMENTAL PROTECTION AGENCY; U.S. ENVIRONMENTAL PROTECTION
     AGENCY, AND RADHIKA FOX, IN HER OFFICIAL CAPACITY AS ASSISTANT
     ADMINISTRATOR OF THE U.S. ENVIRONMENTAL PROTECTION AGENCY,
                                                   Respondents.

                  On Petition for Review of Final Action by the
                 United States Environmental Protection Agency
    PETITIONERS-INTERVENORS AMERICAN WATER WORKS
 ASSOCIATION’S AND NATIONAL RURAL WATER ASSOCIATION’S
            MOTION FOR STAY PENDING REVIEW


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Dated: June 12, 2023




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                                INTRODUCTION

      Over the concerns of public water systems (“PWSs”) and several states, the

Environmental Protection Agency (“EPA”) issued an immediately effective rule

imposing new requirements to address cybersecurity at PWSs under the Safe

Drinking Water Act (“SDWA”) and its implementing regulations. EPA issued this

rule, “Addressing PWS Cybersecurity in Sanitary Surveys or an Alternate Process”

(“Cybersecurity Rule” or “Rule”), see A.R. Doc. 1, without notice and comment

under the Administrative Procedure Act (“APA”) and without authority under the

SDWA. This legally deficient Rule poses substantial, irreparable harm to

Petitioners-Intervenors American Water Works Association’s and the National

Rural Water Association’s (collectively, “Associations”) PWS members.

      The clock is already ticking: PWSs are presently forced to begin expending

resources to amend their cybersecurity systems to comply with the Cybersecurity

Rule or risk enforcement actions or other serious consequences. Some members are

already scheduled to be surveyed (audited) for compliance before this case’s

resolution—particularly in light of the new briefing schedule. These costs will strain

the limited budgets of many members, and be passed on to the public in the form of

higher drinking water rates.

      Associations are likely to succeed on the merits of their claims because the

Rule is procedurally deficient under the APA and exceeds EPA’s authority under the
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SDWA by (1) attempting to use an existing regulatory scheme that has never

contemplated cybersecurity at PWSs and (2) ignoring the existing congressional

scheme to address cybersecurity concerns.

         Associations respectfully request the Court stay the Cybersecurity Rule

pending its review pursuant to Federal Rule of Appellate Procedure 18(a)(2) and the
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APA, 5 U.S.C. § 705. State Petitioners              support this motion; EPA denied

Associations’ request for a voluntary stay of the Rule and opposes this motion. See

Fed. R. App. P. 18(a)(2)(C). In light of EPA’s response and the irreparable harm

Associations’ members face, it would be impracticable and futile to formally seek a

stay from EPA. Id. 18(a)(2)(A)(i), (C).

                                   BACKGROUND

I.       Addressing Cybersecurity under the SDWA

         Beginning in 2002 Congress has acted on concerns about cybersecurity

vulnerabilities to the nation’s drinking water supply. See, e.g., 147 Cong. Rec.

S13,902, S13,903 (Dec. 20, 2001); H.R. Rep. No. 107-298, at 326 (2001). Congress

amended the SDWA to require community water systems (“CWSs”)2 serving more

than 3,300 individuals to assess the system’s vulnerability to terrorist or other



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    Petitioners are the States of Missouri, Arkansas, and Iowa.
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    CWSs are PWSs that regularly serve at least 25 individuals year-round.

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intentional acts that would jeopardize the health and access of drinking water. See

Public Health Security and Bioterrorism Preparedness and Response Act of 2002,

Pub. L. No. 107-188, § 401, 116 Stat. 594, 682 (codified at 42 U.S.C. § 300i-2). This

limitation was important, as these larger PWSs served around 50% of the population,

but only made up 0.002% of all systems. See Mary Tiemann, Cong. Rsch. Serv.,

RL31294, Safeguarding the Nation’s Drinking Water: EPA and Congressional

Actions 1 (2002).

      These amendments broadly “require[d] a comprehensive review of the ways

to detect and respond to chemical, biological, radiological contamination of drinking

water, as well as ways to prevent and mitigate the effects of physical attacks upon

those assets.” 148 Cong. Rec. H638-39 (Feb. 28, 2002) (statement of Rep. Tauzin).

For CWSs serving fewer than 3,300 people, Congress directed EPA to provide

guidance on how to conduct vulnerability assessments, prepare emergency response

plans (“ERP”), and address threats. See 42 U.S.C. § 300i-2(d) (2004).

      In 2018, Congress passed America’s Water Infrastructure Act (“AWIA”),

modifying § 1433 to “updat[e] antiterrorism and resilience measures at public water

systems.” H.R. Rep. No. 115-1126, at 77 (2019); see AWIA, Pub. L. No. 115-270.

AWIA expanded the risks CWSs should evaluate and mandated that they update

their assessments and ERPs. See 42 U.S.C. § 300i-2. AWIA also identified


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cybersecurity as part of resilience strategies in ERPs and removed the requirement

that CWSs submit their assessments to EPA. See id.

II.      Sanitary Surveys

         In contrast to § 1433’s statutory requirements, sanitary surveys are regulatory

tools EPA developed in the 1970s to implement and enforce health-based drinking

water standards, called National Primary Drinking Water Regulations. Sanitary

surveys review the “water source, facilities, equipment, operation, and maintenance

of a [PWS] for the purpose of evaluating the adequacy of such source, facilities,

equipment, operation, and maintenance for producing and distributing safe drinking

water.” 40 C.F.R. §§ 141.2, 142.16(b)(3). States must conduct periodic sanitary

surveys for certain PWSs in order to secure and retain primary enforcement authority

under the SDWA. See id. § 142.16(b), (o). If states identify a “significant

deficiency”3 during a survey, they must require PWSs to address the deficiency.

Id. § 142.16(b)(1)-(3), (o)(1)-(2). Before the Rule, many, if not all states, did not

review cybersecurity practices during sanitary surveys. See A.R. Doc. 50 at 4; Mot.

to Intervene, Ex. A, Decl. of G. Tracy Mehan, III (“AWWA Decl.”) ¶49; Ex. B,



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  Significant deficiencies are “defects in design, operation, or maintenance, or a
failure or malfunction of the sources, treatment, storage, or distribution system that
the State determines to be causing, or have potential for causing, the introduction of
contamination into the water delivered to consumers.” 40 C.F.R. § 142.16(o)(2)(iv).

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Decl. of Matthew Holmes (“NRWA Decl.”) ¶44. Indeed, “[s]tates [d]id not have

authority to require water utilities to conduct cybersecurity vulnerability assessments

and develop risk mitigation plans [and] would be required to establish new

regulations.” A.R. Doc. 50 at 4.

III.   EPA’s Cybersecurity Rule

       The Rule requires states to “evaluate the cybersecurity of operational

technology used by a PWS when conducting PWS sanitary surveys or through other

state programs.” A.R. Doc. 1 at 1. To comply, states must “evaluate the adequacy of

the cybersecurity of that operational technology for producing and distributing safe

drinking water”; and “[i]f the state determines that a cybersecurity deficiency

identified during a sanitary survey is significant, then the state must use its authority

to require the PWS to address the significant deficiency.” Id. at 2-3. A guidance

document accompanying the Rule includes a thirty-six item checklist of

cybersecurity controls that states should look for and evaluate during sanitary

surveys and characterizes the absence or inadequacy of sixteen of these controls to

be potential “significant deficiencies,” thereby exposing PWSs to enforcement risk.

See A.R. Doc. 2 at 11-14 and App. A.

                                    ARGUMENT

       This Court considers four factors in determining whether to stay agency action

pending review: (1) likelihood of success on the merits; (2) irreparable harm to the
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movant absent a stay; (3) balance of harms among other parties interested in the

proceeding; and (4) whether a stay would serve the public interest. Nken v. Holder,

556 U.S. 418, 434 (2009) (citation omitted); see Brady v. Nat’l Football League,

640 F.3d 785, 789 (8th Cir. 2011).

I.      Associations Have a Fair Chance of Prevailing on the Merits.

        “Likelihood of success on the merits is the most important factor, and requires

a movant to demonstrate at least a ‘fair chance of prevailing.’” Wildhawk Invs., LLC

v. Brava I.P., LLC, 27 F.4th 587, 593 (8th Cir. 2022) (citations omitted). This Court

sets aside EPA actions that are “arbitrary, capricious, an abuse of discretion, or

otherwise not in accordance with law”; “in excess of statutory jurisdiction, authority,

or limitations”; or “without observance of procedure required by law.” 5

U.S.C. § 706(2)(A), (C)-(D); see Northport Health Servs. of Ark., LLC v. Dep’t of

Health & Human Servs., 14 F.4th 856 (8th Cir. 2021).

        Associations have a fair chance of prevailing in their claims that (1) EPA

unlawfully issued the Cybersecurity Rule without observing the APA’s notice-and-

comment requirements; (2) the Rule exceeds EPA’s authority under the SDWA; and

(3) the Rule is arbitrary and capricious.4


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  While the fair-chance standard applies “in most instances,” this Court has applied
a heightened “likely to prevail” standard where a movant challenges “government
action based on presumptively reasoned democratic processes.” D.M. by Bao Xiong
v. Minn. State High Sch. League, 917 F.3d 994, 999-1000 (8th Cir. 2019) (citations
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      A.     The Cybersecurity Rule is a legislative rule published in violation
             of the APA.

      EPA did not follow the APA’s notice-and-comment procedures applicable to

legislative rules. See 5 U.S.C. § 553(b)(1)-(3), (c). Because the Rule is a legislative

rule that “imposes new rights or duties,” its issuance was unlawful. Iowa League of

Cities v. EPA, 711 F.3d 844, 873 (8th Cir. 2013) (quoting Nw. Nat’l Bank v. U.S.

Dep’t of the Treasury, 917 F.2d 1111, 1117 (8th Cir. 1990)), enforced, No. 11-3412,

2021 WL 6102534 (8th Cir. Dec. 22, 2021).

      First, the Rule’s requirements are new and materially differ from the

traditional focus of sanitary surveys as described by EPA’s regulations and prior

guidance. There is therefore no “external legal basis” for the Rule, Iowa League of

Cities, 711 F.3d at 874, nor does the Rule “remind affected parties of existing



omitted). The likely-to-prevail standard applies where there has been “lengthy public
debate involving both the legislative and executive branches before the formulation
of the [action] and its subsequent enactment.” Id. at 1000. District courts have
applied the standard where an agency “engaged in the requisite notice and comment
period,” such as pursuant to the APA or state analogue. See, e.g., First Premier Bank
v. CFPB, 819 F. Supp. 2d 906, 911, 913 (D.S.D. 2011); Aventure Commc’n Tech.,
LLC v. Iowa Utils. Bd., 734 F. Supp. 2d 636, 655 (N.D. Iowa 2010).

       While Associations would meet either standard, the less rigorous, fair-chance
standard applies here because EPA unilaterally issued the Cybersecurity Rule
without formal public notice and comment, unlike the agency rules in First Premier
and Aventure, and without meaningful external debate. See also Richland/Wilkin
Joint Powers Auth. v. U.S. Army Corps of Eng’rs, 826 F.3d 1030, 1040-41 (8th Cir.
2016) (fair-chance standard applied) (internal quotation marks omitted)).

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duties,” Nw. Nat’l Bank, 917 F.2d at 1117 (internal quotation marks omitted). See

Catholic Health Initiatives v. Sebelius, 617 F.3d 490, 494 (D.C. Cir. 2010)

(interpretive rules must “derive . . . from an existing document whose meaning

compels or logically justifies the proposition”) (internal quotation marks omitted).

EPA’s existing sanitary survey regulations are silent as to cybersecurity. See 40

C.F.R. § 142.16(b)(3), (o)(1)-(2). EPA contends that its regulations’ use of

“operation” and “equipment” to define the scope of sanitary surveys captures the

cybersecurity of PWSs’ operational technology. See id.; A.R. Doc. 1 at 2-3 & n.14.

But EPA’s most recent substantive revisions to its sanitary survey requirements do

not mention cybersecurity, much less how cybersecurity is captured by “operation”

or “equipment.” See National Primary Drinking Water Regulations: Ground Water

Rule, 71 Fed. Reg. 65,574 (Nov. 8, 2006); National Primary Drinking Water

Regulations: Interim Enhanced Surface Water Treatment, 63 Fed. Reg. 69,478 (Dec.

16, 1998).

      Similarly, EPA’s prior guidance regarding the scope of sanitary survey

programs recognizes PWSs’ use of remote signaling or operation systems,

sometimes referred to as SCADA systems, are notably silent on states’ need to assess

the cybersecurity of those systems. Those guidance documents, spanning hundreds

of pages, do not mention the type of cybersecurity considerations for PWSs’ remote

systems contained in the Cybersecurity Rule and associated guidance (e.g.,
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passwords, credentials, network configurations, software, vendors’ cybersecurity).

Instead, the documents highlight potential significant deficiencies that relate to the

installation, operations, maintenance, and training for remote systems. See A.R. Doc.

11 (EPA’s August 2019 guidance) at 5-18 to 5-19, 10-8 (security focused on physical

aspects such as “fencing and gates; lights; locks on hatches, ladders, vaults, and

buildings; intrusion alarms; and cameras”), 13-9, 15-5; A.R. Doc. 61(EPA’s October

2008 guidance) at 4-74 to 4-75. Those considerations are totally distinct from

cybersecurity.

      EPA cannot now “announc[e]” a “specif[ic] application[]” of otherwise

“vague or vacuous terms” to impose new legislative requirements while also

avoiding notice and comment. Catholic Health, 617 F.3d at 494-95 (citation

omitted); accord Mendoza v. Perez, 754 F.3d 1002, 1015, 1020-21 (D.C. Cir. 2014);

Hoctor v. U.S. Dep’t of Agric., 82 F.3d 165, 167-70 (7th Cir. 1996). Likewise, EPA

cannot shoehorn cybersecurity into terms like “operation” and “equipment” to

bypass the APA and impose cybersecurity audit requirements, about which EPA’s

regulations and guidance have not previously provided notice.

      Second, the Cybersecurity Rule is “quintessentially legislative.” Rather than

simply interpreting, EPA is “identifying a practical problem” and “put[ting] forward

a new and different resolution.” Nat. Res. Def. Council v. Wheeler, 955 F.3d 68, 83

(D.C. Cir. 2020) (“NRDC”). EPA details the need for cybersecurity audits, including
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PWSs’ “increasing[ ] reli[ance] on the use of electronic systems to operate drinking

water systems efficiently” and instances of “[m]alicious cyber activity incidents . . .

impact[ing] PWSs’ ability to deliver safe drinking water.” A.R. Doc. 1 at 2, 8. EPA

further highlights countervailing considerations (e.g., relative inexperience of state

regulators in auditing cybersecurity systems, risk of public disclosure of PWSs’

cybersecurity information), and proposes several options for states to meet their new

mandate (e.g., state sanitary surveys, PWS self-assessments, third-party

assessment). See id. at 3-7, 11-12. No matter the label EPA affixes, the Cybersecurity

Rule is an exercise of EPA’s legislative function—identifying a problem, weighing

costs and benefits of solutions, and selecting a solution to implement. The Rule, by

its nature, is legislative. See NRDC, 955 F.3d at 83; see also Hoctor, 82 F.3d at 167-

70 (“cho[osing] among methods of implementation” is a legislative act).

      Third, the Cybersecurity Rule’s requirements are binding. The Rule mandates

that states—the many if not all of which did not previously review cybersecurity

practices during sanitary surveys—“must evaluate the adequacy of the cybersecurity

of [a PWS’s] operational technology,” as part of their sanitary survey programs and

“must use [their] authority to require [a] PWS to address [a] significant deficiency”

identified during a survey. A.R. Doc. 1 at 2-3; see also AWWA Decl. ¶49; NRWA

Decl. ¶44. Through repeated use of “must,” EPA binds states, obligating them to

incorporate cybersecurity audits into sanitary surveys. Additionally, the Rule directs
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states to take a particular action (i.e., order mitigation) whenever a given event arises

(i.e., a cybersecurity-related significant deficiency is identified during an audit). It

thus mandates State enforcement. See Kisor v. Wilkie, 139 S. Ct. 2400, 2420 (2019)

(“An interpretive rule itself never forms ‘the basis for an enforcement action’

. . . . An enforcement action must instead rely on a legislative rule, which (to be

valid) must go through notice and comment.”) (citations omitted) (plurality opinion).

      Eliminating state discretion is indicative of a legislative rule, see Iowa League

of Cities, 711 F.3d at 874, and stands in marked contrast to an interpretive rule, which

imposes no binding obligations or prohibitions such that a regulator is “free to ignore

its provisions if it so chooses,” South Dakota v. Ubbelohde, 330 F.3d 1014, 1028

(8th Cir. 2003); accord Nat’l Min. Ass’n v. McCarthy, 758 F.3d 243, 251-52 (D.C.

Cir. 2014). Similarly, the Rule’s requirement that states sanction PWSs, such as

through “follow-on risk mitigation plans” with “list[ed] planned mitigation actions

and schedules” and continuing state review, A.R. Doc. 1 at 3-4, has the legal effect

of requiring PWSs to adjust their conduct. Fund for Animals, Inc. v. U.S. Bureau of

Land Mgmt., 460 F.3d 13, 21 n.8 (D.C. Cir. 2006).

      B.     Even if the Rule was interpretive, EPA exceeded its authority
             under the SDWA.

      EPA’s power to act and how it acts is “authoritatively prescribed by

Congress.” City of Arlington v. FCC, 569 U.S. 290, 297 (2013). “An agency’s

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promulgation of rules without valid statutory authority implicates core notions of the

separation of powers, and [this Court is] required by Congress to set these

regulations aside.” U.S. ex rel. O’Keefe v. McDonnell Douglas Corp., 132 F.3d

1252, 1257 (8th Cir. 1998) (citing 5 U.S.C. § 706(2)(C)). EPA exceeded its authority

under the SDWA in issuing the Cybersecurity Rule.

       First, § 1433 already prescribes a scheme requiring larger CWSs to assess

their cybersecurity risks, periodically review and revise the assessment, and develop

ERPs that must include strategies and procedures to improve their cybersecurity. 42

U.S.C. § 300i-2(a)-(b). In this scheme, EPA plays a passive role, receiving

certifications that CWSs completed their AIWA requirements, id. § 300i-2(a)(3),

and providing agencies “baseline information on malevolent acts of relevance to

community water systems” and “guidance and technical assistance” to smaller

CWSs on conducting resilience assessments, preparing ERPs, and addressing

threats. Id. § 300i-2(a)(2), (e).

       While these provisions task EPA with providing information about

cybersecurity, they do not grant EPA authority to regulate the cybersecurity practices

of CWSs, nor do they require that cybersecurity be part of sanitary surveys. CWSs

must submit to EPA certifications of their completed risk and resilience assessments,

but these certifications “shall contain only” information that identifies the CWS, the

date of certification, and a statement that the system has conducted, reviewed, or
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revised the assessment. Id. § 300i-2(a)(4) (emphasis added). Nowhere in the SDWA

does Congress grant EPA any authority to regulate, or compel states to regulate, the

cybersecurity practices of CWSs. See 148 Cong. Rec. H2844-45 (May 22, 2002)

(statement of Rep. Tauzin) (“No new authorities were transferred to the [EPA]

beyond the passive receipt of vulnerability assessments under Section 1433.”); id.

H2851-52 (statement of Rep. Gillmor) (“EPA is not given any rulemaking or other

authority to define further what is or is not a vulnerability assessment meeting the

requirements of section 1433.”). As EPA confirmed in the Rule, § 1433 “does not

provide for any review of the risk and resilience assessments by states, nor does it

require water systems to adopt specific cybersecurity practices to reduce risks

identified during the risk and resilience assessments.” A.R. Doc. 1 at 9.

      Second, the Cybersecurity Rule exceeds EPA’s statutory authority because it

applies more requirements to all PWSs, whereas Congress intended to apply limited

requirements to a subset of PWSs. Since § 1433’s enactment, only those CWSs

serving populations over 3,300 are required to conduct risk assessments and

complete ERPs. Smaller PWSs have always been exempt because they have limited

budgets, operational capacities, and customer bases. See H.R. Rep. No. 115-380, at

12 (2017) (“82 percent of all CWSs[] are relatively small, serving 3,300 people or

fewer; but these systems provide water to just 9 percent of the total population served


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by community water systems. In contrast, 8 percent of all CWSs serve 82 percent of

the population served.”).

      The Rule thus defies Congress’s preference that § 1433 should only impose

cybersecurity-related obligations on the minority of systems that serve a majority of

the population. For smaller systems, Congress instead required EPA to “provide

guidance and technical assistance to” these CWSs. 42 U.S.C. § 300i-2(e). By

subjecting smaller PWSs to these new sanitary survey requirements and compelling

them to expend their limited budgets on analyzing and complying with the Rule, see

NRWA Decl. ¶10; Mot. to Intervene, Ex. F, Decl. of Frank Dennis Offutt (“Offutt

Decl.”) ¶28, the Rule contravenes the scheme Congress devised to address this issue.

      Third, § 1433 repeatedly safeguards collection of sensitive cybersecurity

information. The legislative history reflects Congress’s concern that information

contained in such assessments would be disclosed to and weaponized by

unauthorized or bad actors. See 148 Cong. Rec. H2844-45 (May 22, 2002)

(statement of Rep. Tauzin). By requiring that states evaluate this information as part

of periodic sanitary surveys of PWSs, the Cybersecurity Rule necessarily requires

states to collect sensitive cybersecurity information. CWSs lack control or assurance

of security of this information, see Mot. to Intervene, Ex. G, Decl. of Scott Borman

(“Borman Decl.”) ¶34, and if a state finds a significant deficiency related to

cybersecurity controls, such findings may be made publicly available, placing PWSs
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at further risk of harm. See id., Ex. I, Decl. of John R. Dunn (“Dunn Decl.”) ¶12;

A.R. Doc. 50 at 5 (“States have significant concerns with public disclosure of

sensitive information when identifying and resolving violations related to

cybersecurity.”). These are consequences Congress sought to prevent when enacting

§ 1433.

      For the same reasons, the Rule violates the APA. Courts set aside agency

actions that are “arbitrary, capricious, an abuse of discretion, or otherwise not in

accordance with law.” 5 U.S.C. § 706(2)(A). This standard requires agencies to act

with reasoned judgment and provide a “rational connection between the facts found

and the choice made.” Motor Vehicle Mfrs. Ass’n v. State Farm Mut. Auto. Ins. Co.,

463 U.S. 29, 43 (1983). Here, EPA “relied on factors which Congress has not

intended it to consider [or] entirely failed to consider an important aspect of the

problem” and failed to provide a reasoned explanation for its new interpretation of

a “sanitary survey,” relied on an authority that Congress did not intend to give, and

failed to consider states’ resources and experience, as well as their inabilities to

safeguard this sensitive information. Id.




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II.      The Balancing of Harms and the Public Interest Support a Stay Pending
         Review.

         A.    Absent a stay, Associations’ members will suffer irreparable harm
               to their operational and financial interests.

         An injury is “irreparable” if it “cannot be remedied by a later award of money

damages.” Kroupa v. Nielsen, 731 F.3d 813, 820 (8th Cir. 2013). Monetary damages

are not available relief under the APA. See Alphapointe v. Dep’t of Veterans Affs.,

416 F. Supp. 3d 1, 9 (D.D.C. 2019); see also Red Lake Band of Chippewa Indians v.

Barlow, 846 F.2d 474, 476 (8th Cir. 1988) (APA waiver of sovereign immunity

“dependent on the suit against the government being one for non-monetary relief”).

Absent a stay, Associations’ members face two injurious scenarios: One, expend

unrecoverable time and resources to alter their cybersecurity systems to comply with

the cybersecurity controls specified by EPA, and/or unnecessarily charge customers

for the costs even if the Cybersecurity Rule is later vacated. Or two, risk a finding

of significant deficiency for failing to implement a particular cybersecurity control

and incur the associated monetary, operational, and reputational harms. Neither

harm is reparable, and under the present briefing schedule, members will face

surveys before this case is resolved. See, e.g., Dunn Decl. ¶11 (survey scheduled for

Fall 2023).

         Many PWSs have limited budgets and must pass costs on to customers in the

form of higher rates. Mot. to Intervene, Ex. D, Decl. of Robert J. Walters (“Walters
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Decl.”) ¶28. PWSs’ implementation of the Rule will require significant

expenditures, extensive coordination, and long lead-times for budgeting,

procurement, planning, and implementation.5 See, e.g., Mot. to Intervene, Ex. E,

Decl. of Cynthia Lane (“Lane Decl.”), ¶¶19, 20, 24 (estimating system’s information

technology budget “will need to be doubled, at the very least[,]” to comply with the

Rule); Offutt Decl. ¶¶17-19, 29; Borman Decl. ¶¶20-21, 25 (estimating an additional

“$75,000 to $100,000” to the system’s fiscal year 2024 budget will be necessary).

These costs are compounded by PWSs’ lack of advance notice of the Rule so that

they could plan, budget for, and complete any necessary work. This is especially true

for Associations’ members with upcoming sanitary surveys. See Dunn Decl. ¶11.

       Although the magnitude of these harms is great relative to the finances of

many PWSs, see, e.g., id. at ¶23; Lane Decl. ¶¶20, 24; Borman Decl. ¶¶20-21, the

focus is “not so much the magnitude but the irreparability.” See Enter. Int’l, Inc. v.

Corporacion Estatal Petrolera Ecuatoriana, 762 F.2d 464, 472 (5th Cir. 1985)

(citation omitted). Many PWSs rely on regulated rates and/or budgetary allocations

to recoup costs, with rates and appropriations linked to customer needs. See AWWA



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  One credit rating agency has already recognized that PWSs will likely incur
significant costs to conform to the Cybersecurity Rule. See Fitch Wire, EPA Memo
Ramps Up Cyber Regulations for Water Utilities, FitchRatings (May 11, 2023, 3:22
PM), https://tinyurl.com/4vp8md9r.

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Decl. ¶28-29; NRWA Decl. ¶28; Lane Decl. ¶20; Dunn Decl. ¶¶23-24; Borman

Decl. ¶3. Even if the Court finds the Cybersecurity Rule unlawful, PWSs could not

recover their interim compliance costs from anyone but their customers. See Iowa

Utils. Bd. v. FCC, 109 F.3d 418, 426 (8th Cir. 1996) (economic losses irreparable

where petitioner “would not be able to bring a lawsuit to recover their undue

economic losses if the [agency’s] rules are eventually overturned”); see also

Thunder Basin Coal Co. v. Reich, 510 U.S. 200, 220-21 (1994) (Scalia, J.,

concurring in part and in judgment) (“[C]omplying with a regulation later held

invalid almost always produces the irreparable harm of nonrecoverable compliance

costs.”) (emphasis omitted).

      The Cybersecurity Rule increases the risk of a finding of significant

deficiency, which invites a host of irreparable financial, operational, and reputational

harms. While many PWSs have cybersecurity systems tailored to operational needs,

they do not necessarily have every single measure specified by EPA. See AWWA

Decl. ¶38; NRWA Decl. ¶45; Lane Decl. ¶17; Mot. to Intervene, Ex. C, Decl. of

Mark Pepper (“Pepper Decl.”) ¶19; Walters Decl. ¶¶18, 22. Thus, absent significant

(and potentially unrecoverable) expenditures, the Rule increases PWSs’

enforcement risk. See Sleep No. Corp. v. Young, 33 F.4th 1012, 1018 (8th Cir. 2022)

(movant need not “prove with certainty the threat of irreparable harm,” only that

such harm “is likely in the absence of an injunction.” (citation omitted)). This is
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especially true for Associations’ members with upcoming sanitary surveys before

this Court renders a decision on the merits based on the current briefing schedule.

See Dunn Decl. ¶11.

      Findings of significant deficiency can have serious ramifications for PWSs,

including enforcement actions, revocation or suspension of operating permits, fines,

and reputational harms. See AWWA Decl. ¶¶11-13, 42-43, 45; NRWA Decl. ¶¶16,

39-40; Lane Decl. ¶¶14, 33-35; Pepper Decl. ¶¶12, 22; Walters Decl. ¶¶14, 36-38;

see also 40 C.F.R. § 141.153(h)(6); id. § 142.16(b)(1)-(3), (o)(1)-(2). Reputation

and consumer confidence are critical to PWSs, which rely on public trust in their

drinking water. See, e.g., Med. Shoppe Int’l, Inc. v. S.B.S. Pill Dr., Inc., 336 F.3d

801, 805 (8th Cir. 2003) (“Loss of intangible assets such as reputation and goodwill

can constitute irreparable injury.” (internal quotation marks omitted)). And findings

of significant deficiencies may negatively impact a PWS’s credit rating and ability

to raise capital. See Fitch Wire, supra n.5.

      The above-described harms to Associations’ members will persist absent a

stay pending review.

      B.     The balance of equities and public interest strongly favor a stay.

      The balance of equities and public interest weigh in favor of a stay when

“justice requires the court to intervene to preserve the status quo until the merits are

determined,” Glenwood Bridge, Inc. v. City of Minneapolis, 940 F.2d 367, 370 (8th
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Cir. 1991) (internal quotation marks omitted), and when “a stay would preserve the

continuity and stability of the regulatory system” pending a review of the merits,

Iowa Utils. Bd., 109 F.3d at 426-27. See Nken, 556 U.S. at 436 (third factor merges

with the public-interest factor when the federal government opposes the relief).

      Staying the Cybersecurity Rule will not harm EPA, which has no valid interest

in enforcing an unlawful agency action. See League of Women Voters of U.S. v.

Newby, 838 F.3d 1, 12 (D.C. Cir. 2016); Wages & White Lion Invs. v. U.S. FDA, 16

F.4th 1130, 1143 (5th Cir. 2021). There is “substantial public interest,” however, “in

having governmental agencies abide by the federal laws that govern their existence

and operations.” League of Women Voters, 838 F.3d at 12 (internal quotation marks

omitted). See California v. Azar II, 911 F.3d 558, 581-82 (9th Cir. 2018) (“The

public interest is served from proper [APA] process itself.”).

      The public interest favors a stay because there is substantial risk that PWSs

and their customers will suffer harms such as decreased credit ratings, increased

operating costs, and higher rates for drinking water associated with new compliance

costs. See Teamquest Corp. v. Unisys Corp., No. 97cv3049, 2000 WL 34031793, at

*19 (N.D. Iowa Apr. 20, 2000) (“The public interest factor frequently invites the

court to indulge in broad observations about conduct that is generally recognizable

as costly or injurious”); Fitch Wire, supra n.5; Walters Decl. ¶¶28, 35; Offutt Decl.

¶¶19, 24. These risks necessarily impact public health because PWSs must take time
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and attention away from complying with other SDWA regulations that set standards

for lead, copper, arsenic, total coliforms, mercury, benzene, and many other drinking

water contaminants. See Walters Decl., ¶¶22, 31; Offutt Decl., ¶¶27-28. If this Court

stays the Rule, PWSs and their customers will not face these new risks. See Walters

Decl., ¶42; Offutt Decl., ¶30. The public interest thus weighs strongly in favor of

preserving the status quo and allowing PWSs to operate their businesses to continue

to provide their customers with clean and safe drinking water. See New York v. Dep’t

of Homeland Sec., 969 F.3d 42, 87 (2d Cir. 2020) (finding that the public interest

favored a preliminary injunction against an agency action that would “likely result

in worse health outcomes”) (internal quotation marks omitted); Whitman-Walker

Clinic, Inc. v. Dep’t of Health & Human Servs., 485 F. Supp. 3d 1, 60-61 (D.D.C.

2020) (finding that, as a result of government action, health providers would “divert

already scarce resources” in response to the action, which would also “impede the

public interest by threatening the health” of individuals). And while generally well-

intentioned, the Rule also increases PWSs’ vulnerability to attack by making

sensitive cybersecurity information less secure.

III.   The Stay Should Apply to All Associations’ Members.

       Associations represent thousands of PWSs affected by the Cybersecurity Rule

located in all states, territories, and tribal areas. See AWWA Decl. ¶¶4, 14; NRWA


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Decl. ¶¶3, 14. Associations respectfully request that any preliminary relief crafted

by this Court apply to all Associations’ members.

      “Crafting a preliminary injunction is an exercise of discretion and judgment,

often dependent as much on the equities of a given case as the substance of the legal

issues it presents.” Trump v. Int’l Refugee Assistance Project, 583 U.S. 571, 580

(2017) (per curiam). “[T]he scope of injunctive relief is dictated by the extent of the

violation established, not by the geographical extent of the plaintiff class.” Rodgers

v. Bryant, 942 F.3d 451, 458 (8th Cir. 2019) (quoting Califano v. Yamasaki, 442

U.S. 682, 702 (1979)).

      The Cybersecurity Rule applies nationwide, and Petitioners and Associations

are seeking complete vacatur of the Rule. See 5 U.S.C. § 706(2); Nat’l Min. Ass’n v.

U.S. Army Corps of Eng’rs, 145 F.3d 1399, 1409 (D.C. Cir. 1998) (“[W]hen a

reviewing court determines that agency regulations are unlawful, the ordinary result

is that the rules are vacated—not that their application to the individual petitioners

is proscribed.”). The scope of preliminary relief should therefore reflect the scope of

EPA’s violations and the ultimate relief being requested, not simply the number of

states that signed onto the petition. See Rodgers, 942 F.3d at 458. A stay limited to

only the State Petitioners’ jurisdictions would be impractical and would fail “to

provide complete relief to” Associations’ members, the majority of which operate

outside of Missouri, Arkansas, and Iowa. Madsen v. Women’s Health Ctr., Inc., 512
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U.S. 753, 765 (1994); see, e.g., Lane Decl. ¶4 (Colorado); Walters Decl. ¶5 (North

Carolina); Pepper Decl. ¶3 (Wyoming).

                                 CONCLUSION

       The Court should grant Petitioners-Intervenors’ motion to stay the

Cybersecurity Rule pending judicial review of the petition for review.



Dated: June 12, 2023                         Respectfully submitted,

                                             /s/ Corinne V. Snow

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                                             National Rural Water Association




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                      CERTIFICATE OF COMPLIANCE

      This motion complies with the word limit of Fed. R. App. P. 27(d)(2) because

it contains 5,150 words, excluding the parts exempted by Fed. R. App. P. 32(f) and

27(d)(2).

      This motion complies with the typeface requirements of Fed. R. App. P.

32(a)(5) and the type-style requirements of Fed. R. App. P. 32(a)(6), because it has

been prepared in a proportionally spaced typeface using Microsoft Word 2016 in

Times New Roman 14-point font.

      Pursuant to Circuit Rule 28A(h), this motion and its certifications have been

scanned for viruses and are virus-free.



Date: June 12, 2023                            Respectfully submitted,

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                        CERTIFICATE OF SERVICE

      Pursuant to Rule 25 of the Federal Rules of Appellate Procedure, I hereby

certify that on June 12, 2023, I electronically filed the foregoing Petitioners-

Intervenors American Water Works Association’s and National Rural Water

Association’s Motion for Stay Pending Review with the Clerk of the Court for the

U.S. Court of Appeals for the Eighth Circuit by using the appellate CM/ECF system,

and served copies of the foregoing via the Court’s CM/ECF system on all ECF-

registered counsel.



Date: June 12, 2023                         Respectfully submitted,

                                            /s/ Corinne V. Snow

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                            Exhibit A




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              IN THE UNITED STATES COURT OF APPEALS
                      FOR THE EIGHTH CIRCUIT

STATE OF MISSOURI, STATE OF
ARKANSAS, and STATE OF IOWA,

                         Petitioners,

             v.

MICHAEL REGAN, Administrator,
U.S. Environmental Protection                 No. 23-1787
Agency, UNITED STATES
ENVIRONMENTAL PROTECTION
AGENCY, and RADHIKA FOX,
Assistant Administrator, U.S.
Environmental Protection Agency,

                         Respondents



                  DECLARATION OF G. TRACY MEHAN, III

I, G. Tracy Mehan, III, swear or affirm under penalty of perjury, the following:

      1.    I am Executive Director of Government Affairs for the American Water

Works Association (“AWWA”) and have served in this role since August 1, 2015. I

base this Declaration upon my first-hand knowledge of the matters described herein.

I am over the age of 21, and am competent to make this Declaration.

      2.    Among other things, my responsibilities include helping to advance

AWWA’s organizational goals. Through my work as Executive Director of

Government Affairs for AWWA, I have become familiar with how the government




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regulations for public water systems affect AWWA’s members’ business operations,

which include cybersecurity risk management.

       3.     AWWA is an international, nonprofit, and scientific and educational

society dedicated to providing solutions to ensure the effective management of

water. Founded in 1881, AWWA is a 501(c)(3) organization that routinely supports

the development of sound water policy for effective public health protection.

AWWA is the largest water association in the United States. Our membership

includes 4,264 public water systems that supply roughly 80 percent of the nation’s

drinking water and treat nearly half of the nation’s wastewater. AWWA’s 50,000-

plus members represent the full spectrum of the water community: public and private

drinking water and wastewater systems, environmental advocates, scientists,

academicians, and others who hold a genuine interest in water, our most important

resource. AWWA unites a diverse water community to advance public health, safety,

the economy, and the environment.

       4.     Our membership includes 4,264 public water systems, each of which

must comply with the Safe Drinking Water Act (“SDWA”) and United States

Environmental Protection Agency (“EPA” or the “Agency”)’s implementing

regulations. AWWA’s membership includes public water systems in all 50 states

and territories.




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      5.     AWWA was formed to promote public health, safety, and welfare

through the improvement of the quality and quantity of water. AWWA routinely

advocates for water policies at both the legislative and regulatory levels. For

example, AWWA was directly engaged in supporting the widely acclaimed 1996

amendments to the SDWA, which require EPA to use a risk and cost assessment and

best available peer-reviewed science when developing regulatory standards in order

to focus attention on the most important health threats.

      6.     AWWA also routinely files public comments on rulemakings that will

impact its members through the public notice and comment periods provided under

the Administrative Procedure Act (“APA”). AWWA views this as a necessary and

important part of its role in representing its membership and carrying out its mission.

      7.     AWWA’s government affairs mission is to: (1) advocate for effective

laws, regulations, programs and policies that ensure safe and affordable water for all

Americans; (2) support effective measures that protect America’s irreplaceable

sources of drinking water; and (3) help water utilities function as high-performing

and sustainable business enterprises (whether municipal or investor owned) so they

can provide excellent service to their customers, today and over the long run.

      8.     I am familiar with EPA’s March 3, 2023, memorandum entitled

“Addressing PWS Cybersecurity in Sanitary Surveys or an Alternative Process”

(“Cybersecurity Rule”), available at https://tinyurl.com/mswu6xch, which revises

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EPA’s interpretations of its SDWA regulations regarding state-conducted sanitary

surveys of public water systems to require evaluation of a system’s cybersecurity

measures. I am also familiar with accompanying guidance document, entitled

“Evaluating Cybersecurity During Public Water System Sanitary Surveys”

(“Cybersecurity Guidance”), available at https://tinyurl.com/bdfhfrdj. Despite

creating new regulatory obligations for states and public water systems, neither the

Cybersecurity Rule nor Guidance were subject to notice and comment pursuant to

the APA prior to issuance.1 As a result, AWWA was not afforded an opportunity to

comment on either document through the APA procedures.

       9.     I am familiar with EPA’s regulations for states with primacy under the

SDWA. Having a sanitary survey program is one of several preconditions necessary

for a state to be delegated primacy under SDWA. EPA’s regulations require states

to conduct periodic sanitary surveys at public water systems to evaluate eight

elements as applicable to the system: (1) source, (2) treatment, (3) distribution

system, (4) finished water storage, (5) pumps, pump facilities, and controls, (6)

monitoring, reporting, and data verification, (7) system management and operation,



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  EPA invited public comment on certain aspects of the Cybersecurity Guidance, noting that it
would “revise and update” the Guidance “as needed based on public comment and new
information.” EPA, Evaluating Cybersecurity During Public Water System Sanitary Surveys 2
(2023). However, EPA is accepting comments only through a specific agency email address rather
than a publicly available docket otherwise published on the Federal Register for notice-and-
comment rulemakings.

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and (8) operator compliance with state certifications. See 40 C.F.R. §§ 141.2,

142.16(b)(3), 142.16(o)(2).

      10.     EPA’s regulations for states with primacy include the provisions that

states “must conduct sanitary surveys for all surface water systems (including

groundwater under the influence) that address the eight sanitary survey components

listed in [40 C.F.R. § 142.16(b)(3)(i)(A)-(H)] no less frequently than every three

years for community systems and no less frequently than every five years for

noncommunity systems.” Id. § 142.16(b)(3)(i). AWWA’s members include both

community water systems and noncommunity water systems that are subject to

periodic sanitary surveys. AWWA’s members include public water systems that are

due for or have been notified that they will be subject to a sanitary survey in the next

six months.

      11.     As part of the sanitary survey, a state with primacy is required to

identify any “significant deficiencies”—meaning defects, failures, malfunctions, or

similar deficiencies that are causing or have the potential to cause the introduction

of contamination into drinking water delivered to customers—and use its authority

to require a public water system to address any identified significant deficiencies.

See id. §§ 142.16(b)(1)–(3), (o)(1)–(2).

      12.     From experience, I know that the risk of a significant deficiency is a

serious concern for any our public water system members and these members

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therefore take proactive steps in advance of a sanitary survey to avoid such findings.

Members have expressed concerns related to significant deficiencies that include the

potential for misinformation in the media, reputational harm, and fines that can

result.

          13.   It is my understanding that the Cybersecurity Rule mandates that states,

in the course of conducting a sanitary survey, must now evaluate public water

systems’ cybersecurity controls and identify potential cybersecurity-related

“significant deficiencies,” which systems would then need to correct. It is also my

understanding that the Cybersecurity Guidance identifies a checklist of specific

cybersecurity controls of varying complexity and cost, found at Appendix A, that

EPA recommends states should use for evaluating cybersecurity during sanitary

surveys, and that the absence (or inadequacy) of one or more of those controls could

be deemed a “significant deficiency” that would require correction by the public

water system.

          14.   AWWA’s membership includes 4,264 public water systems, including

Benton Washington Regional Public Water Authority (“Benton”), Platte Canyon

Water and Sanitation District (“Platte Canyon”), City of Ames Water & Pollution

Control Department (“City of Ames”), Davidson Water Company (“Davidson

Water”), and City of and Borough of Sitka, Alaska (“City of Sitka”), all of which

are subject to the Cybersecurity Rule.

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      15.   EPA, rather than the state, directly oversees the sanitary survey

program in Wyoming, the District of Columbia, as well as for Tribes. AWWA’s

membership includes public water systems in both Wyoming and the District of

Columbia.

      16.   AWWA’s membership includes public water systems serving over

3,300 people who are subject to the cybersecurity requirements in America’s Water

Infrastructure Act of 2018 (“AWIA”). AWWA’s membership also includes public

water systems serving fewer than 3,300 people who are not subject to the

cybersecurity requirements in AWIA.

      17.   AWWA’s membership includes water systems that are subject to the

Cybersecurity Rule because they use an industrial control system or other

operational technology as part of the equipment or operation of a required

component of the sanitary survey.

      18.   As part of its mission, AWWA has been actively involved in assisting

public water systems in evaluating, addressing, and managing cybersecurity risks,

and has issued reports and risk management tools for its members. See, e.g., Judith

H. Germano, AWWA, Cybersecurity Risk & Responsibility in the Water Sector

(2019), https://tinyurl.com/2p8m8y5x; Cybersecurity Risk Management Tool,

AWWA, https://tinyurl.com/bdeubdac (last visited Apr. 26, 2023). AWWA has also

hosted informational and technical conferences on the subject. AWWA also

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frequently engages with Members of Congress to discuss and advocate for the best

approaches to cybersecurity resilience and oversight.

      19.    AWWA believes that cybersecurity is mission-critical for all types of

water utilities. As such, we support efforts to strengthen cybersecurity and are eager

to collaborate with EPA to develop and implement effective approaches for public

water systems. However, EPA’s decision to add cybersecurity requirements to the

sanitary survey program for drinking water utilities is ill-advised, impractical, and

not designed to meaningfully improve system resiliency.

      20.    With respect to the Cybersecurity Rule in particular, AWWA has

frequently advocated against EPA’s approach of using sanitary surveys as the

vehicle for conducting cybersecurity evaluations in letters and comments to the

Agency. For example, shortly before EPA’s issuance of the Cybersecurity Rule,

AWWA, along with other interested associations, submitted a letter to EPA.

      21.    In this letter AWWA objected to, among other things, the Agency’s

treatment of the Cybersecurity Rule as an interpretative, rather than legislative, rule;

the lack of adequate stakeholder engagement with representatives of state and local

governments and interested associations, like the AWWA; and EPA’s insistence on

using sanitary survey programs as the vehicle for conducting cybersecurity

evaluations. See Letter to Michael Regan, Administrator, U.S. Env’t Prot. Agency,

from Am. Water Works Ass’n et al. (Jan. 25, 2023), https://tinyurl.com/29us4ap7.

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      22.    The letter also raised the concern that state sanitary survey programs

are likely to lack the appropriate staffing, training, and expertise to properly and

effectively evaluate cybersecurity programs, increasing the likelihood of unmerited

findings of deficiency. Id. at 7–8. At AWWA, we continue to have these concerns

with EPA’s proposed approach as a result of conversations I and others have had

with state staff members in multiple states. After EPA’s issuance of the

Cybersecurity Rule, AWWA reiterated its concerns in a letter to the Agency, noting

that EPA had failed to substantively analyze the burdens on states and public water

systems associated with using sanitary survey programs to conduct cybersecurity

evaluations, as well as underestimated the burden on public water systems to

implement the necessary cybersecurity controls and prepare for state evaluations

during sanitary surveys. See Letter to Michael Regan, Administrator, U.S. Env’t

Prot. Agency, and Richard Revesz, Administrator, Office of Info. & Regul. Affs.,

from Am. Water Works Ass’n et al. (Apr. 24, 2023), https://tinyurl.com/2a3dawc3.

      23.    AWWA members subject to the Cybersecurity Rule have raised these

and other concerns with the requirements in discussions with AWWA staff,

including myself. These concerns include data handling to protect data related to

their sensitive cybersecurity practices from public disclosure. From discussions with

members, I know that some members feel that they must address all thirty-six




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“recommendations” in EPA’s Guidance in order to avoid a significant deficiency in

their next sanitary survey.

      24.    Because EPA did not provide an APA notice and comment period for

the Cybersecurity Rule prior to finalizing the rule, AWWA was unable to use the

public comment period as an avenue to formally express its views and concerns and

ensure that the Agency take them into consideration before finalizing this rule.

Because EPA did not provide a public notice and comment period for the

Cybersecurity Rule, it is unknown the extent to which EPA considered comments

provided by AWWA prior to the release of the rule.

      25.    Ultimately, we fear the sanitary survey approach adopted by EPA could

do more harm than good for drinking water utilities and the public.

      26.    Presently, states take differing approaches to addressing cybersecurity

for public water systems. Some of our public water system members are located in

states that already have state law requirements for cybersecurity that apply to our

members. These members will incur costs and burdens associated with determining

whether and how they must adjust their current cybersecurity practices to meet the

new Cybersecurity Rule requirements.

      27.    Other members are located in states that do not presently have state law

cybersecurity requirements that apply to our members. These members will incur




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costs based on the new requirements states will be forced to impose as a result of the

Cybersecurity Rule.

      28.    As part of my role at AWWA, I am familiar with the financial,

budgetary, operational, and staffing difficulties that new requirements like the

Cybersecurity Rule place on our public water system members. These members

include public and quasi-public systems with limited budgets and other constraints

on their ability to quickly implement budgetary changes. Some of our members must

receive approval from elected bodies in order to make such changes. In most cases,

additional costs will ultimately be passed on to rate-paying customers in the form of

higher costs for the drinking water they receive. Such costs can be particularly

difficult for small systems that serve a limited number of customers.

      29.    Due to the public or quasi-public nature of many public water system

members, they often need time in advance of new requirements to submit budget

proposals to the bodies that approve their budgets. Even for our private water system

members, it can be difficult to quickly adjust rates to respond to new regulatory

requirements.

      30.    As a result of these considerations, AWWA regularly provides

comments on the costs and burdens associated with EPA’s proposals for new

regulatory requirements that would impact AWWA’s members. AWWA also




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regularly provides recommendations to the Agency regarding how it can limit

burdens on public water systems.

      31.    AWWA has consulted and engaged with its public water system

members to discuss the likely costs and burdens associated with the Cybersecurity

Rule and Guidance. Administrative costs to public water systems associated with

changes in regulations, like those contained in the Cybersecurity Rule, include the

initial costs and internal labor hours to understand a new rule and provide training

to staff regarding a new rule’s requirements. This is especially true when considering

the kinds of documentation and verification requirements associated with sanitary

surveys when combined with the complexity of cybersecurity⸻an area of operations

that many of our members have not previously had to explicitly document in the

manner prescribed by the Cybersecurity Rule and Guidance.

      32.    Our public water system members will also have to familiarize

themselves with the specific requirements in the Cybersecurity Rule. These costs

include a six-hour training course for public water systems provided by EPA for

familiarization.

      33.    Additionally, the Cybersecurity Rule and Guidance rely upon a thirty-

six item checklist of cybersecurity controls that states should look for and evaluate

when conducting sanitary surveys, including thirty-three that are likely to apply to

Public Water Systems. Some of these controls are complex and/or costly measures,

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such as maintaining and updating inventories, configurations, and network

topologies of operational technology (“OT”) and information technology (“IT”)

assets, and evaluating the cybersecurity measures of third-party vendors and

contractors during procurement processes. Additionally, EPA specifically identifies

sixteen of these controls as “potential significant deficiencies.”

      34.     EPA states that these controls are “Technically feasible for most PWSs

to address without significant capital expenditures”. EPA has not provided any

information to support that statement nor has it provided a burden assessment as

required by the Paperwork Reduction Act which would offer some insight on

expected impact of the rule on different size utilities with varying capacity. Review

of the controls in the context of a compliance regiment by subject matter experts

indicates that many of these controls would require capital investments to support

conformity.

      35.     For example, Control 3.1 calls on the utility to “Collect security logs

(e.g., system and network access, malware detection) to use in both incident

detection and investigation.” This control appears to require a baseline intrusion

detection system (“IDS”). AWWA has been informed that typically, an IDS is

implemented as part of a demilitarized zone boundary (“DMZ”) separating the IT

and OT networks. Costs for these systems vary by device count but a minimum

capital expense for base level systems may start at approximately $10,000.

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Supporting subscriptions are also variable but can start around $250 per node. This

often also includes technology for a security information and event management

(“SIEM”) to manage the monitoring and alerting functions, such as password

attempts and log monitoring. AWWA has been informed that average price of SIEM

is approximately $50,000 and may range from minimum of $20,000 to upwards of

$1 million depending on the complexity of the entity’s operations.

      36.   These are not onetime capital investments and require ongoing

maintenance to support them, including the personnel that must be employed directly

or indirectly via third-party support services to maintain the integrity of these

systems. While many entities likely have some level of investment for these systems,

consideration must be given to range of entities that may require additional

investment to support this requirement.

      37.   While AWWA has repeatedly engaged with the Agency on

cybersecurity related issues, AWWA was not aware of the specific requirements,

including the checklist of thirty-six cybersecurity controls, until EPA issued the

Cybersecurity Rule.

      38.   Due to the complexity of the controls, combined with the typical

budgetary constraints facing many public water systems, some of our public water

system members may not currently have all thirty-six controls in place. Some of our

public water system members have therefore indicated to us that they will incur

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significant monetary and internal and/or external labor costs in order to assessment

existing cybersecurity controls, evaluate conformance to the thirty-six item

checklist, and plan implementation of any controls not currently in place—all of

which must be completed prior to a system’s next sanitary survey.

      39.    To further compound problems, over 93 percent of public water

systems serve fewer than 3,300 persons and have limited capacity to support staff

dedicated to managing cybersecurity. In addition, many public water systems are

part of a local municipal government in which technology-based systems are

centrally managed and supported. These member systems therefore feel compelled

to either hire full-time cybersecurity professionals with specialized (i.e., costly)

knowledge and experience of the cybersecurity needs of public water systems, or

hire third-party contractors and consultants with similar expertise. These are

additional costs public water systems would likely bear due to the Cybersecurity

Rule that do not seem to have been accounted for by the Agency. Because no

economic impact assessment was released with the Cybersecurity Rule, AWWA has

not been able to review or comment on any cost assessment associated with the rule.

      40.    Some of AWWA’s public or quasi-public members share IT or

cybersecurity services with broader local government entities and do not have

control over staffing, operational, and budget decisions for these functions.




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      41.    AWWA’s members include public water systems that have reported to

AWWA that they have been informed by regulators that they must conduct a third

party assessment of their cybersecurity practices as a result of the Cybersecurity

Rule. These members have reported that they will incur costs, including in the form

of internal or external labor, in order to comply with this new requirement.

      42.    The Cybersecurity Rule states that “[f]or groundwater systems, states

must maintain records of written notices of significant deficiencies and confirmation

that a significant deficiency has been corrected.” As part of my work on these issues,

I have learned that public disclosure laws vary from state to state. Not all state laws

in states where our members are located protect information collected through

sanitary surveys by state agencies from being shared with the public. As a result,

members have shared concerns about the increased risks they face from this

information being disclosed now that states are required to collect such information.

Some states where our members operate lack the explicit authority to isolate this

class of information from the rest of the compliance data collected by the state as

part of the sanitary survey.

      43.    In addition, EPA regulations require states to provide compliance data

to EPA, including reports of sanitary surveys, and a record of the most recent

vulnerability determination. See 40 C.F.R. § 142.14. As a result, we are concerned

that sensitive cybersecurity information from our members would become subject to

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disclosure under the Freedom of Information Act as a result of the Cybersecurity

Rule. The rule therefore increases risks to our members.

      44.      Even if information about cybersecurity-related deficiencies are made

confidential, there is still the acute risk of the state maintaining a centralized database

of information concerning the potential cybersecurity vulnerabilities of all public

water systems in its jurisdiction—a repository that itself might be vulnerable to a

cyberattack.

      45.      Additionally, because “significant deficiencies” recorded during a

public water system’s sanitary survey must be included in the system’s annual

“consumer confidence report”—which a system must make publicly available to its

customers—AWWA’s members have voiced concerns about the risks of making

public any potential cybersecurity vulnerabilities. Making such information public

in a centralized database or similar repository may turn particular systems into

targets for hackers or other bad actors seeking to leverage potential vulnerabilities

for their own nefarious purposes.

      46.      Given the sensitive nature of cybersecurity our members are very

concerned that the rule may result in public disclosure of a “significant deficiency”

which may be leveraged by malicious actors to attack a system. The Cybersecurity

Rule creates a new recordkeeping obligation on states for tracking compliance with

the sanitary survey program which is a matter of public record that cannot reasonable

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be segmented from related compliance information. This places the utility operations

and the public at increased risk that in not in the interest of national security.

         47.   AWWA’s members, such as Benton, City of Ames, Platte Canyon,

Davidson Water, and City of Sitka, will not incur the above-described costs and

burdens associated with the Cybersecurity Rule if the rule is found unlawful and set

aside.

         48.   I have spoken to multiple AWWA members located in multiple

different states since EPA issued the Cybersecurity Rule who have indicated that

they are already incurring costs and making operational changes in response to the

Cybersecurity Rule. Some of these members have indicated that they are taking these

steps in advance of their next sanitary survey to avoid a potential finding of a

significant deficiency. Some of these members have also indicated that they do not

believe they can wait to begin to incur these costs because EPA indicated that the

Cybersecurity Rule is immediately effective.

         49.   I have spoken to multiple AWWA members located in multiple

different states who have indicated that their state regulators have not previously

inquired about their cybersecurity practices during past sanitary surveys. I am not

aware of any past EPA guidance for sanitary surveys that define cybersecurity

measures that may be evaluated as part of a sanitary survey. I am not aware of any




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member previously receiving a significant deficiency as a result of their

cybersecurity practices during a sanitary survey.

      50.    Given the sensitive nature of cybersecurity and the potential increased

risks that could result if members publicly disclose their current practices, many of

our members are unwilling to publicly state which of the items on EPA’s list of

specific “potential significant deficiencies” they do not currently have in place or to

otherwise disclose information about their current cybersecurity practices. This

makes AWWA’s advocacy on these issues all the more important for its members,

as AWWA is able to raise concerns without directly attributing the concerns to an

individual member or system.

      51.    I am familiar with the petition for review filed by the States of Missouri,

Arkansas, and Iowa (“Petitioners”), No. 23-1787 (8th Cir. Apr. 17, 2023), seeking

to review and set aside the Cybersecurity Rule. Because the Cybersecurity Rule is

likely to increase the regulatory burden and associated costs on some of AWWA’s

members, increase cybersecurity risks for some members and the public, and result

in a regulatory scheme that is not beneficial for America’s water users, this lawsuit

is germane to AWWA’s purpose to advocate for effective laws, regulations,

programs and policies that ensure safe and affordable water for all Americans and

help water utilities function as high-performing and sustainable business enterprises.




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      52.    This case is also germane to AWWA’s purpose because the Petitioners’

requested relief—holding the Cybersecurity Rule unlawful and setting it aside—

would alleviate the administrative and operational costs and burdens the rule places

on AWWA’s members, such as Benton, City of Ames, Platte Canyon, Davidson

Water, and City of Sitka, and more than 4,000 other public water systems. It would

also alleviate the increased risk of cybersecurity attacks due to public records

disclosing a “significant deficiency” that this rule creates for some members.

      53.    Because EPA has improperly treated the Cybersecurity Rule as an

interpretive rule, AWWA, like other interested parties, has thus far not been afforded

a formal opportunity to raise its comments regarding and concerns about the

Cybersecurity Rule, such as those described herein, pursuant to APA notice and

comment. As such, AWWA has not been afforded opportunity to protect its

members’ interests in avoiding excessive, ineffective, potentially harmful, or

unlawful regulatory obligations through a fair and transparent regulatory process.

      54.    If EPA is required to instead promulgate cybersecurity requirements for

public water systems through the APA’s notice and comment rulemaking process,

then AWWA will have the opportunity to participate in the rulemaking process and

provide specific feedback on EPA’s proposed requirements and proposed

implementation timeline. AWWA intends to participate in any such future

rulemaking process.

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      55.    Our members have many years of experience with both sanitary surveys

and cybersecurity, and they believe that using sanitary surveys will be ineffective at

improving cybersecurity at water systems and will result in significant

implementation challenges for both our members and the states. As part of our

mission, AWWA is committed to working collaboratively with EPA and other

stakeholders to develop an effective approach to cybersecurity that is risk- and

performance-based. AWWA would like the opportunity to propose more workable

solutions to EPA than the approach taken by EPA in the Cybersecurity Rule.

      56.    AWWA recognizes the necessity to act, and we are committed to

working expediently to develop and implement cybersecurity solutions for the water

sector that are developed by consensus with critical input and support from water

utilities, using an approach that is legally sound and will result in a far more effective

approach to mitigate cyber threats facing the water sector than the one imposed by

EPA through the Cybersecurity Rule.

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      I declare under penalty of perjury under the laws of the United States of

America that the foregoing is true and correct.

      Executed on this 16 day of May, 2023.




                                        G. Tracy Mehan, III
                                        Executive Director Government Affairs
                                        American Water Works Association




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                            Exhibit B




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              IN THE UNITED STATES COURT OF APPEALS
                      FOR THE EIGHTH CIRCUIT

STATE OF MISSOURI, STATE OF
ARKANSAS, and STATE OF IOWA,

                        Petitioners,

             v.
MICHAEL REGAN, Administrator,
U.S. Environmental Protection                No. 23-1787
Agency, UNITED STATES
ENVIRONMENTAL PROTECTION
AGENCY, and RADHIKA FOX,
Assistant Administrator, U.S.
Environmental Protection Agency,

                        Respondents



                  DECLARATION OF MATTHEW HOLMES

I, Matthew Holmes, swear or affirm under penalty of perjury, the following:
      1.    I am Chief Executive Officer for the National Rural Water Association

(“NRWA”) and have served in this role since July 1, 2020. I base this Declaration

upon my first-hand knowledge of the matters described herein. I am over the age of

21, and am competent to make this Declaration.

      2.    Among other things, my responsibilities include administration of day-

to-day operation, maintaining an effective government affairs program, overseeing

advocacy on regulations affecting the membership, building relationships within the

water sector, and serving as spokesman for the association.


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      3.     NRWA, founded in 1976, is a nonprofit organization dedicated to

training, supporting, and promoting water and wastewater professionals that serve

small communities across the United States. NRWA is the country’s largest water

utility association, representing over 15,000 public water system members through

its 50 affiliated State Rural Water Associations in all 50 states. NRWA’s programs

generally focus on assisting small and rural communities serving fewer than 10,000

people and cover all aspects of operating, managing, and financing water and

wastewater utilities. Most notably, through our “Circuit Rider” program, drinking

water professionals from our affiliate network provide in-person, hands-on

assistance and training for small, rural systems on an everyday basis. In 2022,

NRWA and state affiliate staff provided on-site technical assistance visits and spent

more than 200,000 hours training more than 65,000 utilities.

      4.     As public water systems, our members are required to comply with the

Safe Drinking Water Act (“SDWA”) and United States Environmental Protection

Agency (“EPA” or the “Agency”) implementing regulations.

      5.     NRWA frequently advocates for water policies at both the legislative

and regulatory levels that ensure small and rural utilities have the support and

resources necessary to serve their communities, urging legislators and regulators to

consider approaches to regulation that ensure access to safe and affordable water for

all Americans while also accounting for the unique operations and character of the

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myriad public water systems across the United States. From experience, NRWA

believes that enhancing drinking water quality is more often a resource problem

rather than a regulatory one.

       6.    To that end, NRWA routinely files public comments on SDWA

rulemakings that will impact its members, availing itself of the public notice-and-

comment periods provided under the Administrative Procedure Act (“APA”). We

have done so for a variety of EPA proposed regulations under the SDWA, such as

the Agency’s revisions to its lead and copper standards and its perchlorate standards.

See Nat’l Rural Water Ass’n, Comments on Proposed Rule, National Primary

Drinking Water Regulations: Proposed Lead and Copper Rule Revisions, 84 Fed.

Reg.    61,684     (Feb.    11,    2020)    (“LCR      Comments”),       available     at

https://tinyurl.com/bdcnkybs; Nat’l Rural Water Ass’n, Comments on Proposed

Rule, National Primary Drinking Water Regulations: Perchlorate, 84 Fed. Reg.

30,524 (Aug. 26, 2019), available at https://tinyurl.com/29buztff. NRWA believes

its participation in the regulatory process is a necessary and important part of its role

as representative of its members and is essential in carrying out its mission to protect

the interests of small and rural water systems.

       7.    NRWA has permanent standing Regulatory and Legislative

Committees that consist of Board Members that actively manage or operate rural




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water systems nationwide. Since inception, NRWA has also maintained a permanent

legislative and regulatory staff in Washington, D.C.

      8.     Each year NRWA conducts a Rural Water Conference in Washington,

D.C. attended by hundreds of rural utility industry representatives from all 50 states

and Puerto Rico. This venue is used to interact with policy leaders within the EPA

and other federal agencies to address current or proposed policy issues affecting the

rural water industry. Attendees meet with their Congressional delegations to directly

advocate for appropriation priorities that include, but are not limited to, the Safe

Drinking Water State Revolving Loan Fund and the Clean Water State Revolving

Loan Fund.

      9.     NRWA also provides recommendations to Congress on legislation and

policy related issues regarding the Safe Drinking Water Act and the potential

impacts on small and rural utilities.

      10.    Many of NRWA’s members are very small utilities that rely on NRWA

to ensure regulations are fair, achievable, and written to avoid financial hardships.

Many of our utility members have only one to two employees and will require

technical assistance, financial assistance, and time to implement sweeping

cybersecurity requirements.

      11.    I am familiar with EPA’s March 3, 2023, memorandum entitled

“Addressing PWS Cybersecurity in Sanitary Surveys or an Alternative Process”

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(“Cybersecurity Rule”), available at https://tinyurl.com/mswu6xch, which revises

EPA’s interpretations of its SDWA regulations regarding state-conducted periodic

sanitary surveys of public water systems. The revisions require states to evaluate

public water systems’ cybersecurity systems as part of sanitary surveys. I am also

familiar with the accompanying guidance document, entitled “Evaluating

Cybersecurity During Public Water System Sanitary Surveys” (“Cybersecurity

Guidance”), available at https://tinyurl.com/bdfhfrdj.

      12.     Despite creating new regulatory obligations for states and public water

systems, it is my understanding that neither the Cybersecurity Rule nor Guidance

were subject to notice and comment pursuant to the APA prior to issuance. As a

result, NRWA was not afforded an opportunity to formally comment on either

document. As active participants in this process, NRWA would have provided

comments had cybersecurity requirements been introduced as a proposed rule with

opportunity for comment under the APA.

      13.     I am generally familiar with EPA’s regulations for states with primacy

under the SDWA. As a precondition for state primacy under the SDWA (i.e.,

allowing states to directly administer the SDWA within its borders), EPA’s

regulations require a state to establish a program for conducting “sanitary surveys

for all surface water systems (including groundwater under the influence) that

address     the   eight   sanitary   survey       components   listed   in   [40   C.F.R.

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142.16(b)(3)(i)(A)–(H)] no less frequently than every three years for community

systems and no less frequently than every five years for noncommunity systems.”

40 C.F.R. § 142.16(b)(3)(i). A sanitary survey is essentially an on-site review of a

system’s water source, facilities, equipment, and operations and maintenance in

order to evaluate its adequacy to produce and distribute safe drinking water. See id.

§§ 141.2, 142.16(b)(3), 142.16(o)(2).

      14.    NRWA’s members include both community water systems and

noncommunity water systems that are subject to periodic sanitary surveys, including

Davidson Water, Inc. (“Davidson Water”). Public Water Supply District #2, Andrew

County, Missouri (“District #2”), City of Clinton Water and Sewer Department

(“Clinton”), Public Water Supply District #4, Platte County, Missouri (“District

#4”), and Mahaska Rural Water System, Inc. (“Mahaska”). Wyoming Association

of Rural Water Systems (“WARWS”) is a state affiliate member of NRWA with

public water system members that are subject to periodic sanitary surveys.

      15.    As part of a survey, a state is required to identify any “significant

deficiencies”—meaning defects, failures, malfunctions, or similar deficiencies that

are causing or have the potential to cause the introduction of contamination into

drinking water delivered to customers—and use its authority to require a public

water system to address any identified significant deficiencies. See id.

§ 142.16(b)(1)–(3), (o)(1)–(2).

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      16.    From experience, I know that the risk of a finding of significant

deficiency poses concerns for many of our public water system members. Our

members therefore often take proactive steps in advance of a sanitary survey to avoid

such findings. Members frequently express concern that a finding of significant

deficiency, which are generally made public to customers, risks undermining

customer confidence, on top of the possibility of monetary fines or other corrective

action from regulators.

      17.    It is my understanding that the Cybersecurity Rule and Guidance

require states in the course of conducting sanitary surveys to now evaluate public

water systems’ cybersecurity controls and identify potential cybersecurity-related

“significant deficiencies,” which systems would then need to correct. It is also my

understanding that the Cybersecurity Guidance identifies a checklist of specific

cybersecurity controls of varying complexity and cost, found at Appendix A, that

states should look for and evaluate during sanitary surveys, and that the absence (or

inadequacy) of one or more of those controls could be deemed a “significant

deficiency” that would require correction by the public water system.

      18.    NRWA’s membership, through its state affiliates, includes over 15,000

public water systems, including Davidson Water, District #2, Clinton, District #4,

and Mahaska, all of which are subject to the Cybersecurity Rule.




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      19.   EPA, rather than the state, directly oversees the sanitary survey

program in Wyoming and the District of Columbia. NRWA’s membership includes

public water systems in Wyoming.

      20.   NRWA’s membership includes public water systems serving over

3,300 people who are subject to the cybersecurity requirements in America’s Water

Infrastructure Act of 2018 (“AWIA”). NRWA’s membership also includes public

water systems serving fewer than 3,300 people who are not subject to the

cybersecurity requirements in AWIA.

      21.   As part of its mission, NRWA has been actively involved in assisting

public water systems in evaluating, addressing, and managing cybersecurity risks.

For example, NRWA has partnered with the Mission Critical Global Alliance

(“MCGA”) to establish a comprehensive and continuous cyber education program

that helps small and rural water systems manage their particular cybersecurity risks

and safeguard their operational technology (“OT”) and information technology

(“IT”) assets. This program provides NRWA members with critical cybersecurity

training, through organized courses and certification trainings, as well as on-site,

hands-on training through our “Circuit Rider” program, where drinking water

professionals provide assistance to member systems on an everyday basis. NRWA

also frequently engages with elected representatives and regulators to discuss and

advocate for the best approaches to cybersecurity resilience and oversight for small

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and rural water systems, which often lack the necessary expertise and/or resources

to implement robust cybersecurity measures.

      22.    NRWA believes that cybersecurity is mission-critical for all types of

water utilities, especially those in small and rural communities who can be more

vulnerable to service disruptions. As such, we support efforts to strengthen

cybersecurity, and are eager to collaborate with EPA to develop and implement

effective approaches for public water systems. EPA’s decision, however, to add

cybersecurity requirements to the sanitary survey program for drinking water is

unlikely to meaningfully improve system resiliency and may ultimately be

counterproductive to that goal.

      23.    NRWA has advocated against EPA’s approach of using sanitary

surveys as the vehicle for conducting cybersecurity evaluations in letters and

comments to the Agency. For example, shortly before EPA’s issuance of the

Cybersecurity Rule, NRWA, along with other interested associations like the

American Water Works Association (“AWWA”), submitted a letter to EPA voicing

its concerns with such an approach. In this letter, NRWA objected to, among other

things, the Agency’s treatment of the Cybersecurity Rule as an interpretative, rather

than legislative, rule; the lack of adequate stakeholder engagement with

representatives of state and local governments and interested associations, like

NRWA; and EPA’s insistence on using sanitary survey programs as the vehicle for

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conducting cybersecurity evaluations. See Letter to Michael Regan, Administrator,

U.S. Env’t Prot. Agency, from Nat’l Rural Water Ass’n et al. (Jan. 25, 2023),

https://tinyurl.com/29us4ap7. The letter also raised the concern that state sanitary

survey programs are likely to lack the appropriate staffing, training, and expertise to

properly and effectively evaluate cybersecurity programs, increasing the likelihood

of unmerited findings of deficiency. Id. at 7–8. At NRWA, we continue to have these

concerns with EPA’s proposed approach as a result of conversations I and others

have had with state staff members in multiple states.

      24.    In discussions with NRWA staff, including myself, NRWA members

subject to the Cybersecurity Rule have raised these and other concerns with the

Rule’s requirements.

      25.    Because the Cybersecurity Rule was not subject to APA notice and

comment, NRWA was unable to use the public comment period as an avenue for

NRWA to formally express its views and concerns and ensure that the Agency take

them into consideration before finalizing its Rule. As EPA did not provide a public

notice-and-comment period for the Cybersecurity Rule, it is unknown the extent to

which EPA considered NRWA’s comments.

      26.    Ultimately, we fear the sanitary survey approach adopted by EPA could

do more harm than good for drinking water utilities and the public.




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      27.    Presently, states take differing approaches to addressing cybersecurity

for public water systems. Some of our public water system members are located in

states that already have state requirements for cybersecurity that apply to our

members. These members will incur costs and burdens associated with determining

whether and how they must adjust their current cybersecurity practices to meet the

new Cybersecurity Rule requirements. Other members are located in states that do

not presently have cybersecurity requirements that apply to our members. These

members will incur costs based on the new requirements states will be forced to

impose as a result of the Cybersecurity Rule.

      28.    As part of my role at NRWA, I am familiar with the financial,

budgetary, operational, and staffing difficulties that new regulatory requirements

like those imposed by the Cybersecurity Rule place on small and rural public water

systems. Many of these systems include public and quasi-public systems with

limited budgets and other constraints on their ability to quickly implement budgetary

changes, such as the need for approval by local governing bodies. The imposition of

additional, unfunded regulatory requirements will only serve to further strain the

budgets of smaller communities. In most cases, additional costs will ultimately be

passed on to rate-paying customers in the form of higher costs for the drinking water

they receive. Such costs can be particularly difficult for small systems that serve a

limited number of customers.

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      29.    As a result of these considerations, NRWA regularly provides

comments on the costs and burdens associated with EPA’s proposals for new

regulatory requirements that would impact NRWA’s members. NRWA also

regularly provides recommendations to the Agency regarding how it can limit

burdens on public water systems. See, e.g., LCR Comments, at 6, 8.

      30.    NRWA has consulted and engaged with its public water system

members to discuss the likely costs and burdens associated with the Cybersecurity

Rule and Guidance. Administrative costs to public water systems associated with

changes in regulations, like those contained in the Cybersecurity Rule, include the

initial costs and internal labor hours to understand a new rule and provide training

to staff regarding a new rule’s requirements. This is especially true when considering

the complexity of cybersecurity, an aspect of water system management that is likely

to be less familiar to the typical public water system than, say, pollutant control. For

the Cybersecurity Rule, these costs include a six-hour training course for public

water systems provided by EPA.

      31.    Additionally, the Cybersecurity Rule and Guidance rely upon a thirty-

six item checklist of cybersecurity controls that states should look for and evaluate

when conducting sanitary surveys. Some of these controls are complex and/or costly

measures, such as maintaining and updating inventories, configurations, and

network topologies of operational technology (“OT”) and information technology

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(“IT”) assets, and evaluating the cybersecurity measures of third-party vendors and

contractors during procurement processes.

      32.    While NRWA has repeatedly engaged with the Agency on

cybersecurity related issues, NRWA was not aware of the specific requirements of

the Cybersecurity Rule, including the checklist of thirty-six potential significant

deficiencies, until issued by EPA.

      33.    Due to complexity of the controls, combined with the typical budgetary,

staff, and expertise constraints facing many small and rural water systems, some of

our members do not currently have all thirty-six controls in place. Some of our

members have therefore indicated to us that they will incur significant monetary and

internal and/or external labor costs in order to audit existing cybersecurity controls,

evaluate conformance to the thirty-six item checklist, and implement those controls

not currently in place—all of which must be completed prior to a system’s next

sanitary survey.

      34.    To further compound problems, many of our public water system

members lack dedicated cybersecurity professionals on staff. These member systems

therefore feel compelled to either hire full-time cybersecurity professionals with

specialized (i.e., costly) knowledge and experience of the cybersecurity needs of

public water systems, or hire third-party contractors and consultants with similar

expertise. These are additional costs public water systems would likely bear due to

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the Cybersecurity Rule. Some of our smallest members, in fact, rely on volunteer

staff to maintain operations, making it all the more unlikely that they will have the

resources to hire or contract with a qualified cybersecurity professional.

      35.      Further, some of NRWA’s public or quasi-public members share IT or

cybersecurity services with broader local government entities and do not have

control over staffing, operational, and budget decisions for these functions.

      36.      With respect to outside cybersecurity professionals, some members

have expressed concern with using third-party contractors, as these contractors are

often selling particular products or services, meaning that their recommendations

may not be in our members’ best interest in providing safe and affordable drinking

water to their communities.

      37.      NRWA’s members include public water systems that have reported to

NRWA that they have been informed by their state regulators that they must conduct

a self-assessment or third party assessment of their cybersecurity practices as a result

of the Cybersecurity Rule. These members have reported that they will incur costs,

including in the form of internal or external labor, in order to comply with this new

requirement.

      38.      Regarding the risk of a finding of significant deficiency, NRWA and

its members are concerned that the limited cybersecurity expertise and experience

of state officials conducting sanitary surveys may lead to the recordation of

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erroneous or ill-founded cybersecurity-related significant deficiencies. In other

words, state officials with limited training in evaluating cybersecurity resilience may

be too quick to record significant deficiencies—a problem compounded by the

potential for undue reliance on a rigid checklist—without properly evaluating

whether the purported deficiency actually affects water system operations or

security.

      39.    Additionally, because “significant deficiencies” recorded during a

public water system’s sanitary survey are included in the system’s annual “consumer

confidence report”—which a system must make publicly available to its

customers— NRWA’s members have voiced concerns about the risks of making

public any potential cybersecurity gaps. Making such information public in a

centralized database or similar repository may turn particular systems into targets

for hackers or other bad actors seeking to leverage potential vulnerabilities for their

own nefarious purposes. This is particularly true for smaller, rural systems that

already may be perceived as less sophisticated and therefore more vulnerable to

cyberattack given, as compared to larger, urban water systems.

      40.    The Cybersecurity Rule states that “[f]or groundwater systems, states

must maintain records of written notices of significant deficiencies and confirmation

that a significant deficiency has been corrected.” Cybersecurity Rule, at 5. As part

of my work on these issues, I have learned that public disclosure laws vary from

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state to state. Not all state laws in states where our members are located protect

information collected through sanitary surveys by state agencies from being shared

with the public. As a result, members have shared concerns about the increased risks

they face from this information being disclosed now that states are required to collect

such information.

      41.      Even if information about cybersecurity-related deficiencies are made

confidential, there is still the acute risk of the state maintaining a centralized database

of information concerning the potential cybersecurity vulnerabilities of all public

water systems in its jurisdiction—a repository that itself might be vulnerable to a

cyberattack.

      42.      NRWA’s members, including Davidson Water, District #2, Clinton,

District #4, and Mahaska will not incur the above-described costs and burdens

associated with the Cybersecurity Rule if the Rule is found unlawful and set aside.

      43.      I have spoken to multiple NRWA members located throughout the

United States since EPA issued the Cybersecurity Rule, and those members have

indicated that they are already incurring costs and making operational changes in

response to the Cybersecurity Rule. Some of these members have indicated that they

are taking these steps in advance of their next sanitary survey to avoid a potential

finding of a significant deficiency. Some of these members have also indicated that




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they do not believe they can wait to begin to incur these costs because EPA indicated

that the Cybersecurity Rule is immediately effective.

      44.    I have spoken to multiple NRWA members located in multiple different

states who have indicated that their state regulators have not previously inquired into

their cybersecurity practices during past sanitary surveys. I am not aware of any past

EPA guidance indicating that cybersecurity measures should be evaluated as part of

a sanitary survey. I am not aware of any member previously receiving a significant

deficiency as a result of their cybersecurity practices.

      45.    Given the sensitive nature of cybersecurity and the potential increased

risk of cyberattack that could result if members are required to discuss their current

practices publicly, many of our members are unwilling to publicly state which of the

items on EPA’s list of specific “potential significant deficiencies” they do not

currently have in place or to otherwise disclose information about their current

cybersecurity practices. This makes NRWA’s advocacy on these issues all the more

important for its members, as NRWA is able to raise concerns without directly

attributing the concerns to an individual member or system.

      46.    I am familiar with the petition for review filed by the States of Missouri,

Arkansas, and Iowa (“Petitioners”), No. 23-1787 (8th Cir. Apr. 17, 2023), seeking

to review and set aside the Cybersecurity Rule. Because the Cybersecurity Rule is

likely to increase the costs to some of NRWA’s members, increase cybersecurity

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risks for some members, and result in regulation that is not beneficial for America’s

water users, this lawsuit is germane to NRWA’s purpose.

      47.    This case is also germane to NRWA’s purpose because the Petitioners’

requested relief—holding the Cybersecurity Rule unlawful and setting it aside—

would alleviate the administrative and operational costs and burdens the rule places

on NRWA’s members, including Davidson Water, District #2, Clinton, District #4,

and Mahaska, and more than 15,000 other public water systems. It would also

alleviate the increased risk of a member system being stuck with a finding of

significant deficiency, as well as the risk of increased cybersecurity attack due to

public disclosure of sensitive cybersecurity information, that the Rule creates for

some members.

      48.    Because EPA has improperly treated the Cybersecurity Rule as an

interpretive rule, NRWA, like other interested parties, has thus far not been afforded

a formal opportunity to raise its comments regarding any concerns about the

Cybersecurity Rule, such as those described herein, pursuant to APA notice and

comment. As such, NRWA has not been afforded the opportunity to protect its

members’ interests in avoiding excessive, ineffective, potentially harmful, or

unlawful regulatory obligations through a fair and transparent regulatory process.

      49.    If EPA is required to instead promulgate cybersecurity requirements for

public water systems through the APA’s notice and comment rulemaking process,

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then NRWA will have the opportunity to participate in the rulemaking process and

provide specific feedback on EPA’s proposed requirements and proposed

implementation timeline. NRWA intends to participate in any such future

rulemaking process.

      50.    Our members have many years of experience with both sanitary surveys

and cybersecurity, and they believe that using sanitary surveys will be ineffective at

improving cybersecurity at water systems. As part of our mission to advocate for

small and rural water systems, NRWA is committed to working collaboratively with

EPA and other stakeholders to develop an effective approach to cybersecurity that

is risk- and performance-based and tailored to the particular operational needs and

constraints of public water systems. NRWA recognizes the necessity to act, and we

are committed to working expediently to develop and implement cybersecurity

solutions for the water sector that are developed by consensus with critical input and

support from those water utilities that will ultimately be subject to sanitary surveys,

an approach that is legally sound and will result in a far more effective approach to

mitigate cyber threats facing the water sector than the one imposed by EPA through

the Cybersecurity Rule.

                                         ***




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      I declare under penalty of perjury under the laws of the United States of

America that the foregoing is true and correct.

      Executed on this 15th day of May 2023.


                                        _____________________
                                        Matthew Holmes
                                        Chief Executive Officer
                                        National Rural Water Association




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                            Exhibit C




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              IN THE UNITED STATES COURT OF APPEALS
                      FOR THE EIGHTH CIRCUIT

STATE OF MISSOURI, STATE OF
ARKANSAS, and STATE OF IOWA,

                         Petitioners,

             v.

MICHAEL REGAN, Administrator,
U.S. Environmental Protection                  No. 23-1787
Agency, UNITED STATES
ENVIRONMENTAL PROTECTION
AGENCY, and RADHIKA FOX,
Assistant Administrator, U.S.
Environmental Protection Agency,

                         Respondents



                     DECLARATION OF MARK PEPPER

I, Mark Pepper, swear or affirm under penalty of perjury, the following:

      1.     I am Executive Director for the Wyoming Association of Rural Water

Systems (“WARWS”) and have served in this role since 2006. I base this Declaration

upon my first-hand knowledge of the matters described herein. I am over the age of

21, and am competent to make this Declaration.

      2.     Among other things, my responsibilities as Executive Director of

WARWS include: lead advocate for members and public water systems in Wyoming

on regulatory and legislative issues. I am also point of contact for State and Federal

Agencies looking for background and or outreach on or to Wyoming’s public water


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systems, legislators, regulatory personnel or other elected officials of Wyoming’s

public water systems. I am a gubernatorial appointee representing governmental

entities to the Small System Task Force, The State Emergency Response

Commission, the State Non-Point Source Task Force and the State Qualifications

Committee. Each of these allow me to adequately express the views and needs of

public water systems (“PWSs”) as it relates to each task force, commission or

committee.

      3.     WARWS, established in 1989, is a member-driven, nonprofit

association representing all (778) PWSs in the State of Wyoming subject to the Safe

Drinking Water Act (“SDWA”) and/or the Clean Water Act. Of the 778 systems,

320 are owned and operated by governmental entities. The remainder are generally

owned and operated by private companies or state and federal agencies such as the

U.S. Forest Service, National Park Service or State Parks and Recreation. All 778

are subject to sanitary surveys and are required to address deficiencies. WARWS’s

mission is “[t]o provide the assistance necessary to meet the needs of our

membership and to ensure the protection of Wyoming’s water—our most precious

resource. By providing on-site, one-on-one technical assistance and training we can

help community elected officials and operators with their commitment and their

profession of providing ‘Quality on Tap!’” See About Us, Wyo. Ass’n of Rural

Water Sys., https://tinyurl.com/53wnwn9w (last visited May 5, 2023). WARWS


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organizes and runs training programs for Wyoming water and wastewater

professionals, allowing them to maintain licensure requirements or prepare for

licensure exams, and our “Circuit Rider” program provides on-site, hands-on

training and assistance for our member systems on a variety of topics, including

water system operation and maintenance, recordkeeping, water quality testing,

governance and financial concerns.

      4.     WARWS is a Wyoming incorporated non-profit and is Wyoming’s

state affiliate for the National Rural Water Association (“NRWA”), which operates

through a series of state affiliates across the nation. By virtue of this relationship,

WARWS’s member systems are members of NRWA through WARWS, and our

member systems often attend WARWS state conferences and meetings, as well as

those organized by NRWA. Our members also participate in NRWA-run training

programs and help represent NRWA as part of its legislative advocacy efforts, such

as through NRWA’s “Water Rallies.” A member of WARWS’s Board of Directors

represents Wyoming on the NRWA Board of Directors. Currently, the National

Director for Wyoming is Chuck McVey, Utility Supervisor from the Town of

Saratoga, Wyoming, with a population of approximately 1,700.

      5.     WARWS’s membership includes PWSs serving over 3,300 people (34

PWSs) that are subject to the cybersecurity requirements in America’s Water

Infrastructure Act of 2018 (“AWIA”). WARWS’s membership also includes PWSs


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serving fewer than 3,300 people (744 PWSs) that are not subject to the cybersecurity

requirements in AWIA. It is our understanding that all PWSs will be subject to the

United States Environmental Protection Agency’s (“EPA” or the “Agency”) rule for

cybersecurity in sanitary survey’s or alternative process regardless of population or

ownership.

      6.     As PWSs, our member systems are required to comply with the SDWA

and EPA implementing regulations.

      7.     Because Wyoming has neither applied for nor received authority to

administer the SDWA within the state, EPA Region 8 has been designated by the

EPA to directly implement the SDWA in the State of Wyoming, and its over 775

PWSs. EPA Region 8 is therefore responsible for administering sanitary surveys of

PWSs within the State of Wyoming. Wyoming’s PWSs, including WARWS’s

member systems, are thus directly regulated by EPA Region 8 when it comes to

sanitary surveys. These sanitary surveys are conducted every 3–5 years.

      8.     I am familiar with EPA’s March 3, 2023 memorandum entitled

“Addressing PWS Cybersecurity in Sanitary Surveys or an Alternative Process”

(“Cybersecurity Rule”), available at https://tinyurl.com/mswu6xch, which revises

EPA’s interpretations of its SDWA regulations regarding sanitary surveys of PWSs.

The revisions require sanitary surveys to include evaluation of a PWS’s

cybersecurity systems and controls. I am also familiar with the accompanying


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guidance document, entitled “Evaluating Cybersecurity During Public Water

System      Sanitary   Surveys”      (“Cybersecurity   Guidance”),     available      at

https://tinyurl.com/bdfhfrdj.

      9.      WARWS’s membership includes PWSs that use industrial control

systems or other operational technology as part of the equipment or operation of a

required component of the sanitary survey.

      10.     Despite creating new regulatory obligations for PWSs, it is my

understanding that neither the Cybersecurity Rule nor the Cybersecurity Guidance

were subject to the notice-and-comment procedures provided by the Administrative

Procedure Act (“APA”).

      11.     As Executive Director for WARWS, I am generally familiar with EPA

Region 8’s implementation of the SDWA in the State of Wyoming, including its

sanitary survey program. A sanitary survey is basically an on-site review of a

system’s water source, facilities, equipment operations and maintenance in order to

evaluate its adequacy to produce and distribute safe drinking water. As part of a

sanitary survey of a Wyoming PWS, the inspecting officials (i.e., EPA Region 8

officials or contractors who may not be versed in all aspects of cyber- and physical

security issues) are tasked with identifying any “significant deficiencies”—meaning

defects, failures, malfunctions, or similar deficiencies—that are causing or have the

potential to cause the introduction of contamination into drinking water delivered to


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customers. EPA Region 8 must then exercise its authority to require a PWS to

address any identified significant deficiencies, regardless of cost/benefit or before

employing cost/benefit analysis to the identified deficiency.

      12.    From working with WARWS’s members, I know that the risk of a

finding of significant deficiency poses a serious concern for many of our PWS

members. Our members therefore often take proactive steps in advance of a sanitary

survey to avoid such findings. Members frequently express concern that a findings

of significant deficiency, which are generally made public to customers, risk eroding

customer confidence in drinking water quality due to the lack of knowledge of the

general public to regulatory issues and the inherent risk of misinterpretation to public

health of a particular regulatory issue, on top of the possibility of monetary fines or

other corrective action directed by EPA Region 8. Members are additionally

concerned that the public data (significant deficiency) that may arise about cyber-

and physical security of a PWS may unnecessarily alarm citizens regarding the

safety of their drinking water supply.

      13.    The Cybersecurity Rule and the Cybersecurity Guidance, as I

understand it, identify a checklist of 36 cybersecurity controls of varying complexity

and cost that EPA strongly recommends regulators (who may not be familiar with

internal manufacturers controls or general cybersecurity issues) look for during a

sanitary survey of a PWS. The Cybersecurity Rule and Guidance further state that


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the absence (or inadequacy) of one or more of those controls could be deemed a

“significant deficiency” that would require correction by the PWS.

      14.   The Cybersecurity Rule states that “EPA’s interpretation clarifies that

the regulatory requirement to review the ‘equipment’ and ‘operation’ of a PWS

necessarily encompasses a review of the cybersecurity practices and controls needed

to maintain the integrity and continued functioning of operational technology of the

PWS that could impact the supply or safety of the water provided to customers.”

Because EPA Region 8 directly administers the SDWA and the sanitary survey

program in the State of Wyoming, we and our members can reasonably expect that

EPA will apply this interpretation, as further explained in the Cybersecurity

Guidance, during upcoming sanitary surveys. As a result, the cost and burdens

associated with the Cybersecurity Rule will be directly imposed by EPA.

      15.   To the extent EPA’s direct implementation of the new cybersecurity

requirements differs from the Cybersecurity Guidance, EPA is creating concern and

uncertainty among our members by announcing a new “interpretation” of their

existing requirements without specifying how they will apply that interpretation to

our members and thus increasing their risk of facing a “significant deficiency” in

their upcoming sanitary surveys. WARWS is therefore expending time and staff

resources to understand the Cybersecurity Rule and the Cybersecurity Guidance, to

communicate with members regarding how these requirements differ from their


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existing requirements, and to try to better understand how EPA will implement these

new requirements.

      16.    WARWS, like NRWA, believes that cybersecurity is mission-critical

for all types of water utilities, especially those in small and rural communities that

can be more vulnerable to service disruptions. As such, we support efforts to

strengthen cybersecurity as we did with AWIA, and those member systems that were

required to address cyber- and physical security per the act and are eager to

collaborate with EPA to develop and implement effective approaches for all PWSs.

And WARWS is actively involved in assisting its PWS members in evaluating,

addressing, and managing cybersecurity risks. EPA’s decision, however, to add

cybersecurity requirements to the sanitary survey program for drinking water is

unlikely to meaningfully improve system resiliency and may ultimately be

counterproductive to that goal and harm our members and their customers.

      17.    In response to the AWIA, WARWS engaged with its member PWSs to

assist them in understanding cyber- and physical security needs regardless of

population size, conducting training seminars and onsite evaluations of operational

control systems and or informational control systems throughout the AWIA

implementation timeframe from 2018–2021. We continue to perform these training

and awareness sessions. We anticipate doing the same for the new requirements

contained in the Cybersecurity Rule, expending our resources and time in the


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process. This direct engagement is necessary given the complexity of some of the

controls listed by EPA and the understanding gained during the AWIA effort to

bridge technology terminology with operational terminology, as well as the reality

that the vast majority of our member PWSs do not have full-time, dedicated

operational technology (“OT”) and information technology (“IT”) professionals or

access to same, as those OT/IT professionals typically demand high salaries due to

their expertise and certifications, and due to the small customer base, those

professionals are not in great supply to accommodate the needs of this new proposed

rule to be able to address any identified issues within reasonable corrective timelines,

which may cause undue hardship, misinterpretation and confusion to the populace.

      18.    Our PWS members will also likely incur initial monetary and time costs

in order to understand the Cybersecurity Rule’s requirements as it relates to their

particular systems and industry, as well as providing training to staff regarding the

new rule’s requirements. Finding cyber professionals who can assist with training

and have an understanding of the industry will also cause undue potential costs.

      19.    WARWS has also consulted with its members to discuss the likely costs

and burdens associated with the Cybersecurity Rule and Guidance. Some of our

system members have indicated that, while they have cybersecurity systems and

controls in place, those measures are focused on their particular operational needs,

and do not perfectly align with EPA’s 36-point checklist of cybersecurity controls,


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including the 16 control identified by EPA as “potential significant deficiencies” if

they are not in place. Those members indicate that they will need to expend money

and labor hours to fully understand any perceived discrepancies and implement the

listed controls they currently lack so that they can avoid a finding of significant

deficiency during their next sanitary survey.

      20.    Other members have indicated the need to conduct additional

cybersecurity assessments and audits on top of the prior assessments they have

voluntarily conducted, or conducted pursuant to the AWIA, to determine the extent

to which their existing cybersecurity systems conform to EPA’s checklist, including

for the 16 potential significant deficiencies. These assessments and audits can be

costly and time-consuming, which is likely to be the case with respect to the

Cybersecurity Rule and the Cybersecurity Guidance, given the number of

cybersecurity controls the Agency has identified. Moreover, cybersecurity

assessments do not always produce actionable recommendations unless the

cybersecurity professionals conducting the assessments have a firm grasp of the

operations of PWSs.

      21.    Still other members, especially those with limited budgets, have voiced

concerns with finding qualified, experienced, yet affordable cybersecurity

professionals who can provide clear and actionable recommendations as to how to

update their cybersecurity systems. The difficulty in finding, and the cost in hiring,


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competent cybersecurity professionals to timely address deficiencies will likely

become worse, given the increase in demand for such professionals brought on by

the Cybersecurity Rule.

         22.      Lastly, there is the concern that any cybersecurity-related significant

deficiencies recorded during a sanitary survey must be included in a system’s

“consumer confidence report,” and thus made publicly available to its customers.

Public identification of potential cybersecurity-related deficiencies could make a

PWS a potential target for a cyberattack that disrupts service or threatens water

quality. Further, there is concern that cybersecurity-related records submitted to EPA

Region 8 could be subject to the Freedom of Information Act, eliminating a system’s

control over those sensitive documents and increasing the risk of cyberattack, as was

the result of the earlier attempts in the early 2,000’s with vulnerability assessments

and emergency response plans. It is our understanding that that was the impetus for

not      having     AWIA-required      assessments   or   emergency     response   plans

communicated in writing to the Agency, just acknowledgement of completion.

Sanitary surveys, by rule, are public documents.

         23.      WARWS and its members will not incur the above-described costs and

burdens associated with the Cybersecurity Rule if the rule is found unlawful and set

aside.




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      24.    Because EPA did not provide an APA notice and comment period for

the Cybersecurity Rule prior to finalizing the rule, WARWS was unable to use the

public comment period as an avenue to express its views and concerns (including

through NRWA) and ensure that the Agency would take them into consideration

before finalizing this rule.

      25.    Because EPA did not provide an APA notice and comment period for

the Cybersecurity Rule prior to finalizing the rule, WARWS did not have advanced

notice about the new requirements in the Cybersecurity Rule and the Cybersecurity

Guidance and was therefore not able to engage with EPA Region 8 and WARWS

members in advance of the rule being finalized to help ensure that WARWS

members were/are prepared for the new requirements.

      26.    If EPA is required to instead promulgate cybersecurity requirements for

public water systems through the APA’s notice and comment rulemaking process,

then WARWS will have the opportunity to participate in the rulemaking process and

provide specific feedback on EPA’s proposed requirements and proposed

implementation timeline. WARWS will also have the opportunity to prepare its

members for the new requirements before they become effective. WARWS intends

to participate in any such future rulemaking process directly or through NRWA.

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                            Exhibit D




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                      IN THE UNITED STATES COURT OF APPEALS
                              FOR THE EIGHTH CIRCUIT

       STATE OF MISSOURI, STATE OF
       ARKANSAS, and STATE OF IOWA,

                                Petitioners,

                     v.

       MICHAEL REGAN, Administrator,
       U.S. Environmental Protection                 No. 23-1787
       Agency, UNITED STATES
       ENVIRONMENTAL PROTECTION
       AGENCY, and RADHIKA FOX,
       Assistant Administrator, U.S.
       Environmental Protection Agency,

                                Respondents



                          DECLARATION OF ROBERT J. WALTERS

      I, Robert J. Walters, swear or affirm under penalty of perjury, the following:

      1.      I base this Declaration upon my first-hand knowledge of the matters described

herein. I am over the age of 21 and am competent to make this Declaration.

      2.      I am the Vice President, Construction & Engineering and Operator in

Responsible Charge (“ORC”) of Davidson Water, Inc. (“Davidson Water”). I have served

in this role since 2013. Previously, and since 1985, I held the position of Assistant Manager

of Davidson Water.




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       3.      In addition to my roles at Davidson Water, I have been appointed by the

Governor of North Carolina to serve on the North Carolina Water Operator Certification

Board, where I served for eight years as an appointee and for three years as Chairman.

       4.      I am certified as a Class A water distribution operator and a cross-connection

control operator.

       5.      Davidson Water is a private, non-profit cooperative water utility

headquartered in Lexington, NC that has 66,000 connections, 1,900 miles of water line,

and serves drinking water to a population of about 150,000 in seven different cities or

towns and across three counties in the middle of North Carolina.

       6.      Davidson Water is a member of the American Water Works Association

(“AWWA”) and the National Rural Water Association (“NRWA”) through its membership

in the North Carolina Rural Water Association. Davidson Water relies on AWWA and

NRWA to help advocate for its interests, including in rulemakings and in cases such as this

one.

       7.      As Vice President, Construction & Engineering and ORC, I oversee all

activities related to drinking water distribution for the Davidson Water service area

including those involving compliance with the federal Safe Drinking Water Act (“SDWA”)

as well as state law. As a result, I follow new developments in the law, including changes

issued by either the U.S. Environmental Protection Agency (“EPA”) or the State of North

Carolina’s Department of Environmental Quality (“NC DEQ”). I also provide feedback to



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the federal and state government, including through AWWA and NRWA to ensure that

Davidson Water’s concerns are raised and its interests are protected.

      8.      As part of my responsibilities, I am involved in Davidson Water’s decision-

making about how to prepare for sanitary surveys and our cybersecurity practices. As Vice

President, Construction & Engineering and ORC, I am also actively involved in other

aspects of Davidson Water’s operations, including financial, utility management, field

operations, and construction.

      9.      I am familiar with EPA’s March 3, 2023, memorandum entitled “Addressing

PWS Cybersecurity in Sanitary Surveys or an Alternative Process” (“Cybersecurity Rule”),

available at https://tinyurl.com/mswu6xch, which revises EPA’s interpretations of its

SDWA regulations regarding state-conducted sanitary surveys of public water systems

(“PWSs”) to include evaluations of a system’s cybersecurity measures as part of a survey.

I know that the Cybersecurity Rule requires that if a state identifies a cybersecurity-related

“significant deficiency”—i.e., a defect, malfunction, failure, or similar deficiency that has

caused or could cause introduction of contamination to drinking water distributed to

customers—as part of a sanitary survey, it must require the PWS to address the significant

deficiency.

      10.     I am also familiar with EPA guidance accompanying the Cybersecurity Rule,

entitled “Evaluating Cybersecurity During Public Water System Sanitary Surveys”

(“Cybersecurity Guidance”), available at https://tinyurl.com/bdfhfrdj. I am aware that



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Cybersecurity Guidance, at Appendix A, provides a checklist of thirty-six cybersecurity

controls addressing things like account security, device security, governance and training,

vulnerability management, supply chains and third parties, and response and recovery.

      11.    I also know that section 7.0 of the Cybersecurity Guidance tells utilities that

if they are missing a particular cybersecurity control contained in the checklist, it is a

potential significant deficiency. These control measures include, as examples, maintaining

an updated inventory of operational technology (“OT”) and information technology (“IT”)

assets, maintaining configuration documentation of those assets, maintaining updated

documentation describing network topology (i.e., connections between all network

components) across its OT and IT networks, and including cybersecurity considerations in

evaluating vendors and/or service providers.

      12.    I understand that the NC DEQ, through the Public Water Supply Section

(“PWSS”), administers the SDWA and as part of those responsibilities conducts a sanitary

survey our public water system every 3 years. As a public water system, Davidson Water

is already subject to periodic sanitary surveys conducted by NC DEQ’s PWSS and will

continue to be subject to future sanitary surveys.

      13.    As I understand it, the Cybersecurity Rule and Guidance were made

immediately effective, meaning that their requirements apply to Davidson Water now and

that our cybersecurity practices will be reviewed during the next periodic sanitary survey.




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      14.    Before NC DEQ’s PWSS conducts a sanitary survey, Davidson Water takes

steps to avoid a finding of a significant deficiency. We try to avoid any significant

deficiencies because they can be costly to correct and they can undermine the confidence

of our customers in our practices because the findings are made public. A finding of a

significant deficiency causes financial and reputational harm to Davidson Water and

community loss of confidence.

      15.    As far as I am aware, NC DEQ’s PWSS has not previously conducted

cybersecurity evaluations as part of its sanitary surveys of Davidson Water because

cybersecurity evaluations have not been required under EPA’s regulations for sanitary

surveys. As a result, Davidson Water has not previously faced the risk of a “significant

deficiency” as a result of any of its cybersecurity practices.

      16.    Davidson Water is directly subject to our state’s implementation of the new

cybersecurity evaluation requirements under EPA’s Cybersecurity Rule and Guidance.

Because the Cybersecurity Rule says that “states must do the following to comply with the

requirement to conduct a ‘sanitary survey’” and if “the state determines that a cybersecurity

deficiency identified during a sanitary survey is significant, then the state must use its

authority to require the public water system to address the significant deficiency” we

understand that the Cybersecurity Rule and Guidance applies directly to us.




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      17.    Davidson Water uses an industrial control system (“ICS”) or other operational

technology as part of the equipment or operation of some required components of the

sanitary surveys.


      18.    While Davidson Water does have measures in place to address cybersecurity

concerns, those measures do not align with all of the specific requirements outlined in

EPA’s Cybersecurity Guidance. Davidson Water’s current cybersecurity measures are

instead tailored to its specific operational needs and to complying with America’s Water

Infrastructure Act of 2018 (“AWIA”). Davidson Water has recently undertaken a detailed

AWIA risk and resiliency assessment of its cybersecurity practices, which included the use

of a consultant. I would estimate that our costs of complying with the AWIA requirements

will be between $800,000-900,000.

      19.    Because the Cybersecurity Rule says that it “significantly builds upon the

public health protections in AWIA” we understand that the Cybersecurity Rule has

requirements beyond what is required by AWIA, and that we will therefore have to

undertake additional measures beyond what we have already done to comply with AWIA.

      20.    Because the Cybersecurity Rule uses mandatory language, we do not believe

we have any option other than to implement the requirements in the Cybersecurity

Guidance, including the thirty-six items listed by EPA as potential significant deficiencies

in section 7.0 of the Guidance (“Cybersecurity Checklist”). We will need to spend staff

and potentially consultant time to evaluate how to incorporate these requirements into


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operations and our annual budget and to understand how they differ from our existing

practices or our AWIA resiliency risk assessment plans.

      21.    Some of the items listed in EPA’s Cybersecurity Checklist of “significant

deficiencies” will take meaningful lead time to implement, particularly given how we

budget. As a result, Davidson Water cannot afford to wait and see whether NC DEQ’s

PWSS adopts this entire Cybersecurity Checklist before beginning to take steps to

implement the items identified as potential significant deficiencies. Instead, Davidson

Water must begin spending money and time now to become familiar with the new

requirements and act to avoid EPA’s list of significant deficiencies.

      22.    Davidson Water has already spent time, money, and energy to review the new

requirements contained in EPA’s Cybersecurity Rule and Guidance, and will have to

expend additional staff time, and likely the time of existing or new IT consultants, to

develop a plan to implement the EPA’s new requirements.

      23.    Based on preliminary look at our existing cybersecurity controls as compared

to those listed in the Cybersecurity Checklist, there are at least a few controls that Davidson

Water does not presently have in place and/or that will pose operational challenges on

Davidson Water.

      24.    For example, we have already worked with existing IT staff to evaluate

compliance with EPA’s Cybersecurity Rule. Through these initial conversations, we have

determined that several of the thirty-six items on EPA’s checklist, including items



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identified by EPA as potential significant deficiencies, will be difficult for us to implement,

including prohibiting the connection of unauthorized hardware such as USB devices, and

adhering to the vague encryption recommendations, which may not align with our current

encryption practices.

      25.     Because EPA’s Cybersecurity Rule and Guidance tell states to look for

particular cybersecurity controls, including those highlighted above, and identifies those

controls as potential “significant deficiencies,” see Cybersecurity Guidance, at 11–14,

Davidson Water will need to changes its operations and potentially make capital

investments to change existing cybersecurity controls and implement new controls before

Davidson Water’s next sanitary survey to avoid any potential finding of significant

deficiency.

      26.     Davidson Water estimates that in order to meet the specific requirements

provided by the Cybersecurity Rule and Guidance, its cybersecurity and information

technology budget will need to be increased.

      27.     Because the Cybersecurity Rule was made immediately effective, Davidson

Water did not have any notice or time to prepare for the new requirements or to forecast

the associated costs into future budgeting plans, which will create additional

implementation challenges for Davidson Water.

      28.     Because Davidson Water is a private non-profit co-op, additional costs like

those stemming from the Cybersecurity Rule are passed on to our members in the form of



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higher rates. Because the Cybersecurity Rule was made immediately effective, Davidson

Water did not have any notice or time to prepare for the new requirements or to forecast

the associated costs into future budgeting plans, and we were unable to make smaller

incremental increases to our rates or otherwise communicate the changes to our customers,

which harms our relationship with those customers.

      29.    If NC DEQ’s PWSS requires additional, more restrictive, or different

cybersecurity controls as a result of EPA’s Cybersecurity Rule and Guidance, we will

likely need to incur additional internal labor, contractor, and/or capital costs. And given

the lead time necessary to implement some cybersecurity measures, Davidson Water will

likely need to act early to assess and update its cybersecurity controls and systems prior to

its next sanitary survey, rather than wait for the state to implement these different

requirements.

      30.    In order to prepare for sanitary surveys, Davidson Water spends time and

money assembling documents that will be reviewed as part of the survey.

      31.    For future sanitary surveys under the Cybersecurity Rule, Davidson Water

will incur additional monetary and internal labor costs to assemble a complex set of

documents and records to demonstrate that we comply with the new Cybersecurity Rule

requirements. Because Davidson Water has not previously needed to do this work prior to

a sanitary survey, the necessary document and data collection and authentication processes




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are not presently in place and would need to be created from scratch, requiring Davidson

Water to incur additional monetary and internal labor costs.

      32.    Davidson Water, which operates with 85 total employees, does not presently

have on its payroll a cybersecurity expert to manage and review the type of cybersecurity

operations in EPA’s rule. In order to evaluate existing cybersecurity systems and propose,

implement, and maintain new and revised cybersecurity controls and systems that align

with the new Cybersecurity Rule requirements, Davidson Water will likely need to spend

money to either hire a cybersecurity expert or hire a contractor to do similar work. The

demand for cybersecurity experts will make it difficult for Davidson Water to hire one

without changes to its budget.

      33.    In the meantime, the burden of evaluating EPA’s Cybersecurity Rule will fall

on Davidson’s Water existing IT staff. By addition these additional duties to our existing

staff, the Cybersecurity Rule harms our ability to focus our staff time and resources on the

IT and cybersecurity concerns that we find most important to our operations.

      34.    The Cybersecurity Rule lays out three options for States in including

cybersecurity in public water sytem sanitary surveys. Regardless of whether the State of

North Carolina (1) requires self-assessments or third-party assessments; (2) evaluates

cybersecurity practices directly in sanitary surveys; or (3) implements alternative State

programs to assess cybersecurity gaps (which must be at least as stringent as a sanitary

survey), any of these approaches will require Davidson Water to expend time, money, and



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resources in order to assess or prepare in advance of a sanitary survey or alternative State

program assessment. Davidson Water will also have to expend additional time and

resources to review the EPA technical assistance described in the Cybersecurity Rule and

Guidance.

      35.    Davidson Water, and ultimately its customers, will face the above-described

costs unless the Cybersecurity Rule is found unlawful and set aside.

      36.    Additionally, while the Cybersecurity Rule proposes to allow states the ability

to protect as confidential information about cybersecurity-related significant deficiencies

recorded as part of a sanitary survey, Davidson Water has concerns with an approach that

puts information about its potential cybersecurity gaps in a centralized database outside of

Davidson Water’s control.

      37.    Under EPA regulations, a community water system, like Davidson Water

must list in its annual “consumer confidence report” a significant deficiency identified

during a sanitary survey if the deficiency is not corrected to the state’s satisfaction prior to

the next sanitary survey. Because the Cybersecurity Rule states that cybersecurity gaps are

potential significant deficiencies, such gaps would need to be publicly identified in our

annual consumer confidence report, making our system vulnerable to hackers or similar

bad actors who can exploit potential cybersecurity gaps.

      38.    Even if NC DEQ’s PWSS can confidentially protect significant deficiencies

or other cybersecurity information, hackers or similar bad actors may still target the state’s



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database to get information regarding potential cybersecurity vulnerabilities across the

state. By centralizing potentially harmful information about a system’s vulnerability, the

Cybersecurity Rule therefore places Davidson Water at greater risk of a cyberattack. We

are also concerned that EPA’s regulations may require NC DEQ’s PWSS to turn over

information about our sanitary surveys to EPA, which would create even more risk that it

becomes disclosed.

      39.    By treating the Cybersecurity Rule as an interpretative rule, EPA has avoided

the procedures in the Administrative Procedure Act (“APA”) that would have provided

Davidson Water with an opportunity to raise these concerns with the requirements through

the notice and comment process. If the Cybersecurity Rule and Guidance had been subject

to notice and comment pursuant to the APA, Davidson Water either independently or

through AWWA or NRWA would have raised its concerns including those described

above, for EPA’s consideration.

      40.    As a water utility subject to the SDWA, Davidson Water has a concrete

interest in ensuring that regulatory obligations imposed on it are fair, effective, and cost-

efficient, and believes that it has been deprived of a fair and transparent regulatory process

to protect its interests and provide EPA with industry insight and experience.

      41.    If EPA had proposed the Cybersecurity Rule through the normal APA

procedures, Davidson Water would have had more advanced notice of the likely

requirements in the rule, which would have assisted Davidson Water in budgeting and



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planning accordingly. In addition, because most regulations issued under APA procedures

allow some time before going into effect, Davidson Water would have had additional time

to prepare for the implementation of the requirements.

         42.   Should the Cybersecurity Rule be held unlawful and set aside, pending, at a

minimum, EPA’s compliance with notice and comment procedures required by the APA,

Davidson Water, a member of AWWA and NRWA, will not face the expected costs

associated with complying or failing to comply with EPA’s modified regulatory

requirements under the Cybersecurity Rule.

         43.   While Davidson Water will continue to implement cybersecurity measures, it

will not undertake all of the specific items identified by EPA’s Cybersecurity Guidance as

potential “significant deficiencies” if the Cybersecurity Rule be held unlawful and set

aside.

                                                ***




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      I declare under penalty of perjury under the laws of the United States of

America that the foregoing is true and correct.

      Executed on this 12th day of May 2023.




                                        Robert J. Walters




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                            Exhibit E




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              IN THE UNITED STATES COURT OF APPEALS
                      FOR THE EIGHTH CIRCUIT

STATE OF MISSOURI, STATE OF
ARKANSAS, and STATE OF IOWA,

                         Petitioners,

             v.

MICHAEL REGAN, Administrator,
U.S. Environmental Protection                 No. 23-1787
Agency, UNITED STATES
ENVIRONMENTAL PROTECTION
AGENCY, and RADHIKA FOX,
Assistant Administrator, U.S.
Environmental Protection Agency,

                         Respondents



                    DECLARATION OF CYNTHIA LANE

I, Cynthia Lane, swear or affirm under penalty of perjury, the following:

      1.     I base this Declaration upon my first-hand knowledge of the matters

described herein. I am over the age of 21 and am competent to make this Declaration.

      2.     I am General Manager of the Platte Canyon Water and Sanitation

District (“Platte Canyon”). I have served in this role since 2021. Previously, I held

the position of Assistant Manager at Platte Canyon for four years. Prior to joining

Platte Canyon, I held the positions of Director of Engineering and Technical

Services, Senior Manager of Technical Programs, and Regulatory Engineer with the




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American Water Works Association (“AWWA”) for about 5 years, 1 year, and 3

years, respectively.

      3.     I have a Bachelor of Science degree in Civil Engineering from

Pennsylvania State University, which I received in 1999, and a Master of

Environmental Engineering from Johns Hopkins University, which I received in

2003. I am also a registered professional engineer in the State of Maryland.

      4.     Platte Canyon is a quasi-municipal corporation headquartered in

Littleton, Colorado, and governed pursuant to provisions of the Colorado Special

District Act. Through intergovernmental agreements with the Denver Water Board

and the City of Littleton, Platte Canyon provides drinking water distribution and

wastewater collection services, respectively, for approximately 6,900 residences and

business in eastern Jefferson and western Arapahoe Counties, Colorado. Platte

Canyon owns and maintains those water distribution and wastewater collection

systems.

      5.     Platte Canyon is a member of AWWA and relies on AWWA to help

represent its interests, including in EPA rulemakings and in cases such as this one.

      6.     In my capacity as General Manager, I am required to oversee all

activities related to drinking water distribution for Platte Canyon’s service area

including those involving compliance with the federal Safe Drinking Water Act

(“SDWA”) as well as state law. As a result, I follow new developments in Platte

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Canyon’s compliance obligations issued by either the U.S. Environmental Protection

Agency (“EPA”) or the State of Colorado. I also provide feedback to these entities,

including through AWWA, to ensure that Platte Canyon’s concerns are raised and

its interests are protected.

       7.     As part of my responsibilities, I am involved in Platte Canyon’s

decision-making about how to prepare for sanitary surveys and our cybersecurity

practices. As General Manager, I am also actively involved in other aspects of Platte

Canyon’s operations, including financial, board management, field operations,

customer communication, intergovernmental relationships, and construction.

       8.     I am familiar with EPA’s March 3, 2023, memorandum entitled

“Addressing PWS Cybersecurity in Sanitary Surveys or an Alternative Process”

(“Cybersecurity Rule”), available at https://tinyurl.com/mswu6xch, which revises

EPA’s interpretations of its SDWA regulations regarding state-conducted sanitary

surveys of public water systems (“PWSs”) to include evaluations of a system’s

cybersecurity measures as part of a survey. I am aware that the Cybersecurity Rule

requires that if a state identifies a cybersecurity-related “significant deficiency”—

i.e., a defect, malfunction, failure, or similar deficiency that has caused or could

cause introduction of contamination to drinking water distributed to customers—as

part of a sanitary survey, it must require the PWS to address the significant

deficiency.

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      9.     I am also familiar with the EPA guidance document accompanying the

Cybersecurity Rule, entitled “Evaluating Cybersecurity During Public Water System

Sanitary Surveys” (“Cybersecurity Guidance” or “Guidance”), available at

https://tinyurl.com/bdfhfrdj. I am aware that Cybersecurity Guidance, at Appendix

A, provides a checklist of thirty-six cybersecurity controls addressing general areas

of concern including account security, device security, governance and training,

vulnerability management, supply chains and third parties, and response and

recovery.

      10.    I am also aware that section 7.0 of the Cybersecurity Guidance provides

that the lack of or inadequacy of a particular cybersecurity control contained in the

checklist is a potential significant deficiency. These control measures include, as

examples, the PWS maintaining an updated inventory of operational technology

(“OT”) and information technology (“IT”) assets, maintaining configuration

documentation of those assets, maintaining updated documentation describing

network topology (i.e., connections between all network components) across its OT

and IT networks, and including cybersecurity considerations as part of its evaluative

process for vendors and/or service providers.

      11.    I understand that the State of Colorado administers the SDWA within

its borders and as part of those responsibilities the State of Colorado conducts a

sanitary survey of our PWS every 3 years. As a PWS, Platte Canyon is already

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subject to periodic sanitary surveys conducted by the State of Colorado and will

continue to be subject to future sanitary surveys.

      12.    Platte Canyon uses an industrial control system (“ICS”) or other

operational technology as part of the equipment or operation of a required

component of the sanitary surveys.

      13.    As I understand it, the Cybersecurity Rule and Guidance were made

immediately effective, meaning that their requirements apply to Platte Canyon now

and that our cybersecurity practices will be reviewed during the next periodic

sanitary survey.

      14.    Platte Canyon takes steps in advance of the sanitary surveys to avoid a

finding that there is a significant deficiency in any of its practices. We seek to avoid

any significant deficiencies because they can be costly to correct and they can

undermine the confidence of our customers in our practices because the findings are

made public. A finding of a significant deficiency therefore causes both financial

and reputational harm to Platte Canyon.

      15.    As far as I am aware, the State has not previously conducted

cybersecurity evaluations as part of its sanitary surveys of Platte Canyon because

such evaluations have not been required under EPA’s regulations. As a result, Platte

Canyon has not previously faced the risk of a “significant deficiency” as a result of

any of its cybersecurity practices.

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      16.    Platte Canyon is directly subject to Colorado’s implementation of the

new cybersecurity evaluation requirements under EPA’s Cybersecurity Rule and

Guidance. Because the Cybersecurity Rule states that “states must do the following

to comply with the requirement to conduct a ‘sanitary survey’” and “[i]f the state

determines that a cybersecurity deficiency identified during a sanitary survey is

significant, then the state must use its authority to require the PWS to address the

significant deficiency” we understand that the Cybersecurity Rule and Guidance

apply directly to us.

      17.    While Platte Canyon does have measures in place to address

cybersecurity concerns, those measures do not align with all of the specific

requirements outlined in EPA’s Cybersecurity Guidance. Platte Canyon’s current

cybersecurity measures are instead tailored to its specific operational needs.

      18.    Because the Cybersecurity Rule uses mandatory language, we do not

believe we have any option other than to implement the requirements in the

Cybersecurity Guidance, including the thirty-six items listed by EPA as potential

significant deficiencies in section 7.0 of the Guidance (“Cybersecurity Checklist”).

We are already undertaking discussions on how to best implement these

requirements and how to adjust our budget and operations to do so.

      19.    Some of the items listed in EPA’s Cybersecurity Checklist of

“significant deficiencies” will take meaningful lead time to implement, particularly

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given the nature of our budgeting. As a result, Platte Canyon cannot afford to wait

and see whether the State of Colorado adopts this entire Cybersecurity Checklist

before beginning to take steps to implement the items identified as potential

significant deficiencies. Instead, Platte Canyon must begin expending resources now

to familiarize itself with the new requirements and to implement measures to avoid

EPA’s list of significant deficiencies.

      20.    Platte Canyon has already expended time, money, and human capital to

review the new requirements contained in EPA’s Cybersecurity Rule and Guidance,

and are in the process of developing a plan to implement the requirements contained

therein. Doing so requires the involvement of four of Platte Canyon’s staff plus the

engagement of an external IT consultant. None of these activities were included in

the 2023 budget. As a smaller utility, these types of activities can have a significant

financial impact as Platte Canyon’s annual IT project budget is approximately

$14,000. Platte Canyon estimates that $4,500 has already been expended to evaluate

the new requirements and an additional $15,000 of staff time, consultant fees, and

software implementation will be expended to comply. As the 2024 budget

development process is about to commence, it is imperative the total cost of

compliance is known now so those values can be budgeted for in future years. A

budget overrun, as Platte Canyon is likely to experience this year due to these

unplanned compliance expenses, requires public notification and board approval of

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a supplemental budget appropriation (per state statute). Platte Canyon has not

approved any supplemental budget appropriations in recent years.

      21.     Based on a preliminary examination of our existing cybersecurity

controls as compared to those listed in the Cybersecurity Checklist, there are at least

a few controls that Platte Canyon does not presently have in place. For example,

Platte Canyon does not maintain an updated inventory of all OT and IT assets, nor

an updated configuration of critical OT and IT assets, nor an updated documentation

describing network topology across its OT and IT networks. For another, Platte

Canyon does not actively integrate cybersecurity considerations as part of its

evaluation processes for procurement of OT assets and services. Any further, more

intensive audit of Platte Canyon’s cybersecurity systems to determine conformance

or nonconformance with the Cybersecurity Rule will likely incur additional internal

labor and/or contractor costs.

      22.     Because EPA’s Cybersecurity Rule and Guidance instructs states to

look for particular cybersecurity controls, including those highlighted above, and

identifies those controls as potential “significant deficiencies,” see Cybersecurity

Guidance, at 11–14, Platte Canyon will need to make capital investments to enhance

existing cybersecurity controls and implement new ones in anticipation of Platte

Canyon’s next sanitary survey to avoid any potential finding of significant

deficiency.

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      23.    For example, as noted above, EPA’s Cybersecurity Guidance identifies

as “potential significant deficiencies”: (1) “PWS does not include cybersecurity

requirements and questions in its procurement documents for OT assets and services,

which are then evaluated as a part of vendor selection” and (2) “PWS does not

stipulate in its procurement documents that vendors and/or service providers shall

notify the PWS of security incidents and confirmed vulnerabilities in a timely

manner.” These requirements, at a minimum, require Platte Canyon to expend time

and resources reviewing its current procurement contracts and could require Platte

Canyon to attempt to renegotiate the terms of existing procurement contracts.

      24.    Platte Canyon estimates that in order to meet the specific requirements

provided by the Cybersecurity Rule and Guidance, its cybersecurity and information

technology budget will need to be doubled, at the very least. For a relatively small

PWS like Platte Canyon providing service to less than 7,000 residences and

businesses, such an increase in cost would be significant to our budget.

      25.    Because the Cybersecurity Rule was made immediately effective,

Platte Canyon did not have any notice or time to prepare for the new requirements

or to forecast the associated costs into future budgeting plans, which will create

additional implementation challenges for Platte Canyon.

      26.    In many instances, additional costs like those stemming from the

Cybersecurity Rule are passed on to our customers in the form of higher rates.

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Because the Cybersecurity Rule was made immediately effective, we were unable

to make smaller incremental increases to our rates this year, or otherwise

communicate the changes to our customers, which harms our relationship with those

customers. Also, if Platte Canyon has to request a supplemental budget

appropriation, this likely harms our reputation as it could raise concerns among our

customers that our budget development process is flawed.

      27.    If Colorado requires additional, more restrictive, or differing

cybersecurity controls as a result of EPA’s Cybersecurity Rule and Guidance,

additional internal labor, contractor, and/or capital costs will likely be required. And

given the lead time necessary to implement some cybersecurity measures, Platte

Canyon will likely need to be proactive in assessing and updating its cybersecurity

controls and systems prior to its next sanitary survey, rather than take a passive

approach.

      28.    In order to prepare for sanitary surveys, Platte Canyon spends time and

money assembling documents that will be reviewed as part of the survey.

      29.    For future sanitary surveys under the Cybersecurity Rule, Platte

Canyon will likely incur significant additional monetary and internal labor costs to

assemble a complex set of documents and records to demonstrate its compliance

with the applicable cybersecurity review program and to allow the State of Colorado

to authenticate Platte Canyon’s compliance. Because Platte Canyon has not

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previously needed to make such preparations prior to a sanitary survey, the necessary

document and data collection and authentication processes are not presently in place

and would need to be created from scratch, requiring Platte Canyon to incur

additional monetary and internal labor costs.

      30.    Platte Canyon, which operates with fifteen administrative and

operations personnel, does not presently have on its payroll a dedicated

cybersecurity professional with the requisite qualifications and experience to

manage and review the type of cybersecurity operations contemplated under EPA’s

rule. Thus, in order to evaluate existing cybersecurity systems and propose,

implement, and maintain new and revised cybersecurity controls and systems that

align with the new Cybersecurity Rule requirements, Platte Canyon will likely need

to expend money to either hire a dedicated cybersecurity professional or contract

with a third party to perform similar cybersecurity services. The demand for

qualified personnel capable of performing the work required by the Cybersecurity

Rule will make it difficult for Platte Canyon to hire a dedicated employee for this

role without changes to its budget.

      31.    The Cybersecurity Rule lays out three distinct approaches that states

should take to include cybersecurity in PWS sanitary surveys. Regardless of whether

the State of Colorado (1) requires self-assessments or third-party assessments; (2)

evaluates cybersecurity practices directly in sanitary surveys; or (3) implements

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alternative state programs to assess cybersecurity gaps (which must be at least as

stringent as a sanitary survey), any of these approaches will require Platte Canyon

to expend time, money, and resources in order to undertake the assessment or prepare

in advance of a sanitary survey or alternative state program assessment. Platte

Canyon will also have to expend additional time and resources to review the EPA

technical assistance described in the Cybersecurity Rule and Guidance.

      32.    Platte Canyon, and ultimately its customers, will face the above-

described costs unless the Cybersecurity Rule is found unlawful and set aside.

      33.    Additionally, while the Cybersecurity Rule proposes to allow states the

ability to protect as confidential information about cybersecurity-related significant

deficiencies recorded as part of a sanitary survey, Platte Canyon has concerns with

an approach that consolidates information about its potential cybersecurity gaps in a

centralized database outside of Platte Canyon’s control.

      34.    Under EPA regulations, a community water system, like Platte Canyon,

must disclose in its annual “consumer confidence report” a significant deficiency

identified during a sanitary survey if the deficiency is not corrected to the state’s

satisfaction prior to the next sanitary survey. Because the Cybersecurity Rule

categorizes cybersecurity gaps as potential significant deficiencies, such gaps would

need to be publicly identified in our annual consumer confidence report, making our




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system vulnerable to targeting by hackers or similar bad actors seeking to exploit

potential cybersecurity gaps.

      35.    Even if Colorado is permitted to make deficiencies or other information

that it collects related to our cybersecurity practices confidential, there is still the

acute risk that a hacker or similar bad actor will target the state’s database to obtain

information regarding potential cybersecurity vulnerabilities across the state’s

jurisdiction. By centralizing potentially harmful information about a system’s

vulnerability, the Cybersecurity Rule therefore places Platte Canyon at greater risk

of a cyberattack.

      36.    Platte Canyon has discussed the Cybersecurity Rule with other PWSs,

who have shared similar concerns with the rule and associated guidance.

      37.    By treating the Cybersecurity Rule as an interpretative rule, EPA has

avoided the procedures in the Administrative Procedure Act (“APA”) that would

have provided Platte Canyon with an opportunity to raise these concerns with the

requirements through the APA’s public notice and comment provisions. If the

Cybersecurity Rule and Guidance had been subject to notice and comment pursuant

to the APA, Platte Canyon, either independently or through the AWWA, would have

raised its concerns, including those described herein, for EPA’s consideration.

      38.    As a regulated entity under the SDWA, Platte Canyon has a concrete

interest in ensuring that regulatory obligations imposed on it are fair, effective, and

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cost-efficient, and believes that it has been deprived of a fair and transparent

regulatory process to protect its interests and provide EPA with industry insight and

experience.

      39.     If EPA had proposed the Cybersecurity Rule through the normal APA

procedures, Platte Canyon would have had more advance notice of the likely

requirements in the rule, which would have assisted Platte Canyon in budgeting and

planning accordingly. In addition, most regulations issued under APA procedures

provide for a period of time before implementation, which would have afforded

Platte Canyon additional time to prepare for the implementation of the requirements.

      40.     I am generally familiar with the petition for review filed by the States

of Missouri, Arkansas, and Iowa (“Petitioners”), No. 23-1787 (8th Cir. Apr. 17,

2023), seeking to review and set aside the Cybersecurity Rule.

      41.     Should the Cybersecurity Rule be held unlawful and set aside, pending,

at a minimum, EPA’s compliance with notice and comment procedures required by

the APA, Platte Canyon, a member of AWWA, will not be subjected to the expected

costs associated with complying or failing to comply with EPA’s modified

regulatory requirements under the Cybersecurity Rule.

      42.     While Platte Canyon will continue to implement cybersecurity

measures, it will not undertake all of the specific items identified by EPA’s




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Cybersecurity Guidance as potential “significant deficiencies” if the Cybersecurity

Rule is held unlawful and set aside.

                                         ***




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      I declare under penalty of perjury under the laws of the United States of

America that the foregoing is true and correct.

      Executed on this 10th day of May 2023.




                                         Cynthia Lane
                                         General Manager
                                         Platte Canyon Water and Sanitation District




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                            Exhibit F




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               IN THE UNITED STATES COURT OF APPEALS
                       FOR THE EIGHTH CIRCUIT

 STATE OF MISSOURI, STATE OF
 ARKANSAS, and STATE OF IOWA,

                         Petitioners,
              V.

 MICHAEL REGAN, Administrator,
 U.S. Environmental Protection                   No. 23-1787
 Agency, UNITED STATES
 ENVIRONMENTAL PROTECTION
 AGENCY, and RADHIKA FOX,
 Assistant Administrator, U.S.
 Environmental Protection Agency,

                         Respondents



               DECLARATION OF FRANK DENNIS OFFUTT
I, Frank Dennis Offutt, swear or affirm under penalty of perjury, the following:
       1.    I base this Declaration upon my first-hand knowledge of the matters

described herein. I am over the age of 21 and am competent to make this Declaration.

      2.     I am the Executive Director of Public Water Supply District # 4, Platte

County, Missouri ("Platte 4 Water"). I have served in this role since 2022.

Previously, I held the position of District Manager, Platte 4 Water, for 24 years.

      3.     I received my Bachelor of Science, Northwest Missouri State

University, 1978, Missouri Department of Natural Resources, Certified Operator, #




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5187, Class Band DS-III, 1998, and Past Director, Region III, Missouri Rural Water

Association, 2015 - 2018.

       4.     Platte 4 Water (MO1024478) is a headquartered in Platte City, MO and

serves water to businesses and 8,740 residents across a 39-mile square mile area in

central Platte County, MO.

       5.    Platte 4 Water is a member of National Rural Water Association

("NRWA" # 60438) and the Missouri Rural Water Association ("MRWA" #

308304).

      6.     In my capacity as Executive Director, I am required to oversee all

activities related to drinking water distribution for the Platte 4 Water service area

including those involving compliance with the federal Safe Drinking Water Act

("SDWA") as well as state law. As a result, I follow new developments in Platte 4

Water's compliance obligations issued by either the U.S. Environmental Protection

Agency ("EPA") or the State of Missouri's, Department of Natural Resources

("MDNR"). I also provide feedback to these entities through MRWA and NRWA,

to ensure that Platte 4 Water's concerns are raised and its interests are protected.

      7.     As part of my responsibilities, I am involved in Platte 4 Water's

decision-making about how to prepare for sanitary surveys and our cybersecurity

practices. As Executive Director, I am also actively involved in other aspects of




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Platte 4 Water's operations, including financial, board management, field

operations, and construction.

       8.     I am familiar with EPA's March 3, 2023, memorandum entitled

"Addressing PWS Cybersecurity in Sanitary Surveys or an Alternative Process"

("Cybersecurity Rule"), available at https://tinyurl.com/mswu6xch, which revises

EPA's interpretations of its SDWA regulations regarding state-conducted sanitary

surveys of public water systems ("PWSs") to include evaluations of a system's

cybersecurity measures as part of a survey. I am aware that the Cybersecurity Rule

requires that if a state identifies a cybersecurity-related "significant deficiency"-

i.e., a defect, malfunction, failure, or similar deficiency that has caused or could

cause introduction of contamination to drinking water distributed to customers-as

part of a sanitary survey, it must require the PWS to address the significant

deficiency.

      9.      I am also familiar with the EPA guidance document accompanying the

Cybersecurity Rule, entitled "Evaluating Cybersecurity during Public Water System

Sanitary      Surveys"       ("Cybersecurity           Guidance"),      available      at

https://tinyurl.com/bdfhfrdj. I am aware that Cybersecurity Guidance, at Appendix

A, provides a checklist of thirty-six cybersecurity controls addressing general areas

of concern including account security, device security, governance and training,




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vulnerability management, supply chains and third parties, and response and

recovery.

      10.    I am also aware that section 7.0 of the Cybersecurity Guidance provides

that the lack of or inadequacy of a particular cybersecurity control contained in the

checklist is a potential significant deficiency. These control measures include, as

examples, maintaining an updated inventory of operational technology ("OT") and

information technology ("IT") assets, maintaining configuration documentation of

those assets, maintaining updated documentation describing network topology (i.e.,

connections between all network components) across its OT and IT networks, and

including cybersecurity considerations as part of it evaluative process for vendors

and/or service providers. Platte 4 Water uses an industrial control system ("ICS") or

other operational technology as part of the equipment or operation of some required

components of the sanitary survey.

      11.   I understand that the MDNR administers the SDWA within Missouri

borders and as part of those responsibilities conducts a sanitary survey our PWS

every 3 years. As a PWS, Platte 4 Water is already subject to periodic sanitary

surveys conducted by MDNR and will continue to be subject to future sanitary

surveys.

      12.   As I understand it, the Cybersecurity Rule and Guidance were made

immediately effective, meaning that their requirements apply to Platte 4 Water now




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and that our cybersecurity practices will be reviewed during the next periodic

sanitary survey.

       13.   Platte 4 Water takes steps in advance of the sanitary surveys to avoid a

finding that there is a significant deficiency in any of its practices. We seek to avoid

any significant deficiencies because they can be costly to correct and they can

undermine the confidence of our customers in our practices because the findings are

made public. A finding of a significant deficiency therefore causes both financial

and reputational harm to Platte 4 Water.

       14.   As far as I am aware, MDNR has not previously conducted

cybersecurity evaluations as part of its sanitary surveys of Platte 4 Water because

such evaluations have not been required under EPA's regulations. As a result, Platte

4 Water has not previously faced the risk of a "significant deficiency" as a result of

any of its cybersecurity practices.

      15.    Platte 4 Water is directly subject to MDNR's implementation of the

new cybersecurity evaluation requirements under EPA's Cybersecurity Rule and

Guidance. Because the Cybersecurity Rule states that "states must do the following

to comply with the requirement to conduct a 'sanitary survey"' and if "[MDNR or]

the state determines that a cybersecurity deficiency identified during a sanitary

survey is significant, then the state must use its authority to require the PWS to



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address the significant deficiency" we understand that the Cybersecurity Rule and

Guidance applies directly to us.

       16.    While Platte 4 Water does have measures in place to address

cybersecurity concerns, those measures do not align with all of the specific

requirements outlined in EPA's Cybersecurity Guidance. Platte 4 Water's current

cybersecurity measures are instead tailored to its specific operational needs.

       17.    Because the Cybersecurity Rule uses mandatory language, we do not

believe we have any option other than to implement the requirements in the

Cybersecurity Guidance, including the thirty-six items listed by EPA as potential

significant deficiencies in section 7 .0 of the Guidance ("Cybersecurity Checklist").

We are already undertaking discussions on how to best implement these

requirements and how to adjust our budget and operations to do so.

       18.    Some of the items listed in EPA's Cybersecurity Checklist of

"significant deficiencies" will take meaningful lead time to implement, particularly

given the nature of our budgeting. As a result, Platte 4 Water cannot afford to wait

and see whether the State of Missouri adopts this entire Cybersecurity Checklist

before beginning to take steps to implement the items identified as potential

significant deficiencies. Instead, Platte 4 Water must begin expending resources now

to familiarize itself with the new requirements and to implement measures to avoid

EPA' s list of significant deficiencies.

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       19.    Platte 4 Water expended time, money, and human capital to review the

new requirements contained in EPA's Cybersecurity Rule and Guidance, and to

acquire an understanding for developing a plan to implement the requirements

contained therein. Platte 4 Water has made no previous preparation for the

Cybersecurity Rule. Platte 4 Water's courtesy review of the EPA Cybersecurity Rule

to date has accumulated 26 hours of staff time, and 4 hours of consultant time

identifying the scope of service requirements towards becoming compliant. No

training of Platte 4 Water's staff has occurred or is scheduled at time. There is no

funding identified in Platte 4 Water's FY2023 budget to address the district's

compliance with the Cybersecurity Rule. Funding to implement the Cybersecurity

Rule will require a new line item in Platte 4 Water's future budget(s). The FY2024

budget process is scheduled to begin, June 2023. A "perfected FY2024 budget

document is scheduled for public review" November 6, 2023. Platte 4 Water's Board

of Directors are scheduled to consider legislation to adopt the FY2024 Budget,

December 14, 2023. Platte 4 Water strives to be without deficiencies in all aspects

of material, technical, financial and managerial operations. At present no resources

are identified to fund and assure compliance with the Cybersecurity Rule.

      20.    Based on a preliminary examination of our existing cybersecurity

controls as compared to those listed in the Cybersecurity Checklist, there are at least

a few controls that Platte 4 Water does not presently have in place. For example, two

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primary areas requiring funding for Platte 4 Water to become compliant with the

EPA Cybersecurity Rule is training and additional staff. Due to the time constraint,

Platte 4 Water is unable to provide a final figure as to the funding required for the

district to become compliant with the Cybersecurity Rule.

      21.    Because EPA's Cybersecurity Rule and Guidance instruct states to look

for particular cybersecurity controls, including those stated previously, and identifies

those controls as potential "significant deficiencies," see Cybersecurity Guidance, at

11-14, Platte 4 Water will need to make capital investments to enhance existing

cybersecurity controls and implement new ones in anticipation of Platte 4 Water's

next sanitary survey to avoid any potential finding of significant deficiency.

      22.    Platte 4 Water estimates that in order to meet the specific requirements

provided by the Cybersecurity Rule and Guidance, its cybersecurity and information

technology budget will need to be increased [estimate of $25k - $ 40K].

      23.    Because the Cybersecurity Rule was made immediately effective,

Platte 4 Water did not have any notice or time to prepare for the new requirements

or to forecast the associated costs into future budgeting plans, which will create

additional implementation challenges for Platte 4 Water.

      24.    In many instances, additional costs like those stemming from the

Cybersecurity Rule are passed on to our customers in the form of higher rates.

Because the Cybersecurity Rule was made immediately effective, Platte 4 Water did


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not have any notice or time to prepare for the new requirements or to forecast the

associated costs into future budgeting plans, we were unable to make smaller

incremental increases to our rates or otherwise communicate the changes to our

customers, which harms our relationship with those customers.

       25.   If MDNR requires          additional,   more    restrictive,   or differing

cybersecurity controls as a result of EPA's Cybersecurity Rule and Guidance,

additional internal labor, contractor, and/or capital costs will likely be required. And

given the lead time necessary to implement some cybersecurity measures, Platte 4

Water will likely need to be proactive in assessing and updating its cybersecurity

controls and systems prior to its next sanitary survey, rather than take a passive

approach.

      26.    In order to prepare for sanitary surveys, Platte 4 Water spends time and

money assembling documents that will be reviewed as part of the survey.

      27.    For future sanitary surveys under the Cybersecurity Rule, Platte 4

Water will likely incur significant additional monetary and internal labor costs to

assemble a complex set of documents and records to demonstrate its compliance

with the applicable cybersecurity review program and to allow the State of Missouri

to authenticate Platte 4 Water compliance. Because Platte 4 Water has not previously

needed to make such preparations prior to a sanitary survey, the necessary document

and data collection and authentication processes are not presently in place and would

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need to be created from scratch, requiring Platte 4 Water to incur additional

monetary and internal labor costs.

       28.   Platte 4 Water, which operates with 6 administrative and operations

personnel, does not presently have on its payroll a dedicated cybersecurity

professional with the requisite qualifications and experience to manage and review

the type of cybersecurity operations contemplated under EPA's rule. Thus, in order

to evaluate existing cybersecurity systems and propose, implement, and maintain

new and revised cybersecurity controls and systems that align with the new

Cybersecurity Rule requirements, Platte 4 Water will likely need to expend money

to either hire a dedicated cybersecurity professional or contract with a third party to

perform similar cybersecurity services. The demand for qualified personnel capable

of performing the work required by the Cybersecurity Rule will make it difficult for

Platte 4 Water to hire a dedicated employee for this role without changes to its

budget.

      29.    The Cybersecurity Rule lays out three distinct approaches that States

should take to include cybersecurity in PWS sanitary surveys. Regardless of whether

the State of Missouri (1) requires self-assessments or third-party assessments; (2)

evaluates cybersecurity practices directly in sanitary surveys; or (3) implements

alternative State programs to assess cybersecurity gaps (which must be at least as

stringent as a sanitary survey), any of these approaches will require Platte 4 Water

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to expend time, money, and resources in order to undertake the assessment or prepare

in advance of a sanitary survey or alternative State program assessment. Platte 4

Water will also have to expend additional time and resources to review the EPA

technical assistance described in the Cybersecurity Rule and Guidance.

       30.   Platte 4 Water, and ultimately its customers, will face the above-

described costs unless the Cybersecurity Rule is found unlawful and set aside.

      31.    Additionally, while the Cybersecurity Rule proposes to allow states the

ability to protect as confidential information about cybersecurity-related significant

deficiencies recorded as part of a sanitary survey, Platte 4 Water has concerns with

an approach that consolidates information about its potential cybersecurity gaps in a

centralized database outside of Platte 4 Water's control.

      32.    Under EPA regulations, a community water system, like Platte 4 Water,

must disclose in its annual "consumer confidence report" a significant deficiency

identified during a sanitary survey if the deficiency is not corrected to the state's

satisfaction prior to the next sanitary survey. Because the Cybersecurity Rule

categorizes cybersecurity gaps as potential significant deficiencies, such gaps would

need to be publicly identified in our annual consumer confidence report, making our

system vulnerable to targeting by hackers or similar bad actors seeking to exploit

potential cybersecurity gaps.



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       33.   Even if Missouri is able to make deficiencies or other information that

it collects related to our cybersecurity practices confidential, there is still the acute

risk that a hacker or similar bad actor will target the state's database to obtain

information regarding potential cybersecurity vulnerabilities across the state's

jurisdiction. By centralizing potentially harmful information about a system's

vulnerability, the Cybersecurity Rule therefore places Platte 4 Water at greater risk

of a cyberattack.

       34.   Platte 4 Water has discussed the Cybersecurity Rule with other PWSs,

who have shared similar concerns with the rule and associated guidance.

      35.    By treating the Cybersecurity Rule as an interpretative rule, EPA has

avoided the procedures in the Administrative Procedure Act ("APA") that would

have provided Platte 4 Water with an opportunity to raise these concerns with the

requirements through the APA's public notice and comment provisions. If the

Cybersecurity Rule and Guidance had been subject to notice and comment pursuant

to the APA, Platte 4 Water, either independently or through the NRWA, would have

raised its concerns including those described herein, for EPA' s consideration.

      36.    As a regulated entity under the SDWA, Platte 4 Water has a concrete

interest in ensuring that regulatory obligations imposed on it are fair, effective, and

cost-efficient, and believes that it has been deprived of a fair and transparent




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regulatory process to protect its interests and provide EPA with industry insight and

expenence.

      3 7.   If EPA had proposed the Cybersecurity Rule through the normal APA

procedures, Platte 4 Water would have had more advanced notice of the likely

requirements in the rule, which would have assisted Platte 4 Water in budgeting and

planning accordingly. In addition, most regulations issued under APA procedures

provide for a period of time before implementation, which would have afforded

Platte 4 Water additional time to prepare for the implementation of the requirements.

      38.    Should the Cybersecurity Rule be held unlawful and set aside, pending,

at a minimum, EPA' s compliance with notice and comment procedures required by

the APA, Platte 4 Water, a member ofNRWA, will not be subjected to the expected

costs associated with complying or failing to comply with EPA' s modified

regulatory requirements under the Cybersecurity Rule.

      39.    While Platte 4 Water will continue to implement cybersecurity

measures, it will not undertake all of the specific items identified by EPA's

Cybersecurity Guidance as potential "significant deficiencies" if the Cybersecurity

Rule be held unlawful and set aside.

                                         ***




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I declare under penalty of perjury under the laws of the United States of America
that the foregoing is true and correct.

       Executed on this 12th day of May 2023.




                                                         Frank Dennis Offutt




STATE OF MISSOURI                           )
                                            ) ss.
COUNTY OF PLATTE                            )

On this JJ 4-h day of   /Ylo..~     2023, before me, appeared Frank Offutt to me personally
known, who being by me duly       orn, did say that he is Executive Director of PUBLIC WATER
SUPPLY DISTRICT# 4, Platte County, Missouri, a political subdivision, that the seal affixed to
the foregoing instrument is the official seal of said WATER DISTRICT and that said instrument
was signed and sealed in behalf of said Frank Offutt.

IN TESTIMONY WHEREOF, I have hereunto set my hand and affixed my official seal at my
office in the State of Missouri the day and year last above written .




                                                              ~
                                                              ~~
                       l<EU.Y O'NEILL
                     MyConmssionExplfls
                        May21,2023
                         Platte County                        N ary 8   1c
                     Commission #19085023




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                            Exhibit G




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              IN THE UNITED STATES COURT OF APPEALS
                      FOR THE EIGHTH CIRCUIT

STATE OF MISSOURI, STATE OF
ARKANSAS, and STATE OF IOWA,

                          Petitioners,

             v.

MICHAEL REGAN, Administrator,
U.S. Environmental Protection                No. 23-1787
Agency, UNITED STATES
ENVIRONMENTAL PROTECTION
AGENCY, and RADHIKA FOX,
Assistant Administrator, U.S.
Environmental Protection Agency,

                          Respondents



                   DECLARATION OF SCOTT BORMAN

I, Scott Borman, swear or affirm under penalty of perjury, the following:

      1.    I base this Declaration upon my first-hand knowledge of the matters

described herein. I am over the age of 21 and am competent to make this Declaration.

      2.    I am the General Manager of the Benton Washington Regional Public

Water Authority ("BWRPWA") and have served in this role since 2002. Prior to

joining BWRPWA, I was employed as Program Manager for Environmental Health

by the Nebraska Department of Health and Human Services for approximately four

years, with oversight of the Field Services Division (Sanitary Surveys and

Comprehensive Performance Evaluations), Water Operator Certification Program,

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and Capacity Development Program for developing Technical, Managerial, and

Financial Capacity in water utilities within the state. Before that, as a Utilities

Superintendent for the City of Chardon, Nebraska, for about four years. I have a

Bachelor of Science degree in Animal Sciences from Colorado State University,

which I received in 1984, and have a total of over 31 years of experience in the

drinking water operations, management, and regulatory sectors.

      3.    Founded in 1992, BWRPWA is a public water authority and regional

water wholesaler that collects and treats water from the Beaver Lake reservoir in

northwest Arkansas for distribution to seventeen municipal and rural systems in

northwest Arkansas and eastern Oklahoma, which collectively comprise a service

area of approximately 135,000 individual, industrial, commercial, and agricultural

customers, including the nation's largest poultry processing plant and the Northwest

Arkansas National Airport. BWRPWA owns and operates intake facilities on Beaver

Lake; a treatment plant located in Avoca, Arkansas; and an extensive network of

transmission mains, storage facilities, and booster pump stations. BWRPWA funds

its operations and capital improvements solely through the rates it charges and

municipal bond offerings. The rates it charges are subject to approval by

BWRPWA's board of directors (the "BWRPWA Board"), which is comprised of

representatives from the municipal and rural water systems we serve, and derived

from third-party rate studies which take into consideration future capital

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improvements and funding needs. Currently, the BWRPWA Board has set those

rates through 2025 with additional capital improvement spending through that

period.

      4.    In my capacity as General Manager of BWRPWA, I am required to

oversee all activities related to water collection, treatment, and distribution,

including all those involving compliance with the Safe Drinking Water Act

("SDWA"), as well as state law. I also work closely with BWRPWA Board on a

variety of operational, financial, and construction-related matters by making

recommendations to the BWRPWA Board.

      5.    As part of my responsibilities, I am involved in BWRPWA's decision-

making about how to prepare for state-conducted sanitary surveys, as well as how

best to manage our cybersecurity risk and implement appropriate cybersecurity

controls. In light of these responsibilities, I follow new developments in

BWRPWA's compliance obligations, including those issued by the U.S.

Environmental Protection Agency ("EPA" or the "Agency") and the State of

Arkansas. And I provide feedback to these entities, including through the American

Water Works Association ("AWWA") and its state and regional networks, to ensure

that BWRPWA's concerns are raised for consideration and its interests protected.

      6.     BWRPWA is a member of AWWA and relies on AWWA to help

represent its interests, including in EPA rulemakings and in cases such as this.

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      7.     I am familiar with EPA's March 3, 2023 memorandum entitled

"Addressing PWS Cybersecurity in Sanitary Surveys or an Alternative Process"

("Cybersecurity Rule"), available at https://tinyurl.com/mswu6xch, which revises

EPA's interpretations of its SDWA regulations regarding state-conducted sanitary

surveys of public water systems ("PWSs") to now require evaluation of a system's

cybersecurity measures as part of a sanitary survey. The Cybersecurity Rule, as I

understand it, requires that if a state identifies a cybersecurity-related "significant

deficiency" (i.e., a defect, malfunction, failure, or similar deficiency that has caused

or could cause introduction of contamination to drinking water distributed to

customers) as part of a sanitary survey, it must record the significant deficiency in a

publicly available record, and require the PWS to address the deficiency.

      8.     I am also familiar with the guidance document accompanying the

Cybersecurity Rule, entitled "Evaluating Cybersecurity During Public Water System

Sanitary      Surveys"       ("Cybersecurity        Guidance"),        available      at

https://tinyurl.com/bdfhfrdj. The Cybersecurity Guidance, at Section 7, lists 16

potential cybersecurity-related significant deficiencies and provides, at Appendix A,

a checklist of 36 cybersecurity controls addressing cybersecurity considerations,

such as account security, device security, governance and training, vulnerability

management, supply chains and third parties, and response and recovery.



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      9.     I am also aware that the Cybersecurity Guidance provides that the lack

(or inadequacy) of a particular cybersecurity control contained in the Appendix A

checklist is a potential significant deficiency. These control measures include, as a

few examples, maintaining an updated inventory of operational technology ("OT")

and information technology ("IT") assets, maintaining configuration documentation

of those assets, maintaining updated documentation describing network topology

(i.e., connections between all network components) across its OT and IT networks,

and including cybersecurity considerations as part of its evaluative process for

vendors and/or service providers.

      10.    I am aware that the Cybersecurity Rule and Cybersecurity Guidance

were issued and made immediately effective without EPA providing interested

parties, like BWRPWA or AWWA, the customary notice-and-comment period.

      11.    The State of Arkansas conducts sanitary surveys every two years with

the last sanitary survey having occurred in December 2021. Since it operates a PWS,

BWRPWA is already subject to periodic sanitary surveys conducted by the State of

Arkansas and will continue to be subject to future sanitary surveys.

      12.    Before   a    sanitary survey, BWRPWA          takes steps to avoid

Arkansasfinding a "significant deficiency." Not only can significant deficiencies be

costly to fix, but the State's deficiency findings are generally made publicly

available, which can undermine the confidence of BWRPWA's customers in their

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water system. In other words, a finding of a significant deficiency can result in both

financial and reputational harm to BWRPWA. In addition, because the findings are

public documents, a deficiency finding could be used by third parties to determine

any specific vulnerability the system may have and subsequently provide a path for

it to be compromised.

      13.    As I understand it, EPA issued the Cybersecurity Rule and

Cybersecurity Guidance as immediately effective, meaning that its requirements

now apply to the State of Arkansas's sanitary surveys and that BWRPWA's

cybersecurity practices will be evaluated by the State during its next annual sanitary

survey.

      14.    BWRPWA uses an industrial control system ("ICS") or other

operational technology as part of the equipment or operation of some required

components of the sanitary surveys.

      15.    To the best of my knowledge, the State of Arkansas has not previously

conducted cybersecurity evaluations as part of its sanitary surveys of BWRPWA.

BWRPWA has therefore not previously faced the possibility of a finding of

significant deficiency relate to its cybersecurity practices and systems.

      16.    BWRPWA is directly subject to Arkansas's implementation of EPA's

requirements under the Cybersecurity Rule and Cybersecurity Guidance. The

Cybersecurity Rule provides that states "must" "evaluate the adequacy of the

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cybersecurity of [the] operational technology [used by a PWS] for producing and

distributing safe drinking water." Cybersecurity Rule, at 2-3. And the rule further

requires that "[i]f the state determines that a cybersecurity deficiency identified

during a sanitary survey is significant, then the state must use its authority to require

the PWS to address the significant deficiency." Id. As a PWS, BWRPWA

understands the Cybersecurity Rule and Cybersecurity Guidance to impose

compliance obligations on us.

      17.    BWRPWA presently has controls in place to address the cybersecurity

needs for its water system, and has conducted internal cybersecurity audits to

determine areas of improvement and hired competent staff to handle cybersecurity

issues that do arise. BWRPWA is also a member of the Water Information Sharing

and Analysis Center ("Water ISAC"), a nonprofit "all-threats" security information

resource for the water and wastewater sector that frequently collaborates with EPA.

Through Water ISAC, BWRPWA receives notices about possible cybersecurity

threats so that we may respond accordingly.

       18.   BWRPWA's controls, however, are designed to meet its particular

operational needs, and thus do not completely align with the six-page list of 36

controls provided in the Cybersecurity Guidance.

       19.   Given that the Cybersecurity Rule uses mandatory language, we do not

believe we have any option other than to implement the suite of cybersecurity

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controls listed in the Cybersecurity Guidance. To proceed otherwise risks a finding

of significant deficiency during our next sanitary survey. We are therefore already

undertaking discussions on how to best implement EPA's requirements and how to

adjust our budget and operations to do so.

      20.    Some of the cybersecurity controls listed in EPA's Cybersecurity

Guidance will take meaningful lead time to implement because of budgeting and

staffing limitations. BWRPWA operates on a calendar fiscal year, meaning annual

budgets for expenditures are set in October each year, as well as staffing

requirements. Considering salaries, equipment, software and other expenditures,

BWRPWA already currently spends approximately $350,000 per year on

cybersecurity and that cost changes annually due to different evolving threats.

Because EPA has implemented these rules immediately, that means that BWRPWA

does not have the leeway to wait and see whether the State of Arkansas adopts the

entire Cybersecurity Guidance checklist before taking steps to implement those

items that could form the basis of a finding of significant deficiency. Instead,

BWRPWA will need to begin expending resources to both familiarize itself with the

requirements of EPA's Cybersecurity Rule and Guidance and implement EPA's

suite of cybersecurity controls in order to avoid a finding of significant deficiency.

      21.    BWRPWA has already expended time, money, and human capital to

review the new requirements contained in EPA's Cybersecurity Rule and Guidance,

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and to develop a plan to implement the requirements contained therein.

BWRPWA's preliminary review of the required cybersecurity controls will require

us to add approximately an additional $75,000 to $100,000 in our Fiscal Year 2024

Budget. This is despite the fact that our Bond Rating Agency, S&P, and our

insurance carrier, Cincinnati, have deemed our existing cybersecurity controls

sufficient during rating reviews and insurance renewals.

      22.    Based on a preliminary examination of our existing cybersecurity

controls as compared to those listed in the Cybersecurity Guidance checklist, there

are at least a few controls that BWRPWA does not presently have in place. The

major one is concerning integrating cybersecurity evaluations in procurement and

supply line contracting. This checklist item is overbearing and unnecessary and will

require the cooperation of the individual supply chain vendors that we deal with on

a routine basis. These supply chain vendors do not normally fall under EPA

rulemaking and consequently have no incentive or need to share that information

with BWRPWA. However, if BWRPWA does not have that information, we are

subject to a finding of significant deficiency under the checklist. BWRPWA

understands the supply chain vendors unwillingness to partake in any cybersecurity

evaluations since, under the requirements, as part of the sanitary survey process, the

supply chain vendor's cybersecurity practices could be exposed publicly as well. At

this time, BWRPWA does not believe that this control requirement can be or should

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be implemented because it is technically unfeasible and unnecessary. But at this

point, failure to complete will result in a significant deficiency.

      23.    There may be other differences in the controls BWRPWA has in place

and those listed in the Guidance, but a more intensive audit of BWRPWA's

cybersecurity systems to determine conformance or nonconformance would mean

additional internal labor and/or contractor costs. While there are differences between

the EPA's list of requirements and our practices, there are obvious concerns in

revealing those differences in this declaration, as making that information public

could make BWRPWA a vulnerable target for cyberattack.

      24.    Because EPA's Cybersecurity Rule and Guidance instruct states to look

for particular cybersecurity controls, including those highlighted above, and identify

many of those controls as bases for potential significant deficiencies, BWRPWA

will need to make capital investments to enhance existing cybersecurity controls and

implement new ones before BWRPWA's next sanitary survey to avoid any potential

finding of significant deficiency.

       25.   BWRPWA estimates that in order to meet the specific requirements

provided by the Cybersecurity Rule and Guidance, we will need to spend additional

time and money.As stated previously, after preliminary review of the control

requirements, our Fiscal Year 2023 (current year) spending would need to increase

an additional $75,000 to $100,000 to meet all the requirements except one, which is

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the supply chain cybersecurity issue, with which we do not believe any water utility

will be able to fully comply. This will bring our overall cybersecurity spending to

approximately $450,000 per year in subsequent years and the reality of being fully

in compliance with all the requirements very unlikely. As a water wholesaler whose

rates are subject to approval by representatives of the municipalities and water

districts we serve, these increases in cost are significant. Additional costs, like those

required by the requirements in the Cybersecurity Rule, will be passed on to the

ultimate customer of our water—individuals, businesses, and agricultural operators.

      26.    Because the Cybersecurity Rule was made immediately effective,

BWRPWA did not have any notice or time to prepare for the new requirements or

to forecast the costs into future budgeting plans. The resulting uncertainty regarding

rate planning and cost recovery      and the need to communicate any incremental

increases in rates to customers—will create additional implementation challenges.

      27.    If Arkansas requires additional, more restrictive, or differing

cybersecurity controls, as compared to EPA's Cybersecurity Rule and Guidance,

additional internal labor, contractor, and/or capital costs will likely be required. And

given the lead time necessary to implement some cybersecurity measures, as noted

above, BWRPWA will likely need to be proactive in assessing and updating its

cybersecurity controls and systems prior to its next sanitary survey, rather than take

a passive approach.

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      28.    To prepare for sanitary surveys, BWRPWA spends time and money to

assemble the documents and records that state inspectors will review as part of the

survey. For future sanitary surveys under the Cybersecurity Rule, BWRPWA will

likely incur costs (including internal labor costs) to put together the documents and

records for the sanitary survey in order to document our compliance with the

cybersecurity review program requirements and to allow the State of Arkansas to

authenticate BWRPWA's compliance. Because BWRPWA has not previously

needed to make these kinds of preparations before a sanitary survey, the necessary

document and data collection and authentication processes are not currently in place

and would need to be created from scratch. This will require BWRPWA to incur

additional monetary and internal labor costs.

      29.    BWRPWA is a large public water supply, and because of the nature of

our system, we are able to have staff that handle all of our cybersecurity needs. We

currently have two employees dedicated to handling our data acquisition and

cybersecurity. The cost to BWRPWA for these employees, when considering both

direct and indirect personnel costs, is $198,500 for Fiscal Year 2023. However, we

are only able to do this because we are a regional system and can apply economies

of scale to help spread out this cost to all of our customers equally. This is not true

of the small systems to which we provide potable water. These small systems (3,300

to 10,000 served) often rely on third-party vendors to meet all of their IT/OT and

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cybersecurity needs. Very often, these are one-person vendors operating out of an

office or home and, based on my discussions with some of them, are not even aware

of the new cybersecurity requirements with which these small systems will have to

comply. Realistically, they do not have the funds, knowledge or staff to implement

and meet all these requirements. Furthermore, some of these small systems have

been left without records, or system knowledge, when their third-party vendor

decides they are no longer in business. Some small utilities cannot even change, add,

or delete an email address without going through their third-party vendor. This rule

was written and is being implemented as one set of standards that applies to

everybody serving over 3,300 customers and ignores the reality of implementing and

adhering to all of the cybersecurity requirements mandated for all systems. There is

no flexibility or rational weighing of alternative methods of cybersecurity for the

smaller systems.

      30.    The Cybersecurity Rule includes three possible approaches that states

should take to include cybersecurity in PWS sanitary surveys. Regardless of whether

the State of Arkansas (1) requires self-assessments or third-party assessments; (2)

evaluates cybersecurity practices directly in sanitary surveys; or (3) implements

alternative State programs to assess cybersecurity gaps (which must be at least as

stringent as a sanitary survey), any of these approaches will require BWRPWA to

expend time, money, and resources in order to undertake the assessment or prepare

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in advance of a sanitary survey or alternative State program assessment. BWRPWA

will also have to expend additional time and resources to review the EPA technical

assistance described in the Cybersecurity Rule and Guidance.

      31.    BWRPWA, and ultimately its customers, will face the costs described

herein unless the Cybersecurity Rule is found unlawful and set aside.

      32.    Additionally, while the Cybersecurity Rule claims to allow states the

ability to protect as confidential information about cybersecurity-related significant

deficiencies recorded as part of a sanitary survey, BWRPWA has concerns with the

rule's approach that consolidates information about its potential cybersecurity gaps

in a centralized database outside of BWRPWA's control.

      33.    Under EPA regulations, a community water system, like BWRPWA,

must disclose in its annual "consumer confidence report" a significant deficiency

identified during a sanitary survey if such deficiency is not corrected to the state's

satisfaction. In addition, reports from sanitary surveys are submitted to the surveyed

PWS, as well as any relevant municipal or government officials. Those records are

generally considered public documents under Arkansas law; even if not made

publicly available, the records may be subject to the very open and widespread

Arkansas Freedom of Information Act. Because the Cybersecurity Rule categorizes

cybersecurity gaps as potential significant deficiencies, any gaps identified as part

of a sanitary survey would likely be made public, whether by way of consumer

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confidence reports or as records made available under open records laws. Not only

would public disclosure of cybersecurity-related significant deficiencies undermine

customer trust in our water system—even if the system's cybersecurity measures are

strong but do not cover every cybersecurity measure in EPA's six-page checklist

but also make that system vulnerable to being targeted by hackers or similar bad

actors seeking to exploit potential cybersecurity gaps.

      34.    BWRPWA also has concerns about providing copies of cybersecurity

documents, like OT and IT inventories and configurations, to State officials.

BWRPWA's existing cybersecurity procedures require maintaining secure control

over such documents and limiting outside and inside access. This procedure is

designed to limit the availability of information that could be used by nefarious

actors to discover and target potential weaknesses in BWRPWA's systems. That is

why when disclosing information about its cybersecurity measures to bond raters

and insurance carriers, BWRPWA generally provides a broad overview of its

cybersecurity systems and gives specific details only as needed. This control is

weakened, however, if comprehensive inventories of BWRPWA's cybersecurity

systems and other sensitive cybersecurity documents are given to outside entities,

including State regulators, over which BWRPWA has no control nor assurance of

security. In other words, some of EPA's cybersecurity controls are likely to directly



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conflict with BWRPWA's existing cybersecurity controls, namely control of

cybersecurity-related documents.

      35.    Even if Arkansas is able to make deficiencies confidential, there is still

a very real risk that a hacker will target the Arkansas's database to obtain information

regarding potential cybersecurity vulnerabilities across the state's jurisdiction. By

centralizing potentially harmful information about a system's vulnerability, the

Cybersecurity Rule places BWRPWA at greater risk of a cyberattack.

      36.    BWRPWA has discussed the Cybersecurity Rule with other PWSs that

have similar concerns with the rule and associated guidance.

      37.    By treating the Cybersecurity Rule as an interpretative rule, EPA has

avoided issuing the rule pursuant to formal notice and comment under the

Administrative Procedure Act ("APA"). If the Cybersecurity Rule and Guidance had

been subject to notice and comment pursuant to the APA, BWRPWA, either

independently or through the AWWA, would have raised its concerns including

those described herein, for EPA's consideration. Previously BWRPWA has

provided comments and information through AWWA on the Revised Total Conform

Rule and directly to EPA on the proposed Perchlorate Rule, the newly revised Lead

Copper Rule, the current rule revisions being discussed under the Microbial and

Disinfection By-Product Rule Revision Workgroup and through being a member of

the National Drinking Water Advisory Council.

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      38.    As a regulated entity under the SDWA, BWRPWA has a concrete

interest in ensuring that regulatory obligations imposed on it are fair, effective, and

cost-efficient, and believes that it has been deprived of a fair and transparent

regulatory process to protect those interests and provide EPA with industry insight

and experience.

      39.    If EPA had proposed the Cybersecurity Rule through the normal APA

procedures, BWRPWA would have had more advance notice of the likely

requirements in the rule, which would have assisted BWRPWA in budgeting and

planning accordingly. Most regulations issued under APA procedures provide for a

period of time before implementation, which would have afforded BWRPWA

additional time to prepare for the implementation of the requirements.

      40.    I am generally familiar with the petition for review filed by the States

of Missouri, Arkansas, and Iowa ("Petitioners"), No. 23-1787 (8th Cir. Apr. 17,

2023), seeking to review and set aside the Cybersecurity Rule.

      41.    If the court holds the Cybersecurity Rule to be unlawful and sets it

aside, pending, at a minimum, EPA's compliance with notice-and-comment

procedures required by the APA, BWRPWA, a member of AWWA, will not be

subjected to the expected costs associated with complying or failing to comply with

EPA's modified regulatory requirements under the Cybersecurity Rule.




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      42.    While BWRPWA will continue to implement cybersecurity measures,

it will not undertake all of the specific items identified by EPA's Cybersecurity

Guidance as potential "significant deficiencies" if the Cybersecurity Rule be held

unlawful and set aside.

                                       * * *




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                  this 8th
                       8th day of May
                           day of May 2023.
                                      2023.




                                          Scott Borman
                                          Scott Borman
                                          General Manager
                                          General Manager
                                          Benton
                                          Benton Washington
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                            Exhibit H




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               IN THE UNITED STATES COURT OF APPEALS
                       FOR THE EIGHTH CIRCUIT

 STATE OF MISSOURI, STATE OF
 ARKANSAS, and STATE OF IOWA,

                          Petitioners,

              v.

 MICHAEL REGAN, Administrator,
 U.S. Environmental Protection                 No. 23-1787
 Agency, UNITED STATES
 ENVIRONMENTAL PROTECTION
 AGENCY, and RADHIKA FOX,
 Assistant Administrator, U.S.
 Environmental Protection Agency,

                         Respondents



  DECLARATION OF Sharon A Cornelius, Public Water Supply District #2
                       Andrew County

I, Sharon Cornelius, swear or affirm under penalty of perjury, the following:

       1.    I base this Declaration upon my first-hand knowledge of the matters

described herein. I am over the age of 21 and am competent to make this Declaration.

      2.     I am the Manager of the Public Water Supply District #2 Andrew

County ("PWSD #2"). I have served in this role since 20 18. Previously, I held the

position of Controller of a Regional Health Care Facility, management of a non for

profit, auditing, and tax preparation for public accounting firms.

      3.     In this role I have completed and received the Missouri Dept ofNatural

Resources Certificate of Competency Water Distribution level I and have continued

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to stay current through continuing education of relevant topics impacting water and

water districts. In addition, I have a Bachelor of Science in Accountancy and

Finance.

       4.    PWSD #2 has water connections in five counties with the majority in

Andrew and Buchanan County Mo. The district is approximately 300 square miles

with approximately 1500 customers and the district office is in Cosby, Mo.

       5.    I and PWSD #2 are members ofNational Rural Water Association and

Missouri Rural Water Association

      6.     In my capacity as manager, I am required to oversee all activities related

to drinking water distribution for PWSD #2 service area including those involving

compliance with the federal Safe Drinking Water Act ("SDWA") as well as state

law. As a result, I follow new developments in PWSD #2 compliance obligations

issued by either the U.S. Environmental Protection Agency ("EPA") or the State of

Missouri Department ofNatural Resources. I also provide feedback to these entities,

including through National Rural Water Association and Missouri Rural Water

Association, to ensure that PWSD #2' s concerns are raised, and its interests are

protected.

      7.     As part of my responsibilities, I am involved in PWSD #2's decision-

making about how to prepare for sanitary surveys and our cybersecurity practices.




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As manager, I am also actively involved in other aspects of PWSD #2 operations,

including financial, board management, field operations, and construction.

       8.     I am familiar with EPA' s March 3, 2023 , memorandum entitled

"Addressing PWS Cybersecurity in Sanitary Surveys or an Alternative Process"

("Cybersecurity Rule"), available at https://tinyurl.com/mswu6xch, which revises

EPA ' s interpretations of its SDWA regulations regarding state-conducted sanitary

surveys of public water systems ("PWSs") to include evaluations of a system's

cybersecurity measures as part of a survey. I am aware that the Cybersecurity Rule

requires that if a state identifies a cybersecurity-related "significant deficiency"-

i.e., a defect, malfunction, failure, or similar deficiency that has caused or could

cause introduction of contamination to drinking water distributed to customers- as

part of a sanitary survey, it must require the PWS to address the significant

deficiency.

      9.      I am also familiar with the EPA guidance document accompanying the

Cybersecurity Rule, entitled "Evaluating Cybersecurity During Public Water System

Sanitary      Surveys"       (" Cybersecurity        Guidance"),       available     at

https://tinyurl.com/bdfhfrdj . I am aware that Cybersecurity Guidance, at Appendix

A, provides a checklist of thirty-six cybersecurity controls addressing general areas

of concern including account security, device security, governance and training,




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vulnerability management, supply chains and third parties, and response and

recovery.

       10.   I am also aware that section 7 .0 of the Cybersecurity Guidance provides

that the lack of or inadequacy of a particular cybersecurity control contained in the

checklist is a potential significant deficiency. These control measures include, as

examples, maintaining an updated inventory of operational technology ("OT") and

information technology ("IT") assets, maintaining configuration documentation of

those assets, maintaining updated documentation describing network topology (i.e.,

connections between all network components) across its OT and IT networks, and

including cybersecurity considerations as part of it evaluative process for vendors

and/or service providers.

       11.   I understand that the Missouri DNR administers the SDWA within its

borders and as part of those responsibilities conducts a sanitary survey our PWS

every three years. As a PWS, Public Water Supply District #2 Andrew County is

already subject to periodic sanitary surveys conducted by Missouri DNR and will

continue to be subject to future sanitary surveys.

      12.    Public Water Supply District #2 Andrew County uses industrial control

systems or other operational technology as part of the equipment or operation of a

required component of a sanitary survey. As I understand it, the Cybersecurity Rule

and Guidance were made immediately effective, meaning that their requirements


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apply to PWSD #2 Andrew County now and that our cybersecurity practices will be

reviewed during the next periodic sanitary survey.

       13.    Public Water Supply District #2 Andrew County takes steps in advance

of the sanitary surveys to avoid a finding that there is a significant deficiency in any

of its practices. We seek to avoid any significant deficiencies because they can be

costly to correct, and they can undermine the confidence of our customers in our

practices because the findings are made public. A finding of a significant deficiency

therefore causes both financial and reputational harm to Public Water Supply

District #2 Andrew County.

       14.   As far as I am aware, Missouri DNR has not previously conducted

cybersecurity evaluations as part of its sanitary surveys of PWSD #2 Andrew County

because such evaluations have not been required under EPA's regulations. As a

result, PWSD #2 Andrew County has not previously faced the risk of a "significant

deficiency" as a result of any of its cybersecurity practices.

      15.    Public Water Supply District #2 Andrew County is directly subject to

Missouri Department of Natural Resource's (DNR) implementation of the new

cybersecurity evaluation requirements under EPA's Cybersecurity Rule and

Guidance. Because the Cybersecurity Rule states that "states must do the following

to comply with the requirement to conduct a 'sanitary survey"' and if Mo DNR

determines that a cybersecurity deficiency identified during a sanitary survey is


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significant, then the state must use its authority to require the PWS to address the

significant deficiency" we understand that the Cybersecurity Rule and Guidance

applies directly to us.

       16.   While PWSD #2 does have measures in place to address cybersecurity

concerns, those measures do not align with all the specific requirements outlined in

EPA' s Cybersecurity Guidance. PWSD #2' s current cybersecurity measures are

instead tailored to its specific operational needs.

       17.   Because the Cybersecurity Rule uses mandatory language, we do not

believe we have any option other than to implement the requirements in the

Cybersecurity Guidance, including the thirty-six items listed by EPA and sixteen

listed as potential significant deficiencies in section 7 .0 of the Guidance

("Cybersecurity Checklist"). We are already undertaking discussions on how to best

implement these requirements and how to adjust our budget and operations to do so.

Frankly, these additional requirements are daunting to a rural water district and will

put a strain on human and financial resources.

      18.    Some of the items listed in EPA' s Cybersecurity Checklist of

"significant deficiencies" will take meaningful lead time to implement, particularly

given the nature of our budgeting. As a result, PWSD #2 cannot afford to wait and

see whether the State of Missouri DNR adopts this entire Cybersecurity Checklist

before beginning to take steps to implement the items identified as potential


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significant deficiencies. Instead, PWSD #2 must begin expending resources now to

familiarize itself with the new requirements and to implement measures to avoid

EPA' s list of significant deficiencies.

        19.    PWSD #2 has already expended time, money, and human capital to

review the new requirements contained in EPA' s Cybersecurity Rule and Guidance,

and to develop a plan to implement the requirements contained therein. This

unexpected, unfunded mandate can put a severe strain and stress on personnel in

time and financial capacity to implement the requirements of the Cybersecurity Rule

Plan.     Please reconsider abandoning these new requirements for the severe

difficulties it will impose on rural water districts.

        20.    Because EPA's Cybersecurity Rule and Guidance instruct states to look

for particular cybersecurity controls, including those highlighted above, and

identifies those controls as potential "significant deficiencies," see Cybersecurity

Guidance, at 11- 14, PWSD #2 will need to make capital investments to enhance

existing cybersecurity controls and implement new ones in anticipation of PWSD

#2' s next sanitary survey to avoid any potential finding of significant deficiency.

        21 .   PWSD #2 estimates that in order to meet the specific requirements

provided by the Cybersecurity Rule and Guidance, its cybersecurity and information

technology budget will need to be increased significantly to educate, identify and

implement the requirements.


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       22.   Because the Cybersecurity Rule was made immediately effective,

PWSD #2 did not have any notice or time to prepare for the new requirements or to

forecast the associated costs into future budgeting plans, which will create additional

implementation challenges for PWSD #2.

       23.   In many instances, additional costs like those stemming from the

Cybersecurity Rule are passed on to our customers in the form of higher rates.

Because the Cybersecurity Rule was made immediately effective, PWSD #2 did not

have any notice or time to prepare for the new requirements or to forecast the

associated costs into future budgeting plans, we were unable to make smaller

incremental increases to our rates or otherwise communicate the changes to our

customers, which harms our relationship with those customers.

      24.    If Missouri DNR requires additional, more restrictive, or differing

cybersecurity controls because of EPA' s Cybersecurity Rule and Guidance,

additional internal labor, contractor, and/or capital costs will likely be required. And

given the lead time necessary to implement some cybersecurity measures, PWSD #2

will likely need to be proactive in assessing and updating its cybersecurity controls

and systems prior to its next sanitary survey, rather than take a passive approach.

      25.    To prepare for sanitary surveys, PWSD #2 spends time and money

assembling documents that will be reviewed as part of the survey.




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       26.   For future sanitary surveys under the Cybersecurity Rule, PWSD #2

will likely incur significant additional monetary and internal labor costs to assemble

a complex set of documents and records to demonstrate its compliance with the

applicable cybersecurity review program and to allow the Missouri DNR to

authenticate PWSD #2' s compliance. Because PWSD #2 has not previously needed

to make such preparations prior to a sanitary survey, the necessary document and

data collection and authentication processes are not presently in place and would

need to be created from scratch, requiring PWSD #2 to incur additional monetary

and internal labor costs.

      27.    PWSD #2, which operates with one administrative and four operations

personnel, does not presently have on its payroll a dedicated cybersecurity

professional with the requisite qualifications and experience to manage and review

the type of cybersecurity operations contemplated under EPA' s rule. Thus, to

evaluate existing cybersecurity systems and propose, implement, and maintain new

and revised cybersecurity controls and systems that align with the new Cybersecurity

Rule requirements, PWSD #2 will likely need to expend money to either hire a

dedicated cybersecurity professional or contract with a third party to perform similar

cybersecurity services. The demand for qualified personnel capable of performing

the work required by the Cybersecurity Rule will make it difficult for PWSD #2 to

hire a dedicated employee for this role without changes to its budget.


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       28.   The Cybersecurity Rule lays out three distinct approaches that States

should take to include cybersecurity in PWS sanitary surveys. Regardless of whether

the State of Missouri (1) requires self-assessments or third-party assessments; (2)

evaluates cybersecurity practices directly in sanitary surveys; or (3) implements

alternative State programs to assess cybersecurity gaps (which must be at least as

stringent as a sanitary survey), any of these approaches will require PWSD #2 to

spend time, money, and resources in order to undertake the assessment or prepare in

advance of a sanitary survey or alternative State program assessment. PWSD #2 will

also have to expend additional time and resources to review the EPA technical

assistance described in the Cybersecurity Rule and Guidance.

      29.    PWSD #2, and ultimately its customers, will face the above-described

costs unless the Cybersecurity Rule is found unlawful and set aside.

      30.    Additionally, while the Cybersecurity Rule proposes to allow states the

ability to protect as confidential information about cybersecurity-related significant

deficiencies recorded as part of a sanitary survey, PWSD #2 has concerns with an

approach that consolidates information about its potential cybersecurity gaps in a

centralized database outside of PWSD #2 's control.

      31.    Under EPA regulations, a community water system, like PWSD #2,

must disclose in its annual "consumer confidence report" a significant deficiency

identified during a sanitary survey if the deficiency is not corrected to the state' s


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satisfaction prior to the next sanitary survey. Because the Cybersecurity Rule

categorizes cybersecurity gaps as potential significant deficiencies, such gaps would

need to be publicly identified in our annual consumer confidence report, making our

system vulnerable to targeting by hackers or similar bad actors seeking to exploit

potential cybersecurity gaps.

       32.    Even if Missouri DNR is permitted to make deficiencies or other

information that it collects related to our cybersecurity practices confidential, there

is still the acute risk that a hacker or similar bad actor will target the state's database

to obtain information regarding potential cybersecurity vulnerabilities across the

state' s jurisdiction. By centralizing potentially harmful information about a system's

vulnerability, the Cybersecurity Rule therefore places PWSD #2 at greater risk of a

cyberattack. PWSD #2 is concerned that risk is even greater if Missouri DNR must

also provide information about our cybersecurity practices to EPA.

      33 .   PWSD #2 has discussed the Cybersecurity Rule with other PWSs, who

have shared similar concerns with the rule and associated guidance.

      34.    By treating the Cybersecurity Rule as an interpretative rule, EPA has

avoided the procedures in the Administrative Procedure Act ("APA") that would

have provided PWSD #2 with an opportunity to raise these concerns with the

requirements through the APA' s public notice and comment provisions. If the

Cybersecurity Rule and Guidance had been subject to notice and comment pursuant


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to the APA, PWSD #2, either independently or through the National Rural Water

Association and Missouri Rural Water Association, would have raised its concerns

including those described herein, for EPA's consideration.

       35.   As a regulated entity under the SDWA, Public Water Supply District

#2 Andrew County has a concrete interest in ensuring that regulatory obligations

imposed on it are fair, effective, and cost-efficient, and believes that it has been

deprived of a fair and transparent regulatory process to protect its interests and

provide EPA with industry insight and experience.

      36.    If EPA had proposed the Cybersecurity Rule through the normal APA

procedures, PWSD #2 Andrew County would have had more advanced notice of the

likely requirements in the rule, which would have assisted Public Water Supply

District #2 Andrew County in budgeting and planning accordingly. In addition, most

regulations issued under APA procedures provide for a period of time before

implementation, which would have afforded PWSD #2 additional time to prepare

for the implementation of the requirements.

      37.    I am generally familiar with the petition for review filed by the States

of Missouri, Arkansas, and Iowa ("Petitioners"), No. 23-1787 (8th Cir. Apr. 17,

2023), seeking to review and set aside the Cybersecurity Rule.

      38.    Should the Cybersecurity Rule be held unlawful and set aside, pending,

at a minimum, EPA's compliance with notice and comment procedures required by


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the APA, PWSD #2, a member of National Rural Water Association and Missouri

Rural Water Association will not be subjected to the expected costs associated with

complying or failing to comply with EPA's modified regulatory requirements under

the Cybersecurity Rule.

      39.    While PWSD #2 will continue to implement cybersecurity measures, it

will not undertake all osf the specific items identified by EPA's Cybersecurity

Guidance as potential "significant deficiencies" if the Cybersecurity Rule be held

unlawful and set aside.

                                        ***




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      I declare under penalty of perjury under the laws of the United States of

America that the foregoing is true and correct.

      Executed on this _ 10_ th day of May 2023.




                                                Sharon A Cornelius

                                                Manager

                                         Public Water Supply District #2 of Andrew County




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                             Exhibit I




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               IN THE UNITED STATES COURT OF APPEALS
                       FOR THE EIGHTH CIRCUIT

 STATE OF MISSOURI, STATE OF
 ARKANSAS, and STATE OF IOWA,

                           Petitioners,

              v.

 MICHAEL REGAN, Administrator,
 U.S. Environmental Protection                 No. 23-1787
 Agency, UNITED STATES
 ENVIRONMENTAL PROTECTION
 AGENCY, and RADHIKA FOX,
 Assistant Administrator, U.S.
 Environmental Protection Agency,

                           Respondents



                       DECLARATION OF JOHN R. DUNN

I, John R. Dunn, swear or affirm under penalty of perjury, the following:

       1.     I base this Declaration upon my first-hand knowledge of the matters

described herein. I am over the age of 21 and am competent to make this Declaration.

       2.     I am the Director of the City of Ames, Iowa Water and Pollution

Control Department (“City of Ames” or the “City”) and have served in this role since

2007. I previously held the position of Assistant Director for eight years, staff

environmental engineer for three years, and wastewater laboratory analyst for a

different public utility for six years.




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      3.       I have a Bachelor of Science degree in Chemical Engineering from

Iowa State University, which I received in 1992, and a Master of Business

Administration from Iowa State University, which I received in 2004. I am also a

registered professional engineer in the State of Iowa in the branch of environmental

engineering.

      4.       In my capacity as Director, I am required to oversee all activities related

to water collection and treatment for the City of Ames, including those involving

compliance with the Safe Drinking Water Act (“SDWA”) as well as state law. For

its service area, the City of Ames has responsibility over the collection of

groundwater through a network of wells, treatment of that water to make it suitable

for human consumption, and distribution of the treated water to its customers

through a distribution system comprising almost 250 miles of water mains. The City

serves more than 18,000 homes and businesses, including the Iowa State University

campus and the United States Department of Agriculture’s National Centers for

Animal Health. The City’s utility operations, including new capital improvements

to meet changing water demands and regulatory standards, are funded through

revenue from its customers.

      5.       As part of my responsibilities, I am involved in the City of Ames’s

decision-making about how to prepare for state-conducted sanitary surveys and our

cybersecurity practices. I am also actively involved in other aspects of the City of



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  Appellate Case: 23-1787      Page: 169     Date Filed: 06/12/2023 Entry ID: 5286054
Ames’s operations, including budgeting and rate setting, capital planning, and

coordination with local policy makers. I follow new developments in the City of

Ames’s compliance obligations, including those issued by the U.S. Environmental

Protection Agency (“EPA” or the “Agency”) and the State of Iowa. I provide

feedback to these entities, including through the American Water Works Association

(“AWWA”), to ensure that the City’s concerns are raised for consideration and its

interests protected.

      6.     The City of Ames is a member of AWWA and the City of Ames relies

on AWWA to advocate for its interests, including in EPA rulemakings and in cases

such as this one. I am also personally an individual member of AWWA. I serve as

Iowa’s representative on the AWWA Board of Directors, and I am the Management

Committee Chair for the Iowa Section-AWWA

      7.     I am familiar with EPA’s March 3, 2023, memorandum entitled

“Addressing PWS Cybersecurity in Sanitary Surveys or an Alternative Process”

(“Cybersecurity Rule”), available at https://tinyurl.com/mswu6xch, which revises

EPA’s interpretations of its SDWA regulations regarding state-conducted sanitary

surveys of public water systems (“PWSs”) to now require evaluation of a system’s

cybersecurity measures as part of a sanitary survey. The Cybersecurity Rule, as I

understand it, requires that if a state identifies a cybersecurity-related “significant

deficiency” (i.e., a defect, malfunction, failure, or similar deficiency that has caused



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or could cause introduction of contamination to drinking water distributed to

customers) as part of a sanitary survey, it must record the significant deficiency, in

a publicly available record, and requires the PWS to address the deficiency.

      8.     I am also familiar with the guidance document accompanying the

Cybersecurity Rule, entitled “Evaluating Cybersecurity During Public Water System

Sanitary Surveys” (“Cybersecurity Guidance” or “Guidance”), available at

https://tinyurl.com/bdfhfrdj. The Cybersecurity Guidance, at section 7.0, lists

sixteen potential cybersecurity-related significant deficiencies and provides, at

Appendix A, a checklist of thirty-six cybersecurity controls addressing cybersecurity

considerations such as account security, device security, governance and training,

vulnerability management, supply chains and third parties, and response and

recovery.

      9.     I am also aware that the Cybersecurity Guidance provides that the lack

(or inadequacy) of a particular cybersecurity control contained in the Appendix A

checklist is a potential significant deficiency. These control measures include, as

examples, the PWS maintaining an updated inventory of operational technology

(“OT”) and information technology (“IT”) assets, maintaining configuration

documentation of those assets, maintaining updated documentation describing

network topology (i.e., connections between all network components) across its OT




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and IT networks, and including cybersecurity considerations as part of its evaluative

process for vendors and/or service providers.

      10.    I am aware that the Cybersecurity Rule and Guidance were issued and

made immediately effective without EPA providing interested parties, like the City

of Ames, the customary notice-and-comment period.

      11.    The State of Iowa conducts sanitary surveys on a triennial basis. Since

it operates a PWS, the City of Ames is already subject to periodic sanitary surveys

conducted by the State of Iowa and will continue to be subject to future sanitary

surveys, with the next sanitary survey scheduled for Fall 2023.

      12.    In advance of a sanitary survey, the City of Ames takes steps to avoid

a finding of significant deficiency. Not only can significant deficiencies be costly to

resolve, but the State’s deficiency findings are generally made publicly available,

which can undermine the confidence of the City’s customers in their water system.

In other words, a finding of significant deficiency can often result in both financial

and reputational harms.

      13.    As I understand it, EPA issued the Cybersecurity Rule and Guidance as

immediately effective, meaning that its requirements apply to the State of Iowa’s

sanitary surveys now and that the City of Ames’s cybersecurity practices will be

evaluated by the State during its next annual sanitary survey in the fall of 2023.




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      14.    To the best of my knowledge, the State of Iowa has not previously

conducted cybersecurity evaluations as part of its sanitary surveys of the City of

Ames. The City has therefore not previously faced the possibility of a finding of

significant deficiency stemming from its cybersecurity practices and systems.

      15.    The City of Ames is directly subject to Iowa’s implementation of EPA’s

requirements under the Cybersecurity Rule and Guidance. The Cybersecurity Rule

provides that states “must” “evaluate the adequacy of the cybersecurity of [the]

operational technology [used by a PWS] for producing and distributing safe drinking

water.” Cybersecurity Rule, at 2–3. And the Rule further requires that “[i]f state

determines that a cybersecurity deficiency identified during a sanitary survey is

significant, then the state must use its authority to require the PWS to address the

significant deficiency.” Id. My understanding is that as a PWS, the Cybersecurity

Rule and Guidance imposes compliance obligations on the City of Ames.

      16.    The City of Ames presently has controls in place to address the

cybersecurity needs for its water system, and has conducted internal cybersecurity

audits to determine areas of improvement. But the City’s controls are tailored to its

particular operational needs, and thus do not perfectly align with the six-page list of

controls provided in the Cybersecurity Guidance, including the list of 16 “potential

significant deficiencies” included by EPA.




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      17.    Given that the Cybersecurity Rule uses mandatory language, I do not

believe that the City of Ames has any option other than to implement the suite of

cybersecurity controls listed in the Cybersecurity Guidance. Otherwise, the City of

Ames risks a finding of significant deficiency during our next sanitary survey. We

are therefore already undertaking discussions and expending time on how to best

implement EPA’s requirements and how to adjust our budget and operations to do

so.

      18.    Some of the cybersecurity controls listed in EPA’s Cybersecurity

Guidance will take meaningful lead time to implement, which is particularly true for

water systems like ours that are subject to municipal budgetary processes. It often

takes several budgetary cycles and ample advance planning to have particular budget

proposals approved. The City, thus, does not have the leeway to wait and see whether

the State of Iowa adopts the entire Cybersecurity Guidance checklist before taking

steps to implement those items that could form the basis of a finding of significant

deficiency. Instead, the City will need to begin expending resources to both

familiarize itself with the requirements of EPA’s Cybersecurity Rule and Guidance

and implement EPA’s suite of cybersecurity controls in order to avoid a finding of

significant deficiency.

      19.    The City of Ames has already expended time, money, and human

capital to review the new requirements contained in EPA’s Cybersecurity Rule and



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Guidance, and to develop a plan to implement the requirements contained therein.

The City will likely need to convene an internal working group including those

involved with water system operations, IT, purchasing, and legal—all at the expense

of labor hours.

      20.    Based on a preliminary examination of our existing cybersecurity

controls as compared to those listed in the Cybersecurity Guidance checklist, there

are at least a few controls that the City of Ames does not presently have in place.

The City, as an example, does not maintain an updated inventory of all OT and IT

assets, nor updated documentation of the configurations and network topologies of

OT and IT assets. Thus, we would likely need to contract with an outside supervisory

control and data acquisition (“SCADA”) specialist to assess our OT and IT assets

and compile documentations regarding configurations and network topologies.

Additionally, the City does not actively integrate cybersecurity considerations as

part of its evaluation processes for procurement of OT assets and services. Thus, we

would likely need to expend time and resources reviewing our current procurement

contracts, which often use standard form language that has been developed and

approved over time, and may even need to attempt to renegotiate the terms of

existing procurement contracts. These actions would also require time and input

from the City’s legal department, and potentially outside counsel given the

complexities of cybersecurity. For example, we own and operate a municipal electric



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utility. Having differing cyber obligations between the two utilities would impose a

significant burden on our IT staff simply to track and continuously confirm ongoing

conformance with the EPA checklist.

       21.    There may be other differences in the controls the City has in place and

those listed in the Guidance, and a more intensive audit of the City’s cybersecurity

systems to determine conformance or nonconformance will likely incur additional

internal labor and/or contractor costs.

       22.    Because EPA’s Cybersecurity Rule and Guidance instruct states to look

for particular cybersecurity controls, including those highlighted above, and

identifies many of those controls as bases for potential “significant deficiencies,” the

City of Ames will need to make capital investments to change existing cybersecurity

controls and implement new ones in anticipation of the City’s next sanitary survey

to avoid any potential finding of significant deficiency. The City of Ames also has a

series of cybersecurity projects that are currently authorized in our budget. Those

must now be placed on hold to allow time for us to verify that those improvements

are consistent with the checklist, thus delaying the very benefits that are the ultimate

intent of the rule.

       23.    The City of Ames estimates that in order to meet the specific

requirements provided by the Cybersecurity Rule and Guidance, its cybersecurity

and information technology budget will need to increase by at least $20,000 per year



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to fund new security systems and programs, training and other related expenses. For

a customer-funded PWS whose rates are subject to municipal approval, such an

increase in cost would be significant. Additional costs, like those stemming from the

Cybersecurity Rule, are often passed on to our customers in the form of higher rates.

Because the Cybersecurity Rule was made immediately effective, however, the City

of Ames did not have any notice or time to prepare for the new requirements or to

forecast the associated costs into future budgeting plans. The resulting uncertainty

regarding rate planning and cost recovery—and the need to communicate any

incremental increases in rates to customers—will create additional implementation

challenges.

      24.     The imposition of this immediate, mandatory obligation means that

other critical infrastructure expenditures will need to be delayed. The City of Ames

does not carry any undesignated contingency funds in its capital budget. The only

options are either to increase rates or delay other critical infrastructure investments.

This is coming at a time when both our operating and capital costs are rising

dramatically and our ability to maintain adequate funding to cover essential expenses

is severely stressed.

      25.     If Iowa requires additional, more restrictive, or differing cybersecurity

controls, as compared to EPA’s Cybersecurity Rule and Guidance, additional

internal labor, contractor, and/or capital costs will likely be required. And given the



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lead time necessary to implement some cybersecurity measures, the City of Ames

will likely need to be proactive in assessing and updating its cybersecurity controls

and systems prior to its next sanitary survey, rather than take a passive approach.

      26.    In preparation for sanitary surveys, the City of Ames spends time and

money to assemble the documents and records that state inspectors will review as

part of the survey. For future sanitary surveys under the Cybersecurity Rule, the City

of Ames will likely incur significant monetary and internal labor costs to assemble

an often-complex set of documents and records in anticipation of a sanitary survey

in order to document its compliance with the applicable cybersecurity review

program and to allow the State of Iowa to authenticate the City’s compliance.

Because the City has not previously needed to make such preparations prior to a

sanitary survey, the necessary document and data collection and authentication

processes are not presently in place and would need to be created from scratch,

requiring the City to incur additional monetary and internal labor costs.

      27.    Currently the City does not employ a process control specialist at the

water utility. All of the preparations will need to come from an outside vendor. This

would also require that the City of Ames have that outside vendor present during our

sanitary surveys to be able to answer questions about the operation and configuration

of our cybersecurity measures.




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      28.    Importantly, the City of Ames does not presently have on its payroll a

dedicated cybersecurity professional with the necessary qualifications and

experience to manage and review the type of cybersecurity operations specific to

PWSs and contemplated under EPA’s Cybersecurity Rule. The Water and Pollution

Control Department’s cybersecurity operations are presently handled by the City’s

IT department, meaning that the Water and Pollution Control Department does not

have specialized expertise related to the cybersecurity needs of PWSs. Thus, in order

to evaluate existing cybersecurity systems and propose, implement, and maintain

new and revised cybersecurity controls and systems that align with the requirements

of EPA’s Cybersecurity Rule, the City will likely need to expend money to either

hire a dedicated cybersecurity professional or contract with a third party to perform

similar cybersecurity services. We estimate that hiring a cybersecurity professional

will cost upwards of $140,000 per year. And the increased demand for such

professionals across PWSs as a result of the Cybersecurity Rule will make it all the

more difficult to hire or contract with qualified cybersecurity professionals.

      29.    The Cybersecurity Rule lays out three distinct approaches that states

should take to include cybersecurity in PWS sanitary surveys. Regardless of whether

the State of Iowa (1) requires self-assessments or third-party assessments; (2)

evaluates cybersecurity practices directly in sanitary surveys; or (3) implements

alternative state programs to assess cybersecurity gaps (which must be at least as



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stringent as a sanitary survey), any of these approaches will require the City of Ames

to expend time, money, and resources in order to undertake the assessment or prepare

in advance of a sanitary survey or alternative state program assessment. The City

will also have to expend additional time and resources to review the EPA technical

assistance described in the Cybersecurity Rule and Guidance.

      30.    I anticipate that the City of Ames, and ultimately its customers, will

face the costs described herein unless the Cybersecurity Rule is found unlawful and

set aside.

      31.    Additionally, while the Cybersecurity Rule purports to allow states the

ability to protect as confidential information about cybersecurity-related significant

deficiencies recorded as part of a sanitary survey, I have grave concerns with an

approach that consolidates information about its potential cybersecurity gaps in a

centralized database outside of the City’s control.

      32.    Under EPA regulations, a community water system, like the City of

Ames, must disclose in its annual “consumer confidence report” a significant

deficiency identified during a sanitary survey if such deficiency is not corrected to

the state’s satisfaction prior to the next sanitary survey. In addition, reports from

sanitary surveys are generally submitted to City government officials, such as the

Mayor’s office, and those records are generally considered public documents under

Iowa law, namely the Iowa Open Records Law. Because the Cybersecurity Rule



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categorizes cybersecurity gaps as potential significant deficiencies, I am concerned

that any such gaps identified as part of a sanitary survey would likely be made public,

whether by way of consumer confidence reports or as records made available under

open records laws. Not only would public disclosure of cybersecurity-related

significant deficiencies undermine customer trust in their water system—even if the

system’s cybersecurity measures are particularly robust despite not encompassing

every cybersecurity measure in EPA’s six-page checklist—but also make that

system vulnerable to targeting by hackers or similar bad actors seeking to exploit

potential cybersecurity gaps.

      33.    Relatedly, as the Director of the City of Ames Water & Pollution

Control Department, I have concerns about providing copies of cybersecurity

documents, such as OT and IT inventories and configurations, to state officials. The

City’s existing cybersecurity procedures require maintaining secure control over

such documents and limiting outside access. This procedure is designed to limit the

availability of information that could be used by nefarious actors to discover and

target potential weaknesses in the City’s systems. This control is weakened,

however, if copies of sensitive cybersecurity documents are given to outside entities,

including regulators, over which the City has no control or assurance of security. In

other words, some of EPA’s cybersecurity controls are likely to directly conflict with




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the City’s existing cybersecurity controls, namely control of cybersecurity-related

documents.

      34.    The City of Ames was subject to the requirement to complete an

updated AWIA Risk and Resilience Assessment (“RRA”) that included

cybersecurity. The outcome of that assessment is a set of already planned and funded

projects. One of the explicitly identified countermeasures was to keep the contents

of that RRA confidential. Releasing these documents would therefore conflict with

our existing AWIA Emergency Response Plan.

      35.    Even if Iowa is permitted to make deficiencies confidential, there is still

the acute risk that a hacker or similar bad actor will target the state’s database to

obtain information regarding potential cybersecurity vulnerabilities across the

state’s jurisdiction. By centralizing potentially harmful information about a system’s

vulnerability, I contend that the Cybersecurity Rule places the City of Ames and all

other Iowa water utilities at greater risk of a cyberattack.

      36.    In my capacity as Director of Water and Pollution Control for the City

of Ames, I have discussed the Cybersecurity Rule with other PWSs, who have shared

similar concerns with the rule and associated guidance.

      37.    By treating the Cybersecurity Rule as an interpretative rule, EPA has

avoided issuing the rule pursuant to formal notice and comment under the

Administrative Procedure Act (“APA”). If the Cybersecurity Rule and Guidance had



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been subject to notice and comment pursuant to the APA, I would have

recommended that the City of Ames, either independently or through the AWWA,

raise its concerns including those described herein, for EPA’s consideration. The

City has previously done so for a variety of EPA SDWA regulations, including the

Agency’s revisions to its lead and copper rule, as well as its national primary

drinking water regulations for per- and polyfluoroalkyl substances (commonly

known as “PFAS”).

      38.    As a regulated entity under the SDWA, the City of Ames has a concrete

interest in ensuring that regulatory obligations imposed on it are fair, effective, and

cost-efficient. I believe that the City has been deprived of a fair and transparent

regulatory process to protect those interests and provide EPA with industry insight

and experience.

      39.    Relatedly, if EPA had proposed the Cybersecurity Rule through the

normal APA procedures, the City of Ames would have had more advance notice of

the likely requirements in the rule, which would have assisted the City of Ames in

budgeting and planning accordingly. Most regulations issued under APA procedures

provide for a period of time before implementation, which would have afforded the

City additional time to prepare for the implementation of the requirements.




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      40.    I am generally familiar with the petition for review filed by the States

of Missouri, Arkansas, and Iowa (“Petitioners”), No. 23-1787 (8th Cir. Apr. 17,

2023), seeking to review and set aside the Cybersecurity Rule.

      41.    Should the Cybersecurity Rule be held unlawful and set aside, pending,

at a minimum, EPA’s compliance with notice-and-comment procedures required by

the APA, the City of Ames, a member of AWWA, will not be subjected to the

expected costs and cybersecurity risks associated with complying or failing to

comply with EPA’s modified regulatory requirements under the Cybersecurity Rule.

      42.    The City of Ames will continue to implement those cybersecurity

measures that it identifies as providing meaningful improvements to the City’s

cybersecurity posture. But should the Cybersecurity Rule be held unlawful and be

set aside, I would not recommend that the City undertake any measures that expend

our ratepayers’ funds without a tangible benefit.

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      I declare under penalty of perjury under the laws of the United States of

America that the foregoing is true and correct.

      Executed on this 9th day of May 2023.




                                         John R. Dunn
                                         Director, Water & Pollution Control
                                         Department
                                         City of Ames, Iowa




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                             Exhibit J




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                      IN THE UNITED STATES COURT OF APPEALS
                              FOR THE EIGHTH CIRCUIT

       STATE OF MISSOURI, STATE OF
       ARKANSAS, and STATE OF IOWA,

                                 Petitioners,

                      v.

       MICHAEL REGAN, Administrator,
       U.S. Environmental Protection                  No. 23-1787
       Agency, UNITED STATES
       ENVIRONMENTAL PROTECTION
       AGENCY, and RADHIKA FOX,
       Assistant Administrator, U.S.
       Environmental Protection Agency,

                                 Respondents



                   DECLARATION OF JACKIE WILLIAM HINCHEY, JR,

      I, Jackie William Hinchey, Jr, swear or affirm under penalty of perjury, the
      following:

      1.       I base this Declaration upon my first-hand knowledge of the matters described

herein. I am over the age of 21 and am competent to make this Declaration.

      2.       I am the Manager of the City of Clinton Water and Sewer Department. I have

served in this role since 2019. Previously, I held the position of the water and sewer

superintendent of the City of Leslie Water and Sewer. I have a Wastewater 3 License and

a Water Distribution 4 License. I also have a plumbing inspector license.

      3.       Clinton Water and Sewer Department (“Clinton Water”) is a water utility

headquartered in Clinton, Arkansas. Clinton Water serves a population of 7,578 customers


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inside and outside the city of Clinton. We also provide water to the Bee Branch Water

Association and Van Buren County Association.

      4.       Clinton Water is a member of the National Rural Water Association

(“NRWA”) through the Arkansas Rural Water Association. Clinton Water relies on

NRWA to advocate for its interests, including before federal agencies like the U.S.

Environmental Protection Agency (“EPA”).

      5.       In my capacity as Manager, I am required to oversee all activities related to

drinking water distribution for Clinton Water’s service area, including those involving

compliance with the federal Safe Drinking Water Act (“SDWA”) as well as state law. As

a result, I follow new developments in the law, including changes issued by either the U.S.

Environmental Protection Agency (“EPA”) or the State of Arkansas. I also provide

feedback to the federal and state government, including through NRWA to ensure that

Clinton Water’s concerns are raised and its interests are protected.

      6.       As part of my responsibilities, I am involved in Clinton Water’s decision-

making about how to prepare for sanitary surveys and our cybersecurity practices. As

Manager, I am also actively involved in other aspects of Clinton Water’s operations,

including financial, utility management, field operations, and construction.

      7.       I am familiar with EPA’s March 3, 2023, memorandum entitled “Addressing

PWS Cybersecurity in Sanitary Surveys or an Alternative Process” (“Cybersecurity Rule”),

available at https://tinyurl.com/mswu6xch, which revises EPA’s interpretations of its



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           Appellate Case: 23-1787   Page: 188    Date Filed: 06/12/2023 Entry ID: 5286054
SDWA regulations regarding state-conducted sanitary surveys of public water systems

(“PWSs”) to include evaluations of a system’s cybersecurity measures as part of a survey.

I know that the Cybersecurity Rule requires that if a state identifies a cybersecurity-related

“significant deficiency”—i.e., a defect, malfunction, failure, or similar deficiency that has

caused or could cause introduction of contamination to drinking water distributed to

customers—as part of a sanitary survey, it must require the PWS to address the significant

deficiency.

      8.       I am also familiar with EPA guidance accompanying the Cybersecurity Rule,

entitled “Evaluating Cybersecurity During Public Water System Sanitary Surveys”

(“Cybersecurity Guidance”), available at https://tinyurl.com/bdfhfrdj. I am aware that

Cybersecurity Guidance, at Appendix A, provides a checklist of thirty-six cybersecurity

controls addressing things like account security, device security, governance and training,

vulnerability management, supply chains and third parties, and response and recovery.

      9.       I also know that section 7.0 of the Cybersecurity Guidance tells utilities that

if they are missing a particular cybersecurity control contained in the checklist, it is a

potential significant deficiency. These control measures include, as examples, maintaining

an updated inventory of operational technology (“OT”) and information technology (“IT”)

assets, maintaining configuration documentation of those assets, maintaining updated

documentation describing network topology (i.e., connections between all network




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components) across its OT and IT networks, and including cybersecurity considerations in

evaluating vendors and/or service providers.

      10.    I understand that the State of Arkansas, through the Arkansas Department of

Health, administers the SDWA within Arkansas and as part of those responsibilities

conducts a sanitary survey of our PWS every 3 years. As a PWS, Clinton Water is already

subject to periodic sanitary surveys conducted by the Arkansas Department of Health and

will continue to be subject to future sanitary surveys.

      11.    As I understand it, the Cybersecurity Rule and Guidance were made

immediately effective, meaning that their requirements apply to Clinton Water now and

that our cybersecurity practices will be reviewed during the next periodic sanitary survey.

      12.    Before the Arkansas Department of Health conducts the next sanitary survey,

Clinton Water takes steps to avoid a finding of a significant deficiency. We seek to avoid

any significant deficiencies because they can be costly to correct and they can undermine

the confidence of our customers in our practices because the findings are made public. A

finding of a significant deficiency therefore causes both financial, community loss of

confidence, and reputational harm to Clinton Water.

      13.    As far as I am aware, the Arkansas Department of Health has not previously

conducted cybersecurity evaluations as part of its sanitary surveys of Clinton Water

because such evaluations have not been required under EPA’s regulations. As a result,




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Clinton Water has not previously faced the risk of a “significant deficiency” as a result of

any of its cybersecurity practices.

      14.    Clinton Water is directly subject to Arkansas’s implementation of the new

cybersecurity evaluation requirements under EPA’s Cybersecurity Rule and Guidance.

Because the Cybersecurity Rule says that “states must do the following to comply with the

requirement to conduct a ‘sanitary survey’” and “if the state determines that a cybersecurity

deficiency identified during a sanitary survey is significant, then the state must use its

authority to require the PWS to address the significant deficiency” we understand that the

Cybersecurity Rule and Guidance applies directly to us.

      15.    Clinton Water uses an industrial control system (“ICS”) or other operational

technology as part of the equipment or operation of some required components of the

sanitary surveys.

      16.    While Clinton Water does have measures in place to address cybersecurity

concerns, those measures do not align with all of the specific requirements outlined in

EPA’s Cybersecurity Guidance. Clinton Water’s current cybersecurity measures are

instead tailored to its specific operational needs.

      17.    Because the Cybersecurity Rule uses mandatory language, we do not believe

we have any option other than to implement the requirements in the Cybersecurity

Guidance, including the thirty-six items listed by EPA as potential significant deficiencies

in section 7.0 of the Guidance (“Cybersecurity Checklist”). We are already trying our best



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to implement these requirements and deciding how to adjust our budget and operations to

do so.

         18.   Some of the items listed in EPA’s Cybersecurity Checklist of “significant

deficiencies” will take meaningful lead time to implement, particularly given how we

budget. As a result, Clinton Water cannot afford to wait and see whether Arkansas adopts

this entire Cybersecurity Checklist before beginning to take steps to implement the items

identified as potential significant deficiencies. Instead, Clinton Water must begin spending

money and time now to become familiar with the new requirements and act to avoid EPA’s

list of significant deficiencies.

         19.   Clinton Water has already spent time, money, and energy to review the new

requirements contained in EPA’s Cybersecurity Rule and Guidance, and to develop a plan

to implement the EPA’s new requirements. For example, Clinton Water has spent time

researching the Cybersecurity Rule and Guidance and has determined that Clinton Water

will be required to hire outside cybersecurity contractors to assess and determine what

actions will be needed to protect all of our computer software systems and SCADA

systems. All expenses for the cybersecurity services will require additional revenues to be

budgeted and will require customer rate increases to raise revenue in order to cover the

increased expenses for the new cybersecurity contract services. Arkansas has over 650

community water systems in the state that will be directly affected by the New

Cybersecurity Rule that will require outside cybersecurity contractors to assist each



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community water systems as the water utilities do not have staff trained to identify and

install cybersecurity protection.

      20.    Based on preliminary look at our existing cybersecurity controls as compared

to those listed in the Cybersecurity Checklist, there are at least a few controls that Clinton

Water does not presently have in place and/or that will pose operational challenges on

Clinton Water.

      21.    Because EPA’s Cybersecurity Rule and Guidance tell states to look for

particular cybersecurity controls, including those highlighted above, and identifies those

controls as potential “significant deficiencies,” see Cybersecurity Guidance, at 11–14,

Clinton Water will need to make capital investments to enhance existing cybersecurity

controls and implement new ones in anticipation of Clinton Water’s next sanitary survey

to avoid any potential finding of significant deficiency.

      22.    Clinton Water estimates that in order to meet the specific requirements

provided by the Cybersecurity Rule and Guidance, its cybersecurity and information

technology budget will need to be increased.

      23.    Because the Cybersecurity Rule was made immediately effective, Clinton

Water did not have any notice or time to prepare for the new requirements or to forecast

the associated costs into future budgeting plans, which will create additional

implementation challenges for Clinton Water.




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      24.    In many instances, additional costs like those stemming from the

Cybersecurity Rule are passed on to our customers in the form of higher rates. Because the

Cybersecurity Rule was made immediately effective, Clinton Water did not have any notice

or time to prepare for the new requirements or to forecast the associated costs into future

budgeting plans, and we were unable to make smaller incremental increases to our rates or

otherwise communicate the changes to our customers, which harms our relationship with

those customers.

      25.    If Arkansas requires additional, more restrictive, or different cybersecurity

controls as a result of EPA’s Cybersecurity Rule and Guidance, we will likely need to incur

additional internal labor, contractor, and/or capital costs. And given the lead time necessary

to implement some cybersecurity measures, Clinton Water will likely need to act early to

assess and update its cybersecurity controls and systems prior to its next sanitary survey,

rather than wait for the state to implement these different requirements.

      26.    In order to prepare for sanitary surveys, Clinton Water spends time and money

assembling documents that will be reviewed as part of the survey. For future sanitary

surveys under the Cybersecurity Rule, Clinton Water will incur additional monetary and

internal labor costs to assemble the documents and records to demonstrate that we comply

with the new Cybersecurity Rule requirements. Because Clinton Water has not previously

needed to do this work prior to a sanitary survey, the necessary document and data

collection and authentication processes are not presently in place and would need to be



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created from scratch, requiring Clinton Water to incur additional monetary and internal

labor costs.

      27.      Clinton Water does not presently have on its payroll a cybersecurity expert to

manage and review the type of cybersecurity operations in EPA’s rule. Thus, in order to

evaluate existing cybersecurity systems and propose, implement, and maintain new and

revised cybersecurity controls and systems that align with the new Cybersecurity Rule

requirements, Clinton Water will likely need to expend money to either hire a cybersecurity

expert or hire a contractor to do similar work. The demand for cybersecurity experts will

make it difficult for Clinton Water to hire one without changes to its budget. In the

meantime, the burden of evaluating EPA’s Cybersecurity Rule will fall on Clinton Water’s

existing IT staff and will therefore limit our staff’s ability to focus on our other IT needs.

      28.      The Cybersecurity Rule lays out three options for States in including

cybersecurity in PWS sanitary surveys. Regardless of whether Arkansas (1) requires self-

assessments or third-party assessments; (2) evaluates cybersecurity practices directly in

sanitary surveys; or (3) implements alternative State programs to assess cybersecurity gaps

(which must be at least as stringent as a sanitary survey), any of these approaches will

require Clinton Water to expend time, money, and resources in order to assess or prepare

in advance of a sanitary survey or alternative State program assessment. Clinton Water will

also have to expend additional time and resources to review the EPA technical assistance

described in the Cybersecurity Rule and Guidance.



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      29.    Clinton Water, and ultimately its customers, will face the above-described

costs unless the Cybersecurity Rule is found unlawful and set aside.

      30.    Additionally, while the Cybersecurity Rule proposes to allow States the ability

to protect as confidential information about cybersecurity-related significant deficiencies

recorded as part of a sanitary survey, Clinton Water has concerns with an approach that

puts information about its potential cybersecurity gaps in a centralized database outside of

Clinton Water’s control.

      31.    Under EPA regulations, a community water system, like Clinton Water must

list in its annual “consumer confidence report” a significant deficiency identified during a

sanitary survey if the deficiency is not corrected to the state’s satisfaction prior to the next

sanitary survey. Because the Cybersecurity Rule states that cybersecurity gaps are potential

significant deficiencies, such gaps would need to be publicly identified in our annual

consumer confidence report, making our system vulnerable to hackers or similar bad actors

who can exploit potential cybersecurity gaps.

      32.    Even if Arkansas can confidentially protect significant deficiencies or other

cybersecurity information, hackers or similar bad actors may still target the state’s database

to get information regarding potential cybersecurity vulnerabilities across the state. By

centralizing potentially harmful information about a system’s vulnerability, the

Cybersecurity Rule therefore places Clinton Water at greater risk of a cyberattack.




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      33.    Clinton Water has talked about the Cybersecurity Rule with other PWSs, who

have shared similar concerns with the rule and associated guidance.

      34.    By treating the Cybersecurity Rule as an interpretative rule, EPA has avoided

the procedures in the Administrative Procedure Act (“APA”) that would have provided

Clinton Water with an opportunity to raise these concerns with the requirements through

the notice and comment. If the Cybersecurity Rule and Guidance had been subject to notice

and comment pursuant to the APA, Clinton Water either independently or through NRWA

would have raised its concerns including those described above, for EPA’s consideration.

      35.    As a water utility subject to the SDWA, Clinton Water has a concrete interest

in ensuring that regulatory obligations imposed on it are fair, effective, and cost-efficient,

and believes that it has been deprived of a fair and transparent regulatory process to protect

its interests and provide EPA with industry insight and experience.

      36.    If EPA had proposed the Cybersecurity Rule through the normal APA

procedures, Clinton Water would have had more advanced notice of the likely requirements

in the rule, which would have assisted Clinton Water in budgeting and planning

accordingly. In addition, because most regulations issued under APA procedures allow

some time before going into effect, Clinton Water would have had additional time to

prepare for the implementation of the requirements.

      37.    Should the Cybersecurity Rule be held unlawful and set aside, pending, at a

minimum, EPA’s compliance with notice and comment procedures required by the APA,



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Clinton Water, a member of NRWA through the Arkansas Rural Water Association, will

not face the expected costs associated with complying or failing to comply with EPA’s

modified regulatory requirements under the Cybersecurity Rule.

         38.   While Clinton Water will continue to implement cybersecurity measures, it

will not undertake all of the specific items identified by EPA’s Cybersecurity Guidance as

potential “significant deficiencies” if the Cybersecurity Rule be held unlawful and set

aside.

                                                ***




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      I declare under penalty of perjury under the laws of the United States of

America that the foregoing is true and correct.

      Executed on this 12th day of May 2023.




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                            Exhibit K




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